 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 1 of 150

l CHAO WEI PLASTIC MACH{NERY CO., LTD.

'£`EL: +886-5-26866881 FAX: +386~5‘2637821
Messrs: SPP'IL ' Date: 2010/02!08
No: HQQO?.€}B~SOZD

QUOTATION

I’rice terrns: F.O.B. TAIWAN

Tirne ofde!iver: within 45 days after receipt of`lJC.

Payment: Paymcnt: By nn irrevocabte and confirmed LIC at sight in our favor.

Vaiidity; within 60 days,

DESCRIPTION OTY UNIT PRICE AMOUNT
AUTGMAT£C BLECTRONIC HiGH SPEBD DOUBLE LAYER (8 LINES) CU’I'I`ING &
SEALING MAC£HNE WiTH SERVO MOTGR CONTROL

 

MODEL: CWAZ+S-l OGG-SV t SET US$ 34,7{}0 USS 34,700
SPBCIALD¥SCGUNT US$ 6,')’00
TOTAL US$ 28,000

STANDARD .S‘PECIFICA TIONS OF CWA?+£ MGDEL:

Stop motion device for the bags become superimposed

Stop motion device for the film empty

Stop motion device for tire temp. l)rop 4~8 degree

Hot needlc: 4 sets for stack t~shirt bags.

Pltoto eye for feeding controi: 8 sets

Feeding motor', 8 pcs

Individual feeding device for each line, and also can be attached for one wide film

Convcyor: l set

. I.C. Bonrd control: l set

l{). Digital counter, total oounter: l set

il. Japan made frequency inverter: l set

12. Main servo motor co:\troi: 1 set

13. Compnterized servo motor transmission system.

14. 'H\is machine suit to make t-shirt bag & bottom seaiing bag.

15. This machine can produce max. Bag width 38” + 33” {96 cm x 2) by up and down 2 layers
and max. length 40" (100 cm) 2 lines operation

16. This machine can produce max. Bag width 18” {4$crnx 4) by 4 lines operation

17'. This machine can produce max. Bag width 12" (30 cm x 6) x 6 iines operation

18. This machine can produce ma.x. Bag width 9" (23 cm x 3) x 8 lines operation.

l9. Convening tltiokness: 0.008 - 0.l mm

20. Essential spare parts: l set

~:=.=°.-vs=~s».~s.ws~».~

21. 'l`his machine with collecting conveyor without auto punching machine

CA'IHY CHANG/ SALES MANAGER

806 FNK 7782 1202

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 2 of 150

~ CHAO WEI PLAS'HC MACH}NERY CO,, LTD.

TEL: +336~5~2686633
Messts: SPPIL 4

FAX: +386~5-268'7821

Da‘te: 2610/02!24

NO.HQS\ZZ¢)-$i) iD

PRO~FORMA INVOICE

Price tenns: F.G.B TAIWAN

Time of delivery: within 7 days after receipt ofT/T.
Paymcnt‘. By T/T before €iciivcry

Vaiidity: within 30 days

BANK NAME; FIRST COMMERCEAL BANK CHIA `t’i BRANCH
BANK ADDRESS; 307 CHUNG SHAN ROAD, CHIA YL TAIWAN, R.O.C.

BANK FAX: 386-5-22?1230
\ S.W.I.F.'i`. NO; FCBKTWTP 603
\/ ACCOUNT NO; 501 *4(}-00{}738

ACCOUNI NAME; CHAO WE} PLAST§C MACH¥NERY CO., LTD.

 

 

DESCRII’TION Q'I`Y UNIT PRICE AMOUNT
i. 0 rings for rubber roller 200 pc USD 0.50 USD 100
'Z. Whecl rubber 10 pc 0.50 5
3. Cyltnder CML30B1505T 2 pc 52 104
4‘ Blower switch 2 pc 1.20 2.40
5. Convoyor motor 51K6OGN~CF ipc 133 138
6. spring 3x330mm 3,000 pc 0.40 1,200
7. 40” Silicon roller l pc 560 560
8. Adjustmcnt bar gear ipc 40 40
` 9. manning blade 4.5” (w) 6 pc 35 210

v 10. Clamper cylinder YMIC»20»2S+Y+PTN 2 pc 47 94
li. Clatnper belt 19H528(Gm)@) l pc 95 95
12. Prcssure cylinder valve regulator Rlli]fJ-S-T ipc 38 38
13. Top rolicr for LA65 lpc 1,020 1,020
l4. Winder motor 0.4i<gm ipc 1,280 1,280
TOTAL USD 4,886.40

TOTAL: U.S DOLLAR FOUR 'I'}IOUSAND EIGHT HUNDRED ElGHTY¢SIX AND CENTS

FORTY.

CHAO WEI PLAS'I`!C MACHINERY CO., LTD

807

FNK 7782 1203

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 3 of 150

w\~f'{/\-e§‘~___,!__z,_.__? dis
@AM§ ,<_il€ldi L§siili ch,=,_al:nili alton a_)iq§ t,_ni_;t

U$f>é`:fl f¢%@%¢_ NG:J Lii¥@ EXCF"?H(Q€ ic`).\@.¢ii {u-\)i

/:\'@W#` 1272an _ fowl€§i

 

él$: L.-I=w :HL»¢ 09 Ji~ii ¢&,)~`='J‘“
inch cl jr $10.000 w iii=,»-’»f»

(0&_13&_)1.44)1$1_)~4“':41.~.\“}¢1190`}101g_).§a}u_jli(;\uiiiul§¢u£ "

dwi-3 33 iih»~ir oi.\..¢i arc dsi-uh

(-$L-U) 7.¢_1..1\ _/i,~mwr gz,xs’t
'“ ‘€C¢\\\\!/:;p`,i,_§_\;; _ CA»S!'{
"£-\” /t' /\, :¢.,Jon om~ 11)/3""-°’°
Ll)i o\,»nv,m /gt/…/¢/ss
C,L:- ,i/{//(_:, iHLt, L, ))i/`i nw Jy.j;Mu£¢,£/~/.¢$; Q,,y¢.f/(r
0 HA€‘ ‘“-"`€i F@c@)`c:,~/¢Acn N¢HY w lie =M. ron ~/$MF/~'_”*%
7 A/ C_ =(§n.¢:sy\@snc,._-.La ~ £4//9¢’7' .

New Line Excnange
irusl Cc. S.-A.L.

808 FNK 7782 1204

 

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 4 of 150

FRUN !LCR St CHHRS_ES Br`anch FHX’NO. ’23136633? 127 i’la¥‘. 1@ 2313 9334'?§3\"§ 133

non § Wmic._.,mu.ttrrc_tmi

 

 

SAL
B'anC-hl. .....1 H t .......¢...._.,.....,..,,...l.,, z_};'
~ gw!tar§eg Tmnator ssuin Draf A |lcaticn` 4
D:i'to: JA££*;§£MM

P';§E§p;nii i131 our bnhait the following L/ 913 row ¢}. wm

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

i:i Bani<ers mail orin i:i
kvi:i 0ulwar<i transfer by m 416 11 ¢5§,,; [j
z ij am fireer [ii.ta-i v‘i:i v~‘"@ “#1"’ iii

:'Rp{lii©@ni'a N'E\l¥i& and AGGFGS`S UFJ\~,'AL§¢L.M v {)urrerxcgf iii-b . . An'iount €~'-l,v\§ l
_ mwmt\c,rt’rttvsr<*o.sa :'_'{":,`:.`4':"”_' iran 32,237
MU mitmoma rnnns/tmmi¢_.m¢ _m;nmamsw
.:. mcwme < '
w BenetlotmLs Bani< ¢sw\‘i #l,»¢»i wl ‘ tim Bank use-Ooiy §§ W°‘~! wm
tom tmozr:»nc‘r/\n B»iz\rr< gm ._ ‘_ : jfj£"i’"“-‘m
f z `>l_nnA\lc‘n ,\;R:{W"§i*.§(.` 1 jh }_$ w `
__ , otto simnno»\o tiiiiLi` Y`i mims Rf,:,_ “Kf,.’;’ ' ; O{lf_‘,§/~}§,’
"L WBLMWW n.~i\~.. m 1 monica
w mci 't‘f)"E - ;<l~m-“r innn.`e`r;f~'
Benoficiary’s.éccounii\tumberWl=imeb ~mp_ \~_|m_ :_ 133 (,UU__M ’
»~-Stii~in-NH}?M mfg iih‘T : ..‘zz'z:£z`!.l.m
“‘ "'"_ l"ti`f` 1"\.|:2, -. 115 notion
,-» '\‘ ':' : _ .....
v Boneficta¢yNameanctAddrass*J,~»:-\)w\k.-} ::;_.;\,¢ .,~_.‘~;r 1 § ;<;»a.:;\ 111
"'“' ""‘" r:on:ltf£$.t€tl : "~»~"ro"‘o»`:
_ “Pto k»fz\CfBR<tLt<’Y'<;(~)-l.'t`l> rx conn : nn
- ~» '- f:f_<;r mart -_ _uo
.___ ` ,_ F’O$TF\G€S ‘. 115 .(?U
"' .'-,-rcn:':=.- ~» .rzu
" ' 13 .;_M\m rornl. mm .~ :zz~)tz.,n-.)
" pa 8 5 nn n/t* ~. '¢t‘1,'_l?5‘)r12~a/2/',>.';2./11
"“i§t`,`A':§YE)"t\"/i?\`ii¥ili<iiitl"i?"""‘ neil trees immune -‘mlsr
`“’ Corrospor)<§entNama
"`l` C[-{J-ix!r“i
Ci nmpmdeni Acoounl Kun'bor
:, M_.)‘y‘~*“"*r*x'.) _'r_L\'r'l n ' , ` _______________._4.____...
"l l\\.,L r.» I,ZJO.W}B_'__‘”““”'" `
_S;rtliomant b!: J l t omaha
530an n,q:}
___ i::iDebliNC Number ` ' !F)Moi'= ‘f’ii:]
i_ '~ v -¢ '_`i
hmoun\ §é:$?rlzig'é%&@./ZG§&!Z§) Countor\!o|uo Commlss.on wm wool amos met
o §§ ' gun . gay ‘11-=¢ motion , U.w$‘_ »b»'d»l»i cwa &""A
c.
__*‘i 1{1¢\ :\A!¢nn _ 13 l
ril';>?]l`i'can]t’?§ili;natum ~ Ma>ir! S.V . kehm-w Autt]nr.tznd_algn;:tg_§sk ‘,_ 3§15“3&13.#5
\ Z,w
Af\‘ FH.R l\'['.`{`ACi:{ED

 

 

 

 

 

 

 

 

 

_~ 4 l torl'?f¢il~;i§ 5 ic__r,:it.rm

 

809 FNK 7782 1205

 

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 5 of 150

 

DATE: 18/03/20} 0

MM. Lehanese Caimdian Bank S.A.L.

~S'I` - CHARLES BRANCH.
BE¥RUT ~ LEBANON

main No.,=` 124/2009

»\/.. ` v 0RDER FOR TRANSFER

 

BAN£< NAME ; PNP RRIBAS

BANK ADDRESS : TRIANGLE DE_ L’ARCHE BAT C 7EME 9, ll
COURS DU TRiAI_\IGLE'§ZS()O PUTEAUX

v}E£EI\HEFICI/~".RY : SNE'I`OR CI-I§MIE,

 

IBAN z mm 3000 4013 9600 01on 0792 491

swlFr . = .BNPAFRPPIFN '

AMO}JNT : 3500 _ USD ( Eighf`tbec§s‘a

déi,llér;§ ) . .

RBASON v :` PLAs'rlc MACHiNERY
c\)\»§;k

New Line Exchange B

Trust Co. SfA.L.

 

Ras Bairut, Caracas Street Up 100m to lamb house Te|: +961 1 7»44808/809, Fax; +951 1 744810
e~ma¥l: newiine.exchange@hotmaii.oom `

810 FNK7782 1206

 

Case 1:17-cv-02780-T.]K Document 22.-9 Filed 02/28/19 Page 6 of 150

 

  

NW.NG w€o~o hwaw wm@® .G`_Q_Q D.NQN Aw»

 

 

 

 

 

~_m§ Cm__m. n
m§m..~. w mz v>mmv§mz
§ng E>doz_ _ .
mat w>£m>m mz,mtOI OI§wwm
Fm, Um §Z.Um. ZG_I.U_ m§m%%»m.m j m§:m O.,_..UO§D»
§»:@_1¢3 §§@ § 0 §§ §§ _Gocmmm<§m mmomx
9 ,M ,~ OOS@ an dama%@
@N@S Uctm>cx

 

 

 

§§ oooc§

FNK 7782 1207

811

 

\../

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 7 of 150

iiMMD\l‘NmM
w?€<x.~¢badcmdm

TI.~"J$ V) 1 486¢\ MM
F)=x nn 1 mm soo
Em»édirn>mmwk

animus pint/eva or plow/iu culmiun

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

smm moman ma op
BNP f FRTE 300340§`0€00 DSM am igi l BNPAFRFFFN FF$"'* m
m 1 “m$@:.€°s:.°x€:.;; ¥:*;L::“PWF ppm
TlX}B m?'
N‘K ll\ Biéf)£~'t‘¢ l FR}& wool 03477 OSDZOTCVMOM 1 BWEFRP`W :;:S¥&§SPSL&YE;HYLENE PRODUOTS
90 amc mar ames T<>WN
AccR)<
emma
FROFORW>.`\WQ!GE ram 35366
Coumevo¥e, 58 february 2010
mm ' 'ro~m_
DESCRIFTIUN OF GOGDB PRICE QUN{TUY VALUE
Ueu'w’r m t 1339
Low DENSHY POLYEYHYLENE FxrRUScOH Faooo 1 mu,oo mm wsss,o<
560 BAGS CF 26 KD_ LO.ADEB ZH`T`O 1 X 23 FCL
m}{‘, QAT/»$\ SUPPLY;QATI~H
Esnmvso Fou v'ALuE n _ ` 717 oas,po
asmmx'€o aaa FBE¢GHY v)\LuE 1 700,00
Fin\l Doa¢]na|!nn GHANA
roTAL CFR mfg/y 19 635,00
¢>' F.r nasa AGNNST oc‘cx]nke>r§’r's aY imusrén
w 600 eAGs oF 25 KGLO.ADEDINTD1X20‘ FcL ' ;E
annot
T . le cEl;)E
§@M a~r se)\FRExem' ~ 34 88 §§
lt

 

 

 

a.\, Au mirth m 1 u\ 100 c - nci mmmmx o 411 m nn » ’i.v.»L rs sainwa - sm'zf in m m nom . mr am L

»._..» `_._.,..,`~_-__. -.--._ -. ~- . -_~:. .- ., __ -. _-»-___~~...,....... ,. ._.-..¢.,v . \ .,,,.\ - .,_ `* ,....,¢

812 FNK 7782 1208

 

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 8 of 150

\ ~

FRCM ZLCB S‘L CHRRLES Hr‘anch FHX NCL

 

11 BN\§§L

Br'mch: .,, . . ..
S arise
D le:

P 1§¥§'?$?§3}& our behalf ma funeng
ff Bankers Draft
(<I:{ Outward transfer by
§ §\II'JK UTe!eX D?\Ka§

: P\;plk:&n! e¥\ia\'me and Ad_dress M§GJ dish §y;»*
;:RLS'S C_.Q _sA, w

 

 

   
 
 

ammar v
.' §§ ~'T"Ai’ i‘¢?¥§" LA\¢:BHQUSB iii>"i`,' i) '4")17?'?‘ §233"0"2

 

 

 

 
 
 
 

"E¥NP PARDF}‘§S" "‘
;FRLRNGLB; l-}l` L*A~R@-ER B
hl®l-IR-B DU TRIANGLB -9~

...'>'WL`E.'J.`:.H]\¥BMUPJZ[E€

: E§n‘e&clagf;z A@unlNunxbeer:F-“~é,i '

,..-. .. .,.--..., ......_...1.,..-. ....»..

../

 

 

 

 

m.m,... .. ._._.-....».w. _..-..\».--"--H~r »¢

ff_@mmmnmmmnmzz%'_/_
47 Bénef\dary-.Narf)e.andAddres's *~*_»b;' ¢-»~l
_ _ ,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

:113553'53 12?
§§

Transfan' 1 walling Draft Agg]£cat¥qg
gale § J_M'

 

 

 

 

.G’# 10

 

 

 

 

man 19 2211@3:45::1~1 m
@.=.§MUMU.LMBLU ’x.§l
dfu§ _,.. .i v

' ‘ TZ)~;
jl~"l¢$:')“¢*x}*u+_,v
My-“-wlz-»'» [j
‘~‘MLQ L,=:~J\»"~¢SP¢" g

him L'>‘QE -.'Jn-J []

' ounaneylf~!~ ‘Am`oun§&¥*£ '
US}`) 3500 C_{/"
QKLZS.HWMMMMLMRMM,_~M
per Bank use Only ~ 3d »k,w¥’~z ud$

mva = 1.¢)!’0.5/*2.0:.0

Tfm. aim z .¢,'>-u

vALus nms : mgm/2010

HE\~', .Ki:‘x' : ft£l,‘)_.$j.?/`tu

000 210. ,~ 10120'251‘;.

H<F. '!‘!:’J!-'. : Swzf.¥ ¥P.AHSf-'r.fe

1`RF. c;UR, z 03 DOR.I_AR b}/
TR+‘. rm :. asoa.r)
PHT. c\JP.. -. u.~) nol.s.mz

E%i-*.T{~`. t ,1

Er,\u\). P'-»m : :z.urm.cm.»»"/
cc)mis:ssifm : iO,!H)

FX 00.‘1?‘. : ..1)0

1333 FEP‘: .1)\`:

voter/uses 1100

-')`T hh?$ z . fm

¥0: m Rii? '. i\‘.)?’.3 00

UR n/L 211/173902- 912/5 "z" ‘E\

NE‘,J line z'»_ wilmqu mn:.'
Rf;?mm<$ , 3

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Gmespondent Name
illde ___
_er¢t)ao`gonmmber
‘Y!Md dw`r»§)
lf`attlémehtvy~,. ,. f ' L M!§ -H
` 3 3 0
I:]Cash VMUE mm m 10 ia;[:j
[:JDebtt A/C Numver ;¢.1).,3,»3 ul¢ ¢,:s[:]
;" " ' . v ' , ' drum ` . _
_.mm;¢yw,:_' _Am<?gm1 E)<<w§:;ar§w 'cv¢m__ C_oun-torz.\::\`l§u_e `Co_r;\ln~r")§xx EMA:¢: S\f"\P" l Tot§i~¢M h
§ Appn§sm*s:sl§nawm wm s.\/ .¢,&~»1111-1 nimmer na.ggrae _ - ` _. ¥"' ¢MS..
1 USD 3500 .- § 71~/`€`\
K i__,‘._,/‘_. n\\ ` ‘

 

 

 

 

 

AS PER AT'I’ACHED

Fw;:ew¢ri fentde

 

813

FNK 7782 1209

 

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 9 of 150

 

DATE: 50/03/2010

MM, Lebhnese Canadian Bzm§< S.A.L.

ST ~ CHARLES BRANC}-I.
BEIRU'§ ~ LBBANON

RE}<`., NO.: 129/2009

 

_ 1 OR])ER FOR TRANSFER
BANK NAME : FlRST COMMERCIAL BANK CHIA YI BRANCH
BANK ADDRESS : 307 CHUG SHAN ROAD , CHIA Yl , TIWAN.
R.O.C. ~ ~
.BENEHCIARY : CHAO wet PLAST;<: MACHlNERY CO., LTD
ACCOUNT NO. z 501-40-000788
swlFT v ' : FCBKTWTP 601
AM_OUNT : 32837_ usn ( THirty-two thousand eight himdred
`, and eighty~seven'dol}ars )

REASON - - t PLASTIC MACHINERY

 

Ras Beirur, Caracas Slreet Up 100m to !amb house Tel: +961 1 744808/809, Fa),<: +961 1 744810
e~maii: newtine.exchange@hotmai|.com

814 FNK7782121O

 

 

,,.»/

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 10 of 150

__' A\

`BANK NAME: F¥RST COMM£RCIAL BANK CHIA Yl BRANCH
BANK ADDR€SS; 307 CHUNG SHAN ROA'\D, CHEA Y!, TABWAN., R.O.C.

§ BANK FM: 335-5-2271280 ‘

S.W.G.F.T. NO: FCBKTWTP 501
ACCOUNT NO: 591-40000788

ACCGUNT NAME: CHAO WE| P{AST!C MA€HBNER‘{ CG.,.E.TD “

32,88? S

815 FNK77821211

 

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 11 of 150

` CHAO \VEI PLAS'I`IC MACHINERY CO.,, LTD.

’I`EL: +886¢5-1686688 FAX: +836~5~2637821
Messrs: SPP!L ' Date: ZOIO/OZ/GS
No: HQQOZOB-SOZD

QUGTATION

‘Pricc terms: P.G.B. 'l`Ai'sl/AN

'I“rrne ofdelivcr; within 45 days siler recoipi of L/C.

Payment: Paymont: fly an irrevocable and confirmed ijC ar sighi in our i`avor‘

Vaiicliiy: within 60 days.

DESCRIPTION OTY UN§T PR[CE AMGUNT
AUTQMAT£C ELECTRON[C HIGH SPEBD DOUBLE LAYiER {S LlNES) CUTTING &
SEAL]NG MACHR~JE Wl'i"H SERVO MO?OR CONTROL

 

MODEL: CWAZ+E- l GUG~SV 1 SET US$ 34,700 US$ 34,?00
SPECIALDISCOUNT US$ 6,’100
TGTAL US$ 23,000

STANDARD SPECIFIG¢! TIONS OF CWAB+S MODEL:

Stop motion device for ihe bags become superimposed

Stop motion device for thc film empty

Stop motion device for the remp. Drop 4-8 degree

Hot needle: 4 sets for stack t-shirt bags.

Pi\oto eye for feeding control: 8 sets

Feeding motor: 8 pcs

lndividual feeding device for each iine, and also can be attached for one wide l`llm

3. Convcyor: l set

9. I.C. Board control; l ser

10. Digiiai counter, total counter: l set

l l. Japan made frequency inverter: l set

12. Maln servo motor control: 1 set

13. Compulerized servo motor transmission sys\ern.

l¢i. 'I`his machine suit to make t-sin'rt bag & bottom sealing bag.

15. 'I'his machine can produce max. Bag width 38” + 38” (96 cm x 2) by up and down 2 layers
and max. iength 40” (100 cm) 2 lines operation

16. 'I`his machine can produce max. Bag Width 18" (450mx 4) by 4 lines operation

l’I. 'i`his machine can produce max. Bag width i2” (30 cm x 6) x 6 lines operation

18. 'l"his machine can produce max. Bag width 9“ (23 cm x 8) x 8 lines operation

19. Convcning thickness 0.008 - 0.] mm

20, Esscntial spare parts: l set

21. 'I`his machine with collecting conveyor withoul auto punching mach ine.

~=.G~s'\.»t»!~‘.-

CATHY CHANG/ SALES MANAGER

816 FNK77821212

 

\`_/

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 12 of 150

l ' CHAO WEI PLAS'FIC MACHINERY CO., L"l`l§§¥q

TEL: +886-5~2686688 FAX: +886-5-2687821

Messrs: SPPlL ' Dalc: ZOlO/OZ/.'Zli
NO.I~iQQZZ¢l=SOl D

PRO~FORMA INVOICE

PTicc icrms: F.O,B TAIWAN

”£`ch of delivery Wltbin ? days alker receipt ofTrT..
Paymcn€; By T/’l` before delivery

Validlly: within 30 days

BANK NAME; FlRST COMMERCIAL HANK CHIA Yl BRANCH

BANK ADDRESS: 307 CHUNG SHAN ROAD, CHIA Yl, TAlWAN. R.O.C.
BANK FAX: 386-5~22?}280

S‘W.l.i".'l`. NO: FCBKT\VTP 601

ACCOUN'I` NO: 501-40-000783

ACCOUNT NAME: CHAO W`El PLAST[C MACHIN`ERY CO., L'I`D.

 

 

DESCRIPTION QTY UNI'I` PRICE AMOUNT
]. 0 rings for rubber roller 200 pc USD 0.50 USB 100
2. Whecl rubber lO pc 0.5() 5
3. Cylindcr CML3OBISOST 2 pc 52 l(l‘i
4, Blower switch 2 pc 1.20 2.40
5. Convcyor motor 51K60GN~CF lpc 138 138
6. Sprlng 3x330mm 3,000 pc 0.40 1,200
7. 40“ Silicon roller l pc 560 560
8. Adjustmcnt bar gear ipc 40 40
9. Punch§ng blade 4.5” (W) 6 pc 35 210
10. Clampcr cylinder YMIC'ZO~Z$+Y+PIN 2 pc 47 94
il. Clamper bell 19Tx528(cm](l,) ' l pc 95 95
lZ. Prcssurc cylinder valve regulator RllOO-B-T lpc 38 38
¥3. Top roller for LA65 ipc 1,020 3,020
l4. Windcr motor 0.4kgm lpc 1,28() 1,280
TO'I`AL USD 4,886.40

TO'I`AL: U.S DOLLAR FOUR 'I'HOUSAND EIGH’I' HUNDRED EIGHTY-SIX AND CEN'I`S
FORTY.

CHAO `\VEI PLASTlC MACHINERY CO., LTD

317 FNK77821213

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 13 of 150

c,\~/j</r.oé ¢_1.;_1_»<_; ;
931 jamil .Lj.¢o¢j., L§»\.ssll gs:l:r+lll ale sugle oig

{§H?/D§ro ,£zp,¢¢r`_ weir me E)<cl:a:`»§e :C n §

Mum Vu, V.. ..\.. a
\

 

/lm #‘ mqu row 551

 

<él»?= v.-l=-»“ law 09 Jl#¢l :&;~`°r=ll
ohio L, jr $10.000 w 551-§§

(;,ug or,..,r)zr\',l.gsmc...ysrs)o,lol gJJq~,v&.-mumw ~
(UllL\lLl_)».aA) agll.nll\l:lnmj¢llj\_l_)l.r.a.e.l.lloo ¢\LJ-Lg»#`,llH-¢!§llul¢l.\kr¢_, "

¢;,;pz gram ,r.».a\ sp alma

Q_"__[X/\C` :&JA\::B:};J£¢:¢#:}ZB

(_&_.M) 7 r&~\-)Js ~M”””’= 3213”
/" `€QI\\\.V/$':jé _,l%g.l§§ "' cA'$l/{

co \ `/r /\, =@ww\ law 10'3“2”'°

' l " (.°;')l :dly\}lJm ~IZ¢$/N£'$S

L,L:M"`»)/{/ /{:v l.)#t'_.`., L_"_L)|d)/s l 4 linin ]‘ , `;`£_;',&_f_/q§f QA’$f/L

l.,!-._r¢»
` - » - cid-iv
0 Wl°"’ mm ?Q¢®J'C rfc{icr~\t,v¢€\/ m £W)=M. op ~/5¢’)§/”' l 7'
7_ /L/ C_ =¢¢\..,as'y\ 513 realm ~ [’/¢/QJ'V _
\é~/-.§<»FJ:CL:\V W
h x : "\
New Line Exchange

Trust Co. S.A.L.

818 FNK77821214

 

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 14 of 150

\

FR(BPl ;LCB St CPWR|_ES Er‘anr:§x FQX`NO. '1131366337 127 MB)*, 1@ 2319 133¥4?1:1‘§ 133

m BAF\§<:§ §§:v..i£njl§mmi.i:si§!oiwi

 

 

 

 

 

 

 

 

 

 

§;-"~-~~ rransrorr assrringggafr Apgr:caamr § - w
F U}és/§%Hll§<ll\ our behalf the foilowing: M j§..; Ps~,.§ §~,r may
§§ Banl<ers Draft Q',>L¢»=d# ij
\l:l Gufward iransfer by ama k §,_,. 31 §§ {:j
313 arm [;]remr firm w[f wrw[}' 1,,4 §
§ ¢;piicant‘e blame andAddrese €WJ¢M¢A.»»¢-i _ Currency 11-1 . v Amiount 1193 }
" NEW er»sr; LXCH. FRUS §§ ` Usr,) 32,23“)
_sgzmrm.)_r¢;r serrr_r;; mm ,1\§1 _. ,.M§___
warrar.rmm ammcm¢saxrw.msm umw rwmmmmcmaazas:mm§__s§
l:: Bener?b!ary s Bank »r‘£whd»~»d ¢~l - Fc_r Bank use-Only E§M` 14 v°’-*

 

 

», . _ , w r_. .... . ¢ ¢~. _. ....., .n...a..w»

 
 

"\.

 

 

 

 

 

 

 

 

 

 

 

rrrrr'r.coxm:mrr marrarrr< “M'i ' 3‘~‘1<‘-"/"“-"“
§ ram irs-rra : w”»‘
- ' w\rur.~ on'rr-, - r.r.\,'o`s/~zr).u)
.JL‘~\ M;»T' ,";\CJBK-I \p\rlj€{}t"""" *\" 7 '-'A Y"~{: llEV/SJ\ RE;.‘, KF"\' f U[|§".‘."¢§ ¢ljl.ll
` lb£`k'$, NO. 1 J.(`z(!t}?.§i)!r
¢. ~~./v‘ - \~ ' ‘ ):‘r*‘=
Benono‘aw’s.AccouniNumber~‘-,\‘#'M<#»¢b guy é,;;;: 1 jj:l;§l,§:::;h'?'l
.....50;M104K11113;z.,...,.. a mrp am .~ .,'>~:;:zr).m>
-~ 1441 furr. : us ordman
_ Bsneflc}aryNameandAddress‘3)».\¢¢*-4.»4 ::§;V mr `_= § 3`;,§;§?." 33
"' * * mri..a _-=,u'_w. ,~ ‘»-»'~m‘:un
'(”l"{l\€)WB.li'! A‘}'l‘l(" "vMCH]NLRY {,() l 'l l) l`~’K 1‘11‘11~1 ’. .t)fl
.4 (:[<.'r wm ; .!)li
_.§_._ ...,,..__.._.,.-. ' . PO$TAGF'$` 1 15 1113
4 sa‘mar‘:=;- 1 .uu
*` owns §;}_.M ro‘r;‘»l_. man : :¢.‘z~>zr¢~.r=o
* nn n/(' -. 117/.1,?5;‘)(1;'~-¥_~'./’/:!52'.?_/1~

uaw mrs r.;:c:~za»rr:r ".ersr
r:e'rsnr¢xr~;

  

"':131:.1‘§5"1'1() MKI)Y¥¥NTE!¥\"' "`

 

 

 

"" vGorrr<:a , nt.Name

w’;;‘l` C‘H

cr nmmqena manor timber

_... lyng “»“'*‘"Es'-| xvlzx r n ]2”)3£§;1` 3 ‘

_§g\illemom byi , § 1 4 £»_._:Bi.l,r,h
@Cash im{:]

__, m norm NC Numbe; `

 

 

 

 

 

 

' =,-r,;.w;» 1153

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

F~ l '. . . ` , ~_.
C. §§ Amol.lnl Q&BJA§BRB¢/ chnler Value Commessl.on coram wm amp§
mll.¢§cy ` é:l+*~li - ¢W)~ 1111- Wu?f»é¥ _ W ¢L.J,:.|,LP{ eaja Toia|&M
]... :...,.,a,._ _ § n m
gidwml§gllgimmm ` MCM S'V ~¢*BMM A\_lanprlwd~€ls,n§i“u§,$ uf cr gum am
AS PER /\'I`TACT:[BD \' § l usi ray
H~ w l l-wl'z.rraazd);cr:s<aan

 

319 FNK 77821215

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 15 of 150

 

sToRMaMPoRT-r
z MQHAMMAD DANHAN

820 FNK 7782 1216

 

 

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 16 of 150

l
\
1
a
s
l
1
.
.
1
a

P.E

'¢\4""¥ ~‘, /~l d

 

f .. .. .nw»..,§ .!u_m| ..mm\ `1.\§\.`.¥.\?”.¢.. ,

£?ZBS]. 1?¢14515

91

 

 

 

--.,..~ ..§.. - mw._.h_m<§$ wzw¢zoo wh.m..om<.w& E,ww 1 ..r. . 1. . wa
. .a. .h. .-, , . F. . - ....
.v . l . »L).?i» .!,..l lilml..n!.l»wl.\?ff!.l»|.\l~ . l . .\l .H........
*H 40§4\$3..§?&?#£¢ . . .... ..
1§. §M¢Mmmwmm§dw.@u¢!w§i w , H.
la 4 S. 1
_ HH .1§$¢§$%3%§%§ m WW. -
- g s .. , ...
regan . xxxxxxxxx ..1.. wmzo*o¢>mmwmo M w .M a 1 ..._
v W . L m on .. . .
a 115 . 0 .W un .s . w
1 o.H.HF..II.: §§ §§ w a s M n ~., . …
, a §§ . 1 ..
. Z§. Z<Ekm> 1 .. .
. <_N_Nw ' '¢
.. *...I|.\MI onduE.Emeo iamsz zo_BmmE n n -
.a . gopma»>ro~mm.rzz_wm .Qmm»m_z_s_ .-.. _.,
.4 EW.B_NMZW> w,n_ dzd_m.o._>jom .<U_r_m$n_wm s w
_\ ry .. . ... __ . .,_: .1._.1,.1. a. .»_ 1.1:..,,§

 

 

FNK77821217

821

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 17 of 150

   

     

             
         

 

       

 

 

 

3 l »\ .. . , . 1 z
F. ..
§§ . .. ,_ . . ._~ z.
. ~ .. . . .. .. . \ .
,r.. H...\A,.l\...._dl n"....; .
, R§QN, -_
. » z .
m > __. . . .. §§w\..v . .
_U _ . . . n.t..».\` . ... . 4
, M ....,*…… 1 3 ~
w ... ..
1 l.
U n
9 .
.. ..
nw ,. ,. . .¢
a
. s
. f .l ... .\. . l . /. M
,_M..».§_._\.n¢ 5 _ . _
.¢ c .»l .» ¢.¢ . . \ .1.. .l»: I. \.~ .. . .
br n \ ._ §§wq.§ ..,'v .. m.§mpnmm » . ,. .> .. W
. . . .. . .- g . .4~... . .,.. . .. . .. wm
. , ." ¢ . 4 . . . .. 539
. r. . i. .. 1 . , K\
d v . l c ¢_. 2 ¢~ v..¢€w,\ \.¢ n... . m
m\.
c. w.
.}D»..\c..
\.,..J

 

FNK 7782 1218

822

 

CaS€ 1217-CV-02780-T.]K

MINISTERIO

REPUBLICA BO IVARIANA DE

Document 22-9 Filed 02/28/19 Page 18 of 150

    

L PODER POPUM mm

RELACIONES` NTERIGRES Y JUSTICIA

REGISTRO MERCANTIL PRIMERO

DE m CIHCUNBCRI?CIOR'

f
z .
P.m;;. Joss mwssn'ro ns munoz

DS 145 CIRCU'HSCHT?CTGN \N'D`ICD;J DSL» D‘IS‘['RI'J'() T‘A\*’JTAL Y BS’X‘?\DO KIRA}YD?\.

 

seth umcrito en al umw J

ssi com na hrclcipaoién. site Y wmi_\ro que se c¢'pim do oeguida

mm craslxdo nez de w ott

SSTB FOLIO FRRTRKECE A:.
$'IUHH D£WRT. C.R

lB/[:IZ

BTSH;'LUW ?U

R T I F I C A

`ICIM., th DIS`E`RI'§U wilful '£ £DO. HIWDI\

ROURIG'URZ¢ R.F)G!STRM`X)R WRCMHL P`RKMERO AUXII)XAR

o
x

marcia txn'l_incritd a matiuunui()n, mayo original

-§\-on. .. N§wo¢ 35 del am 2007

imlu. lou coalea ion del tenor n£guiente

 

 

130 §1£1¥9 b@@E-AbW-)_E

 

823 FNK 7782 1219

 

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 19 of 150

 

I'd

 

ambivalwa

  
   
 
  

/ 61553“§

ACTA DE »SSAMB E)<mmmmmm D_F. A<:QQN:STAS 05 m

CGMPMI:\ ANON} sham $MPORT, am may berman (30) ab mm nez '
2.007\/€;¥¢0:10(0<\ la seas/ne 18 compania m seamen mohamed omanr”
nom de quin! L§GO) eecionaz. master de la Cédnta de zdami`csad Nn

24,699.330, nyman D man,,pfbaeebome comma dnm@ma (zsoz~écci@ngs, `
uaw de 13 swann edmund Nb. 24.`33?.343, osama oahmn/§ésbebb( de
dosc?entos dmntai 66 acdonas. €§!ular de m Cédula de fdcniidad No.
¢':~92.’225.143, que.; pén'o`n 01 Capi&a! $OQTEJ de la com§er’\ia N'eo'mma
STORM MPDRT, C estando pfesent€> ta zolal§dad del Capkai Social dc la
G<‘mpama, los ,°#.cdc ibm fman mmdos con ed nn de celeer win
hsamhfea Gcnom| Exmofdhw'?e, Seg`v$defnml® 95 D'a'eclo: Moh,amed Dnnhon,/
dedarb N!MGS ls A: $mb¥b`e`, ha coal pasé a oonsideror faa siguhmie bahamas
déid'fB.

wm mg '».~zbn se 1a omaha rem§/¢;ubbamo rebabzedo dc 19
mma fo<ma~,ef? o 10 be n wn¢anr§iééq;'eg¢¢¢ nn annum sigma cobb
gémro 4a negq¢zos' ~_ amos name qua joan susoepbblos de ample par
wa\q\ner penama lsd o luridica, pcd'endu de`$ér'fv¥lar la mlsma denim o
mem dol pais, asi -~ l - laman se wmame a la compra. venta.
m mem y down :;m_pbnadbn, monadbn. ree)q)omb£bn Mvucion
~ n do rode tim de merhanc}a_ cowen goneral, antenna
~: da v pace d*amna/§ba!)esos, n!hos a Wa.mes

   
 
  
 
  
  
    
     
      
 

 

wah-do memo a l lntofose_s de los wonfelas y de la compnn'a
P to ` : lndbir 1 Ciéusu!a Dédma Sépilma quedando mdat,lnda de m

Sor'\ores Mobamed 0 nhah ymnn Dshhan, y Osama Dahh§n.'/ y ma aar
from a ie:cerab pb ¢=a per tieme inderwdo basin ramo ne sea revomao
pena Asamb!ea `G¢` = v de Aodonisiar.. '

l

V
Someltdo y »--'do estes puntoe, me zsprobado per onsn:midad,

mayor no ncaa del le domrbmo, umw ne la cbdn¢e de wede No.
v indus ios trémltes relatives al mglstro de la proscle
- - - ic ha s¢do la presents reun)£>n se fev:mtn is cesion
prooar£eoda a la red "}e'esfa ada la cua'l en sehal do`/Qbrfonmdod tin'nzm
index tdc mm c be j MQHAMED DMHAN (Fdo.) A,YMAN DAHHAN,

(F .)OS!W\OABH .. ,. /_
‘fvo.l¢bwmed '~ ‘- /¢e:mbtsnon{aycrde‘edad,web¢xaaemmmgn
no v»z¢.ess.mf ' wamammwen¢esvamnelybmo

824

130 @C=`(D bQBE‘/\UN-AE

FNK 7782 1220

 

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 20 of 150

 

 

 

/' nwsz iz‘= arms

E‘d

§
f

; v -m;nw, --»m

de su mims que curb insane en al Libro ne Aotas y hsambleas de 23
empresa
CMs;siarecm mmsemndém.---~

¢+é,~f ,,/ »”W;W

§Fdo.; weisman n_ umw { ¢Fm.} much umw /

/.

 

u‘(*’i) .‘”/ k -'
~<»=ao,;csmmm m //»'

 

 

/on¢¢§é“~/? ........ mmme

"- sherman m. mmmo 63 muniz

      
 

,,”;zooéx§tfva sk wm xi ~,~ :- -~ '- . . wharme swan
,

lafan
: 't§t¢ m ixth kowanc
‘ wh id&‘MiL iad-nino minn
stabbut%a@=v =30 ama bzm~.xuw-La

825

FNK 7782 1221

 

 

 

z
i
3
1

§
\

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 21 of 150

 

l New¥_mef~'xcha

    

em st 1

  

DATE: 23/00/2010 ‘

» MM. Lebanese Canndian B:mk S.A.L.
ST - CHARLES BRANCH.
BEIRUT ~ LEBANON

'REF¢ NU.: 152/2009

 

 

` ORDER FOR TRA'NSFER
x BANK NAME z mbUSTMAL AND COm/LERCIAL BANK OF
cHINA' , GUANGZH()U XINTANG SUB~BRANCH
gwin code » ; ICBKCNBJ`GDG
Address - z N0,159 103 FANG BEI ROAD , XINTANG
GUANGZHOU CI_TY '
` ` BENEFICIARY : zENGcHENG HN QIU HUA GARMENT Co., LTD
) ACCOUNT NO #' : 360 201 551 920 017 9944

AD_I)RESS : AZ SHAN TANG KAN BUILDING , BAISHI
VILIAGE , XINTANG , ZENGCHENG , CHINA

AMOUNT 1 300,00(}-$ (THREE hundred thousand-dollars )

`,-/'

REASON ; cosir c)F DRESSES

CHARGE WILL BE DEDUCTED-FROM 'i`IiE AMOUN'F

.BEST REGARDS

93 \§&§ \_<_ ISMA1L You_ssEF

New Line EX_GthQ€.
rrust Co. s.A.L.

 

Ras Beirut, Caracas Street Up 100m to lamb house Tel: +961 1 7448081509, Fa)_<: +961 1 .7448?0

l h M»~.:l. -v~u,l:“n ,\v.-\l-\nrv-\n/»-\Mn+wv\nil Mm `

325 FNK 7782 1222

 

Case 1:17-cv-02780-T.]K Document 22-9 `Filed 02/28/19 Page 22 of 150

Q..\,[_`\ /?'<'uj‘_;_¢-&.M

M

,-

w 001 .J.€.U: L§M\ cf1001 M13J11; 001_~..

New Lisze_ Exchange

 

WQ§? AQ.M »’ '
7 Trus?Cc)wS/Q,.L :CJ..MI\ (wj

Ac¢»r

'#"” _ "ngz:>.? EHJL»~=»$¥¢®

1313 ;,.\.:~.w' 4.,:.\»¢ cbs JL-»i,t ¢f:y~`¢.i“°n
umw 11 ,1 $10.000 m 531-133

(¢L-._A ¢,.4.):01¢,¢.1\ ¢11....3.1 190 ,101,-.1JL,..,):(,,.¢01G:2 01 ~

\./;
c',u_p_)\_
`__.',1:) _;Lé¢
ZeA/¢§c’f/`e/JG 330 001

»<-‘»"-~/5;0¢\1

§)1§1) 15 fd@%

New line `Exchan
Tmst Co. S.A.L

;,301,¢..;)1.~11100¢3)21»,0,~1»3\1,1¢&¢} “

C`J"'{>\/\o§` :¢_`)A\¢§J%!”/“' zé-’ /~F¢'-

: (~.S_.M) § ‘/"J `_'_ :é_l=“]\ A!-{wm‘. 300/w
§-"";5" :J§f-J}L,;.\'L'z - CFS#,

a \ \`/:1/<7< :éi_)m[ DM'& : 23¢£,?.0'6

(`/. \¢5.’\ :J‘_Hy‘_)_\“a.. _ 605-lva

LJ( 5 `,L..LJ :J,Y;M;;d,§#£/Ms§ czo'r/f£$

SQRM YMPGR) cA =Wm,,-. - Cz),,w?"

__H'L»Uq CHQMWTCO;§°M$£F L,J.`L., ~ 3£~¢)€/1/¢/»4/¢0¢.
”P :e~“§’¥

/ :¢*§)'*"

ge

 

827 FNK 7782 1223

 

` 50
Case 1'17-cv-02780-T.]K Document 22-9 Fl|ed 02/28/19 Page 23 of 1

1114<!-'{1 111
a'H/\ ow. ~01\):::)3>/ ldf dun 45 :U_J`U_- ~ _ _~~~¢.___~____4-

v -M~.)~ vv »\vve~.v..\~~.) ua down
nw

   

'~ Tmnafe`r / waumg D:a'ft Agg!roatlan ~-~~- -- 3 1
Ugiy@g'; 0 1 ibm did ,Wf£\,b“,¢.; .`,1;, 0

f ..£: U
°laase ramit on our beha§f me foltowihg ; ga
Cf] answers mm

f]}putwa¢d trens{er by
m I]m¢x [j:aau!¥

-)]“-’if£'~)-; w uaw

 
    

 

 

 
    

: 157
anuE OATE : :15/06/20.10
Rs.~=. 151 1 wasn/10

 

              

 

 

 

    

mC. NO. . .',OQGGS?.\.
TRF. TY}‘E ' SWIF-T TQRHSFER
_ 4 mF- 0001 . 13 0011.00
“";s'..¢ I.L~.S'?:u:?" _ .\r?W'=W/. mF. am 299975. 00/
300201$51~92001799¢»1~*4~'~“~~; §§T‘; °”R' f ”S D”"L“R

             

'1"11$‘[»§“1¢'53? '»-=} .£'1 `“‘,"f€?.”l§§§ comnason . 10.00

 
 
 
 

 

§ 1
E_QUV. AHT f 2999`75.00
!

 
  

~ ~- "._ N~-~~ ----- ~ -~~~~~-' »--~ mg conn. .00
~ . cea sees ; .oo
é§§,§rwa )o§ma£s : 15100
_. ' maps 1 .uu 4
mm mm 1 season 00 /
va 0/€ 217/173902 8/2/5:)2/0

NEH LINE EXCHANGE `{RUS`(
REHF`¢RKS .‘ 2 ./

 

. ..l' '£)SJ‘ DE DR_ESSBS.. _

`I,__ ~,. ___1..,_;
. l `,`¥'

`w"\`z~ ` ‘_`“""'"”°
vALuu 245/002010' 4 1 ` ` - ' .1§§

mfg
rrb v\-="uh-W'[`fj

jl,|,;z\.{r

.-. §’_`.;¢ir{ , ,y_l

 
   
  

.. .-- . ..'-... -~.,-.;....._

 

 

 

 

 

 

 

 

 

  
 
  

 

 

 

_ lloabn/vc Numoe';
000 `
_&B£\“Z¥MBWWG _;_.~11144"¢411=; &v. 1

h _ "'-‘-"' of\§n
_MPM-Amc~:mziz_»_~--~___| ~ms m _u wl ~WL--~_~“ w

v~»¢- ~¢-.w.q ~~.,-...`~¢.., -_-`,.»p \~~-»¢ ~~ ,~».¢,_..¢~~~ .--- \v-\- 1

  

"1"/&_ t+:i!;'il l "MM§Y" ~

w

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

.
» .-.A:h -A.-.H.~._ _.`,..`s.»,.....-¢:\\_-L---- '

FNK 7782 1224
828

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 24 of 150

 

DATE; 23/06/2010 1

. MM. Lebauese Canadian 13011}< S.A.L. 1 ` ‘
s'r » CHARLES BRANCH. `
00111111 ~ LEBAN@N

RER NUD: 153!2009

 

; ` O`R_DER FOR_TRANSFER
`*’ . BANK NAME : BANK OF CHINA NEW YORK NY US
Swii°c code : BKCHUS$S)G<.'X '

BANK B;ENEPICIARY : B'ANK OF CHINA , FOSHAN SHUNDE
RONGGUI , SUB-BRANCH NO.ZQ,RONGQI DA DAO ZHONG ,
RONGGUI SHUNDE', FOSHAN , GUANGDONG , CI-HNA

BENEF:clARY NAME : sHUNDE M_ETALS & MINERALS 11000111‘ &
EXPORT co., LT_D oF GUANGDONG
AccouNT-No.# ;` 3812 3147 52011 093 001

ADI$RESS :200, TI YU ROAD, RONGGUI, SHUNDE, FOS_HAN,
GUANGDONG, CHINA -
SWIFT CODE. ‘ 8812 3.14'7 52080 93001

AMoUNT~ z 100,000$ (oNE 'h\mdmd thousand dollars 1`

REASON :COST OF DRESSES
CHARGE WILL BE DEDUCTED FROM 'I'HE AMOUNT

'.'

BEST REGARDS

New Line Exchang_e
Trust 00 S A L

 

Ras Belrut, Caraoas Street Up 100m to lamb house Tel: +961 1 744808/809. Fa>_<: +961 1 744810
829 FNK 7782 1225

 

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 25 of 150

Q~,_\\ /_“k/W<£ 1_£;,&»0_§ n

0051001 ..d.€..@; @0;11 §§.111011..01_111;_}11; 000

Qp,¢>g¢,. rfwa NewLme Exchange
. Tr'u 100 001 :5;010011 fm§

Am#: 113002 :010001

935 2000 ash C)¢ J@! =E;J~»»‘=y¢“
1010 0 51$10.000 00 000

(ULL,\}\.J_}W):U\J;A“ 1.".1\.¢».¢}&1 19031~0] #;J-bé‘~‘_}g¢}é»l:lgulcc»lb '"

¢L\.saé 31 w 11.10.:11,;¢. guam

Q c\/\Q( carnes ’;’M/£,¢¢. 153

1£>-“-1*)<03 \»~ ~ 001/@“/*’“"’ mm

C§.)»~{'¢; J)"»J\c.$~!v "‘Ck§'/

. /(:),\/ 'L]\y\\j\ j_\..m 305 /A)¢~$S
C ,£ 11 ______"' . __..-.)1 )\M .J )*Y\ n 1‘,7"“"'71’&£&' C¢OTHB

\/’/000» grow 1100°10 000 061/§§wa
500~0€ 057/115 0011101‘€{11$ 10€01§=111 00011000»0 ~ 6 / 11

@,/(O:Y'wk:_y l7/9 0:/§0102/€390»/0?.
fill
CAX,l./"J\” W/V/ eéjm

New Line EXGhB¢\Qe
T ,§¢;f Cf) 3 A-\‘

830 FNK 7782 1226

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 26 of 150

'. ' §

r

Correspondem bank name ; Bank of Chlna
Correspondenk bank addfess : New Y¢_)rk‘ N‘( US
Sw§fi Code‘. BKCHUSSSXXX

Benefic;lary bank name : Bank of China

Benejflcian; bank address : Foshan Shunde Ronggu'r, Su§ybranch
No.?@, Rongqi Da 000 Zhong, 1¢{€1!1§,!91.1§o

$:`&zumie~x Foshan‘ Gua_ngdong. `Chln`a

Bene`&ciary names Shun;ie Meta§s & Minasais impori 81 E)<p<zrt Co.{ Ltd. Of
Guangdong ~~- ~* ~~
Benehclary address : ZUG, UYu Road, Ronggu§, Shunde, Foshan',
Guangdong, China

 

Account no. 1 8812314?520@093€¥3?
Sw§ft Code : BKCHCNBJMA

lO@\OO@

831 FNK 7732 1227

 

Case 1:17-cv-02780-T.]K Document22-9 Filed

F|€&`1 iLCB St CHRRLES Br‘anch FM Nll 193366337 327

 

St._chprl_e_s

113;1%/661;’_€31_0_.;…,1.

Floass ¢emlt on our behalf the fo&§c>wing:
§§ 1 Bankerez 0me

E'fa'nch:_

‘I‘ranafer f lss,u|ng Draft Aggkionifén
££,»»1 ~‘1~)»1`1 JW¥!~HP-¥ 10‘-“° `

utwarc§ tmnsier by

QE 811€!1 Ererax Dm.as

02/28/19 Page 27 Of 150

lm. 23 2@1|3 91292?1`{ PL

§‘&§:\0113=01000011101111:1101

.…_,__._.... , cap
_._l -. .j;. ["i)`-=

.>‘Mf(g>~`“ \`)‘ u?#
1_,5,>»“-1¢-1 g 1
W.»e vN‘-'»dW-J §

k-JUMU 1464 g l

 

 

mgm-ltv 1§\‘* _

K` 0 h 11 § °

 

 

 

 

  
    

.0§0111<.011€10110 000 1 -_00 ~_

 

 
  

     
 

 

   
   

  
        

 

 

 

 

 

 

 

 

vm.oa ome z

:. 25./00/2010
: 458
23/00/2010

   

 

 

 

     

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

.EGSHAN§IBME.RDNGGUI,.SHE AI\C _ ' REF. KEY : 005572/_10
»\IQQ§.KQNQQX.DLQAQB§QNQBQM§ SHHUNDE nom 110 1 1000¢.572.
MMGEQ… ~rRF. wpa 1 sum mmst
wm § ma cm¢. : 15 M.Lme
30’0.;11. ..vi’l mF. mw ; 99975.01)
._-- . 'PH¥. cuR. ': Js uoI_LAR
emam_szoamoox mm z 1
0; 0 §qu. am : 991)75.00
;;130.§{"0'§‘1,’§1.-5"?-"" §'..15.-0"€`3’:'1*.`;"`0‘1>0111115311'<)11 ; lo.co
~_--~ -_ - »---'--~ Fx 6011_11.,. s .1)0
.1 . - , cna sees ,- ,00
._- 1 m.. ,. ........ [`&EXPDRT posmaea 1 1.5.01)
co ma 011 GuANGm'?<s» 30,,,,0_0 z .UO
“;` MMMIM QU}\NO{PONG,' CU@L mn '. 100000'0\']
' ' 113 nic 1 5111/173902~:</2/‘122/0
. 1110 1100 excu».v.ez mm
- ~~‘~‘-~~-‘ - »~--»-~~--~~~-~w ~ mimms 0 11
ces+@z~ maassz_zs* _--
§10 00 . ' .0:1;:-'¢1
g \_ ' 0'-.'._'1=~'.¢{:»;1 vALuE 2_5/1)&¢2010
CCash
'.~ ‘ 0\0..~»|| *l
... ED°M NC N""“’°r '~11111' 1111VMMMWMSMH1 "7" “kwl:l
i-E:M Nr.m,om v x ' u$\'.;..“ 1 MW M glam 8'.:,{)1-4“.. § `->. t
.‘ nw 913 - . ‘HK.` 01 “,'B£-M M*M‘ 1011?1£ . 1~`
F.. f
§Egpllcq§gg`,§§gn'dwr'd ‘ 41»0.'1.54'10- '$;V‘
§
l

 

 

 

 

 

 

““' 713 P;'ik en 1 Ax,rmu

¢.w ~.,-n~_" `.».-»v- -.0 ¢,_.. ',

832

 

FNK 7782 1228

 

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 28 of 150

 

 

DATE:,?Z!OG/ZOI 0 '

MM. Lebanese szadian Bunk S.A.L.

"ST _ CHA RLES 1111111\11:1`1.
30111111 _ 1,1=;13111~1010

, REF. N;O.; 154/2009

oR'DER 'FOR'TRANSFER

BANK NAME z BANK 011 CIMA `, GUANGDONG BRANCH
NO. l 97 .DONG FENG ROAD WEST GUANGZHOU , P.R. CHINA
Swi&.code : BKCHCNBJ400

BBNEFlCIARY NAM:E: GI JANGDONG SILIQUE IN-TERNATIONAL
GROUP GARMEN'I` CO., LTD _
ACCOUNT NO #: _ 1193 0608 091Q01

1 A.DDRESS : NO.198 DONG FENG ROAD WEST GUANG;HOU ,

P.R.CHINA
AMOUNT 1 ; 1400,000$ (o»m _hunéred thousand 0011000 1
REASON z COST 011 DRESSES '

CHARGE WILL BE DEDUCTED FROM THE AMOUNT

`BEST gewile ». .

3060L

New Line Exchange
Trust Co 3 M

\ ISMA,IL YOUSSEF

 

Ras Be|rut, Caracas Streef UT) 100m to lamb house Tel: +961 1 244808/809. Fa);: +961 1 744810

833 FNK 7782 1229

 

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 29 of 150

Q\. @/W¢MM

UM_)»A$ .‘_).(~.Ui q;.\k§}\ ¢.:Lul!\ el`\._\l\ $_)\.\§ L__.\.`»L¢.

@wé¢,. ,w>,~¢ -` Newune Exchang@ :C)`W,;\ €_.,.§

»Tm¢_tf‘@ Q A'l
AC£T#: V{?SQUQ/ 1<..\.1\.»>.“¢§_)

~’13» -.~\>~» 591/w c><= J‘-\-i} =&.+~by=“
wave L.. 3\ $10.000 w J'*,\q;r,

wm ¢»»~)w.»»v cwa 190 J101 9))=.1~,1\ ¢.»I\s\¢ v». ~
(UL>,\!§.I_)..A¢) 1;\\\»}\ siz\..mjnn J\.'l_)\.\.a.an 100 ?§_)}a;\u)“(.j.a:\ut$l£\.i.\=s_, "'

¢}19.1_;\ am hud 59 muslu

h S`
C* \‘/\Q£ =¢.§JJ*'/:ijutm# / 7

/AH¢>UAJF" /0¢9/030
~ alan 1 v M_" :&_1%“ _.
d <$_M )U®O\ ,: MM m M_SH
(‘A\: ',~'L/Q\, ;é__,)w\ DATEI Zg'érzotv
/ (5"`\ :dl‘,,.\}\_,_,_m _Bu,$/ue¢x
' &€)"<':'”)) f \/¢--’-'-»' :J.,~Y\M\z£é§<f/¢M dam/as
" %.L,:O‘-/""*; ~ 57_‘9)'€/4 /MM(H:.\;L»AHM ~Bwé/e£/A/z?v.

1“, _ C¢/.é".o'r

5 aA/VG pcp/do SI`L/`@) ccc i’NTeKNN/QN@»\»W\ ;,=11_,»
6¢€@%/? <_>HW eng §§ A'T{:w

New Line Exchange
Trust Co. s,A,L,

   

334 FNK 7782 1230

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 30 of 150

BANK: BANK OF CH!NA GUANGDONG BRANCH
N0.197 ooNG _FENG ROAD wF,sT GUANquov, P.R.cHxNA

NAME'.' GUANGDONG SILIQUE lN'PERNATlONAL GROUP GARMENT CO.,I_,TD
N(J.IQS DONG FENG }IOA]J WES’I` GUANGZHOU, P.R_,CH!NA

ACCOUNT: 11930608091001

SWIFT: BKCHCNBJHOD

\ w 4 1001009

 

835 FNK 77821231

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 31 of 150

v

FRCH !LCB ‘Si CHRH.ES Branch FR.'< l»'U. 29136833? 127 `Tun. 23 2@1@ 12111?1"1 Pi

lummemmaW § ¢..$Mle.,,.l\iu+um:um

dp A

fe anoh: §.L.°l‘."~“..[.°.§;"_...¢ Tmnsh`\r I lsaulgq built Ap;_>licwnlon4 ~~"-.~~-~-~- lt)l`
er$éQHLQ*_/..`.,.-._- via-*~;__.M»’#°l/J»>‘v’~. ..,_…../ /...._.-.r;~.m
F' wise lam’u on our behalf the tallmqu :» _,,_,_4 f$bh h wm
,[:l auner oren v»,,. .-1.; [j
`[fl glqu lranéler by » umw v_¢,l¢ LL,- []
[] 8.»\“ UTélo`x [l»m

 
 

    

 
 
 

§§ ""5(‘3§',-""£.1~ ‘»¥PHICI’FNQLYYZE.J"£PY" ` ~

    
   
 
 

 

 

 

 

 
     
  

l'; . ") . '."" . ._ .- !~ ' '~ . .\'¥'-\.A 1
»¢,. ... .4...-.~.,_..-.. ~;_~_..,_..-.M“..._. 54 25/0$/2°10
m " '. ` ' 1RA. sam '. 465
"BANKGFQ.*HNA“"""""""“"“"'~“' vnl.ue uan = mms/2040
.QUANGUONQ.DRANCE ..................... ,~4_1:.}:v XEY g 0'05$7,4/10

Ov,l*.itc'limm. No. : 10006574.

N.,CLLS.l DQHQ. HILMG.L{QAD.MT.GLMH“. .
L:M.` .¢¢ ` . TRF. 'IYP€

 

 

   
 
   
 

. : §HZFI` mmls's-'€R
" . .n - - ~ rnr. curz. ; us no\_,g,¢m
"""`;‘-»>"’*lm`?m'§i'$"\<'»"'»"~'~ ."1 ' rRF. mn 5 <)v~)~zs,oo
:>nr, cm>_. 1 us mann
- am : .1,
~ . ,_ Equ. AM'.' : eeq'rs.nn
§ =¢5?3.'11{‘?$‘ §")flz§‘l»§ co)mxssma : ,Lo.oo

  

   

' -'" . . Fx coHH. : .00
` '- uo
~'GUKNGDONG"SH‘I mm N` GRO 0 -_ .LTJ) '
"_wm'mzrmh“§d wwwowmgg_r?m;, m l AR§§:§§§§) § 15:33
L' - c ' ' mm Am. : .\ouoou.no

..._.-». ,...._. n

 

   

 

 

:~" ~ - 9 mv z ` '1 03 ¢1/1; ; 217/173902»3/2/:»22/0
-'-M'°Z%" , ‘~“SM“‘$U§W new \,me' Exclmuse :Rus?

"“' ~' “~~"~*~ aenanxs : 2

.'(_ ` T_{,F.MSBS.,...,.......~._,_._._.,............._z_

..'..._.._...-... ..--.».. _.._._......_ ,,..-.._..........,.

 

     
 

 

 

 

 

1,¢»~1:1‘-1“~"" "1‘3
l»»1::3

:‘.,\J\_)L...`llul‘_,,ml;l

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

l. 4
noniman .. . ` .... 4
.Wl@m'§lmw.>; 1>»+1 w '

 

 

 

 

 

 

l As ask ATTAL_‘HBD

 

 

 

 

 

 

 

zma¥nor».m

.'-gr¢ '¢-' .
Mohmed Ham/I»un
....~....»..-.....,. ,- . `-».¢

. v . v\, ....... v - -," ...... ~»w¢unv¢.~ c¢\' ~--- l

W`_..
Momd Hblll'l¢¢ll

,M¢_,..n.,v-“~-, r .. ..~

836 FNK 7782 1232

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 32 of 150

 

, DATE: 29/06/211110'

_MM. Lebancse (I€madian Banl< S‘A.'L.

ST < CHARLES BRA.NCH.
BEIRUT - LBBAN()N

lmann NO.: 153/2009 `

 

0RDER 'FOR TRANSFER
w ' '
BANK NAME : HSBC HONG KONG
Swift code : HSBCIHGIHHKH
ADBRESS : 1 QUEEN'S ROAD CENTRAL , HONG

l{ONG

BENBFICI`ARY NAME ; AMIG<) coM:PANY
ACCQUNTNO‘# z 509-769133~333

AMOUNT 2 50,00§)$ (FIE"TY thousand dollars ) 4

REASON _ ; C`osT 0F DRESSES`»
cHARG.E wILL BE DEDUCTED F.ROM THE AMOUNT

. ;. /" . _ .
'BEST GARDS
' ISMAIL YOUSSEF

\aew L'me Exchange ,, _
qu'l CD. S'.A.L‘ -'

 

\ \

aaa sam camcas sweet up mom w lamb house reh +931 1 manassas Fax; +961 1 `744810

337 FNK 7782 1233

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 33 of 150

@e-.\;w~a~@z#s @.1=25 ocs Q:@@mmqe;cz P.3

l

il fly 5 'n _ , `5\”.
_ \/

ADDFIEESS OF HSBG HONGKONG FGR REMFT LiNE:

Account Name: AMIGO COMPAHI
Aocount No.: 503~769188-838
Bene?lciary Banl< Name: HSBC Ho‘gg gang

Benefic.§ary Banl< Address: 1 Qge§n‘-§ goad G}entral,HongEong
wm mau§uuuuu

 

j §¢¢>¢')¢=»

838 FNK 7782 1234

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 34 of 150

11}§~1.-2€?94 31:'£5 Dei 91131?3451 1`?4481@ F'.‘l

AMlGO COMPANY

HHF¥NG Rl. JINHAN'G CiTl’ FJ. CHINA
‘.+

iNV()lCE

MOHAMED DANHAN TO:SHY WA\' INTERNACEONAL FOR TRADE CO L`FD_

momss: Fcc) or Muu\am. sum/wsm 4 7 lNVOlCE NG.:$KW-GGHSIOZ
perARE sons Lccaa. a chA 110er DATE: 14

1070¢:/;12;;€.4'$ 9

AL AMOUNT
G.OOO
G.DGG
5.000
2- .
2`880
2.880

1200
7.200
1.200
1200

US$ 5.558
s.sus
9.600
a,eo'o

uss 9.600

us$ s '
s.sea
s.sss
s.ssa
s.see

 

839 FNK 7782 1235

 

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 35 of 150

<;~\ 1 /_~1/¢4.¢ _;Q_.g,d_§ '
w?~“ »d-f-»Ui will 3m 3111@11 1311

632 : § t New Line Exchange
c /'é'/L¢ff"»‘d'x Trusl'CO. 3.1:>..1.. _ d ;(:_)_\44‘\1{._&,‘]
Acm- '=#= f

 

“/_lf/VQOQ, 1114@=-1\ e§J

él$ hew %L¢ c.‘>=» J‘*&l ‘f:¢“:‘$““
1111q 1du 51 $10.000 w mix

(M ~‘,M.) moon wyo 190 ,101,».1;,».,11 dam ¢,.1¢ ._.u, -
(d\$.,\]£_.'l_)aa.¢) 1311.¢]1¢1@¢",4]1 _,L.iJL\A.aHlOO€jJJa‘l-m_,n‘»}uinul:u¥z) °‘

"l"'l.h.al' can

( g man C,. _,_ ;51_1.11/41‘/¢"'°7‘~ S°'°OO

/ 1
. <;f ./-?:/=_)PJ\¢,<;-\il~C-`A`~S//
Q\~ /'~\ / mg =é,Um -9¢1»1:'1 2‘}~4""’°
_ 1 ,/ . ‘ ‘_ _/) cf 1 Cs:‘\ ¢dlleJ:w.. »~Ga;/.~.)\-:-$;\
g ’Ll £’~*@ ~ ""f, 417 l > '.,»¢_..'.’..- :LBMJ\»:..\:H@'M/M$E 5//9;5
/Q/'/// 60 caM/VM=WW» - &~1¢»/~¢7.

SVOFQM [rH FO€T:¢.§L¢BY1L§;.“$_.LLA "Q£’»{§/UT

, L,€/$_/U£ twu _ w
,` _f\ .H ‘
q)]`_j })l/ %MD r_‘:¢é§j\ll

New l.ine Exchange
Trlrsl CO. S.A.l..

840 FNK 7782 1236

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 36 of 150

.¢\

FROM :LCB at cHRRLES e»anch

 

1 nch: SIFhad€?' -,

FR`A NO.

59136633? 127

3113§

muster / lswln Dra€t 33 floaiion
f.~)‘“ .d¢“" j~‘.‘°ll&¢#‘~‘ "»“‘

_s}pA“

 

 

W?J_'l@wj_
mae remit on our behalf the lollov/lng:
Banwrsfnen
_Outw:\ml 1133316? by
[] mm gram 1333
s1 c~‘~<¢:»'

,_-`.r,`-_r-».

 

 

    
 
  

-- .... ¢__., »~..,.. -~...`..,~__---~¢...,.»¢._.4...`*-...»-

83 :
nw

 

~ m_.‘ .,._. _~ _... ._._ .»._-_-____. ,.»._ .__._~_...,,_

A:Nll 30 COMPA

)H`W§R"H_§ ' n

.. >f.'_ .._,.;...........»~

 

 

 
 

 

 

 

 

 

F(EHRF` 113

 

 

 
     

      
    

)z/oa/A»ln
123. saul 1 751
anu€ oawa : 21/0¢,2@;0
REF. K§v ; cubans/10
occ. NO. : 10006302_
rHF. YYVE : ANLF1 1RAQSFER
'l‘RF. f.'UR. : ll$ DlI.l‘F\R _T 0
1RF. an! 1 199 s.o
PM¥. coe : us 001133,,¢’“
R € : 1
E%LY, 331 . aeors.oa/”“
cohnrsstoa : Lo.oo
FX.GOMH. .uu
csa Fess_ ._ca
PQ$VAGE$ 15100
SIAHPS .00
foraL exr, 50300
up A/c' = 217/115902 3/2/322/0

ll~.' 14 'l_. '.HL EXCHh&`-" :JE TRU’.`\"{

Ju.r'\. 29 2319 @1!56@¥1

132

__...-,,--

… »_/

c..§:n.i.£:lic.=..hiLi.gl-!|cfji;dl

..... ~H-adl

, . ée)u

1¢`»1@_»<!~'1[:} mm §

 

   
  
     
   
  
 

. 2

 

 

 

 

":U-. “‘1'

 

 

  

  

':*:;V \\R’» `I

 

 

 

 

.~ " ..‘F ,
x _&`;: §§
\ h _j

.'\?1¥1£\| 3 3

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

T'PBR ATTACHL‘.D

 

 

841

FNK 7782 1237

 

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 37 of 150

 

~. ' " ~ § v bring ;'011;).7/2010
MM. !..ebanese Canad§an Bank' S.A.L. 1 5
'S'_x` - cHARLES BI¢.{\N'CIL
BEIRU';‘ - LEBANON

REF,NO.: l 63/2009

ORDER FOR TRANSFER

v BANK NAME : B/\NK DP CHINA-HUIZHOU BRANCH '
ADDRESS ; N0.22, MAIDI ROAD HUIZHOU GUANGDONG CHINA.
SWIFTE NO‘ : BKCHCNBM']A '

BBNEFIClARY z HUIZHOU TEXT,ILES IMP. & EXP.CO., L']`D . ()F GUANGDONG

ADDRESS : 3/¥". FRONT BLOCK , NO.]3 HENGJIANG ROAD ( 3 Rp ) ,
HUIZ.HOU GUANGDONG , CIHNA

ACCOUNT No¢. 3012-1050.`3108.0911)-01

‘AMOUNT; 200,000 (Two hun'dréds thousand dollars)`

P. TE)<TIL`ES _

cHARGE mL BE DEDQCTED FR<`>M THE AMOUNT

éEs'r R'EGARDS .

»- f ‘ .
'-»‘d U ;_\L. »`ISMAIL Yo`UssEF

5` New Line Exchan`g`e_
fqust Co. S.A.L.

  

' t
¢

aaa adm caracas sm un mom v mm mae m +Qen 1 maas/aaa Fax; +961 1`744810

342 FNK 7782 1238

 

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 38 of 150

Bane‘ blame ': HUIZHOU TEXTILES !MP.& EXP.CC.,L`|D.QF GUANGDGNG

 

sam A¢d. : sua mont Bz_oc§<,uons HENGJ'IANG RoAuga“°>, Huzznou
Guérigdon'g_, China ’

reh ae~`?sz.:>.mezw

F_ax: 88'752~2106$'?2

Acc~ount nn : 8&12~1050»8108-0910»01

Bene. Bank: BANK OF CH}RA HUIZHOU BRANCH *‘
Berie. Bank Adda NO.,?E,MAID| R_OAD HU|ZHOH GUANGDONG CHENA ¢_

swim eKchN'amA
f 1

843

FNK 7782 1239

 

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 39 of 150

FRU\") JLCB St CHQR! ES Br`anch

 

FHX HO.

 

2913€-633? 127

lul. m 2616 62;16=51 Pa'

§ W=»i£\llc~gmmr¢uw

Srchar!os, ,
5 55155= -~-~~~~-»~ wanamnmzn exam umwa ~.»~~~---~-»=&55
>9[¥5?!.’,’%° ....... 5555555155555 .,....¢-;W,/.A_.h.@u

,’[az`zs& remit 'o`n gus behalf ma f¢n¢wmg ;
ij Bank__era Drafz
.[] putward transfe'rby

[] am C]To§¢e< Qman

 

 

 

 
 
  

    

     

 

 

  

 

 

  
  
  
 

      

 

 

 
 

  

 

   
 
  

 

   

§‘-;slxnpgwém's umw H¢&A¢gzdé§'q 55 v ‘~ .
mmca*mvms§?‘” “““““ ".
§BBRLB‘I‘RAS BEZRU‘F‘KM -"“~ .
11‘.a!.u.¢'e\mv.’.nmmi.‘m.mmhzv.l-\' wm looms .
v \`H'L~l£i; " \S".n`$u'¢;?\- .v;]\§)v N"’f£§:i§ .
"“" ~" mm seal ; 1353
B"NKQFCIKNA// vm-u£ sums z cum/2010
IIUIZ.HOUBE}ANC v _ ~ F:EFJ w ; uo¢s>zo/w
mf® mw 00::. NO. ;- mm)ef);zo.
'SW]FTTB ‘““'*”'“"‘““"”" TRF. wpa : wm 'rz>.m:e,=r-.r'.
5 ' ma cum : us IJOLL¢..<z
"!m)&?§s`&f&.£f',pl'$;$ "`~'?‘ §. IRF, mn . i<)l)z?. .00
QQLU_QMQ&QN.Q PHT* cua. : 53 nl:)l.i.a`R ,
"` ““"“" "“ ""° mm '. /
§ equv. mn -. ,19997 .00
E:J_: `;’,1,»’;1:.’;"51’ coes)~nssrow ; 1.0.<1¢
. Fx cows. . _uu
._mrzz;»cou;m)crms.n\a’ » L-, a onGJ_ANQ 6555 ~ 00
Mmmmmmxummmenmcnom(mn; wmauwobo§m”p$$ ‘ ;§3/
~`.~" r_c_)mL 'AHT moon l ying/f /
~' .1,.. an mfc - zi?/n -a 2 572 n
A?%WMT'W"~W l"i€‘"""§? 3557‘ " uaw m~c mmer musr

 

 

 
 
 
 

 

 

 

 

 

 

."-‘5'51953.)55=~(.\5 ._r+,u

v\_,M dye g

 

 

 

REHARKS t "

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1 “ .

lmmr_ ‘;r `_:{vM

L‘”{:)

P;JYL‘“’°“¢J" J¢iu{:§

" ' t n - "' ' " ' caumerva!ue _ ,' ¢U“§{_mpa'- .i,a¥-j.`: ',_

§ .. - MMMW nw Wu.l 555

WFYWBMM was S.'.\z. ¢5;55%,»*51+5.511=§¢%55\_56€'?? w w_

§ l d ' \,5';\“
_As mm A'r'r,\crrmz ~.., _.r ~ v

 

 

 

 

 

 

OT€CIL` IP\}O|

F\`[FJ!:$:~J I'XQFRM

844

fl;;;!m')tad Hd§'EOU

a=‘N-H'\y'-l-»N\ »m¢¢zwu.»_': b»i}i us\m»~nu-w

FNK 7782 1240

 

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 40 of 150

§;,§§Mz ..¢.§,U: §§¢.:.<.su §§n.;,m we am §.,_AL¢.

g,g,@£,§w?¢fM/W New Ltne Ewhenge
g Trus!Co.S§A,L :C_).AAH ¢.M§

A¢Cz»~# ; ',;;{gqm § :§.,..§z.»»;s@§.§_>

~£»3 1.-1=»» L,»L¢ €)= J¥*"=.* ‘E:J“'='J““
L,.L\\.~.§. L.. §§ $10.000 ‘\~’w§ })\.>33 .

.(M -*M) 1§..»~=“ m»~_w 190 1101,@@~,» w utu gm -

“$ *,\.MS‘ ah

\./ \-\ \< M?§jv§§c;x,q§lz /é 3
(_$*.M) Q:_/ trw Mw wm

W ' ks ~J~'E'/ '.)P.§;;.Gl -(M‘~">"]‘
Q\ §-‘\//\:g_q,ms~mv€;~;zzom
‘ -. z §/ (§)\ =L§\J»YEJ;..A, ~ @c)s/uE-S§
W`)\ ”~° ~°[ il § '£,, JJAY§ §§ § F?/¢¢)\Msg cz,a'r,yg“§

H\MZH¢(L F@_)(T/Z€§ {M/? 31 C)FF (¢,Z,[D '~\11’1-»\5\ leg - B€HE;M¢/:¢-,V.

Wdz»b_.v

New Line Exchange ¢Ji_:!l
Trust Co -.S A L

345 § FNK 7782 1241

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 41 of 150

 

SATE§ 12/0?/§010 ‘

MM. Lebanesc Canadizm Bank S.A.L'. l
ST ~ CHARLES BRANCH.
BBIR UT ~ LEB ANON

REF. NO.: 1?2!20!}9 ' .,

' ORDER FOR TR&NSFER

BANK. NAME ; THE leroch K`GNG AND SHANGAI BANKING
cORPOR/\TION LIMI I*ED`
SWIFI ‘ : HSBCHKHHHKH

BRANCH : 491 OCEANCENTRE KOWLOW H()NG KONG

BENBFICIARY z §wa GLOBALINTI~:RNACIONAL LlMI'rED

ACCOUN‘I` NO. : 491~72§263838

ADDRESS :FKT 2201 ZZ/F PARK~IN COMI\AERCIAL CTR 56
DUNDAS ST MONG_KOK KLN HONG KONG '
AMOUNT : 100, 000 USD ( oNE H_uNDRED 'J.‘Housand DoLLARS )
REASON : GARMEN l"S.

CHARGE WfLL BE, DEDUCTED FROM THE AMOUNT

BEST REGAR_DS

c\) L<_,} b ISMAIL YOUSSEF

New Ltne E)<c,h?m§e -
Trust Co. S.A.L.

 

t

l.
Dnm D¢\.!_» h..“~~`m.-.`..Alh. dm_s.\__.»_ »_....._,. 'v'..l. »M.¢ ¢ -nn\n.an~\ ¢-. . ».»`.. . _. ._.-

846 FNK 7782 1242

 

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 42 of 150

033 ):;_1 .§_5,§.§;, wasn §_gzu+us alien 531 1111

@E-D§Q 741ng _- Newline Exchange
T;usiCo,, S.A.L, :C §§ §

/AQM?$: `/3:33%5)9 _:¢.,,_:LM=JE§,§J

é¥i “v#=w %L=r> CF= 3553 if;j“;"i‘°n
legal 14 J1$1¢:).000 w 331-133

("}‘_A:L\k.l~):..a.\) 2.§1_)»~¢3\\'-7‘.“»",41 190 _,101'¢3_)£9~¢`§“§>=\4§!]3§_,1: ¢.L\_) _
wm QM) wmwa ,,@.»m) 100 §§31%»¢.»-:»“ wh w 3 -

‘ $,’ ‘ mud f QL.M
. 1 Q<\ \<
`/ (_i___-Un.h] `:`/ M__ éh:§§¢\:i¢v~r /00/@@

C;§_\~ /'\//;§ :@Jm! » 12 ,';.'zol¢>
J" L$M L“y`¥\pm- Bu$noe.ss

` \
<(:)'0_(\‘£`$'® °" <.'F---'/J| 5 h / c.-By¥|JL.-¢.;§_'§_J“£_/ASF uoT/{FS
Sv-'N‘!~/ GLCNSH£ lNTBHN£EC§M§E§%§_Z€F&/g/AM
l TGR… HPO"{' "~»;"L‘*é\/!¢BQ\v-;)-\Lm - lpg/aff

LQ/`Q/§)~£ L.O-J' -e-)"

Q)UQL %30%7£§§’"

New Line Exchange
Trus¢ Co. S.A.L.

847 FNK 7782 1243

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 43 of 150

\

 

B‘Z!'\J`UN-E:°@@¢§ E.’EilB De: 952@961174481@ P,

§nstrur:¢ién de Pago a Tercerc

111wa FM@M

Yu, QU@Q_MQ{M pomd\)r (a) du m Cédu£a de idcntidud N° M»ZQ§BZ§QQ` acumndn
un mi propi<> nomhreo Rep:escmacis‘m legal de ,lnsxmyc)cxmemmen€e 1109 VAL.ORBS

CASA §)F. BOISA, acmitir am paguz) tmnsf'ercncia dc fondcrs szgdn el siguicmc deia$le (l) (2):
Canridad {US$); “100.®;!! ~
A favor de memo del sgnvsusan'n mann MALMBBNACLOMLMME£EL_' '

Dimck$n Fis¢ul Cumpf¢>ta Y 'l`elé¥`<mns dol Heneflclnxiu:

gm 231 §§ m gég`};.;`g gg` Mmg'gggggl. c;lg §§ glgg`g;g§ §lf` ` `MQNQ mg 51 11 §QEQ KQNG

111155§11 111 mgm MM£HURA

Reprexentante Legol del Bencfic§arin en ca10 de ser Perxcna duric£lca)

 

 

m§_§ BAECAB!_Q§:

Bancn Intermediazio (En esso de exisli¢)
ABAJSW!FI‘ Bco. lmemmdimio (&‘n case cfc cxixlir),___* l
Dirvccién §rm;l'x'nc_db;n'o;_4 _ .
Nombre men del semmwmlummj§,w~…mm
umnm. ~ _ .
ABA/SWIFP/ Cuenla del Bco, Bencfic¥an'o: __ H§B_QH§BHB§_¥_

Diwwi¢‘m del Banw B¢nén¢lmibL~_-HM§§_&QLJ§§MMM“HQHQ

zone
N° Ctn. Dc| Benef'eciario Fina|: _MM§

 

 

 

A‘i mimv: dwier ban fe de formula que el drum du ma lmmaidn lime us dwino abm!uunw¢\'o lcha qua garden cvrroborudo
vw 1409 VALHHF~'\` l.`J\SA DE DOISA. panama no ama manion n)pxna. emma o infiwcum;nzc. con dinew, animus hi¢w~.
hat>¢ms. mun-so ule que se mmid¢r¢n produc(¢ da cas zucvidnd¢.w among Udlx.s.

(Firma autégrafn del clicnlc)

(t) nmi_er\d¢- qua lo umi~idn dc culiq\lle_r fo{¢>_dn'.iddn n fu`]vi£!¢o aqur emma poer mmr k negativa pax pam du non vA!,ORBS

l CASA mt no_l.$.\. gpm_m m'!z<n~kfo'i§gl!dudaz, 4 ,. v

(?) Bnt!¢ndo gue, gx u.$ amos m y w ag¢_hdm fedch dakgs npdes Uok¥¢z'd_a No§iup\_l:i¢;\, dsi mud el “fl‘n.rv'\:_l Rulc`
(Ji_C¥R !0'.\_.13)_4¢ two, >;' ct wm Rul¢"(sl Cf»k 1033 (») y(r)‘ enlpnim qu¢»=e acted pr~>\>cr_a¢sw todd n nromucrén cohn
los bc'_n'¢(iduids Rn;k_a 4<_1_115' lm_\s¢¢oiou¢s; Om.ulr n mgt B(;ha lntom¢idn nude umw mean mm aviles y
aiminul¢s, §uje's,u a` ¢xl¢ksexmm\‘»udxl perm kyu mgx_\akpm

mh____
Aumri‘z.'idl) /31':<1 de Dis!ribuc;ién (AD)

 

\’crineado pm Segurldud dc Dalos (SD';

 

__--»---_____.

Fechn de AD Fuchu dc SD

848

FNK 7782 1244

 

 

3

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 44 of 150

SUNNY GLGBAL INTBRNATIONAL LIMITED

m 2201),. mm crwr¢.z;.l mem 55 mm sr..vmux<»; xo¢wo,v..um;a mm
TEL: 852~908$50‘£1

' FAXI 852-25473035
Clien€&{ §§O§'U\MEU mNHAN F¢cha: 26/8/‘2010

 

form de erwin AL Wd'(}l€ Factu'm 110. 111 1118

mmcmx: AV. cu§l mass mm 13~2 wwm ma ames wmazc~szm

Emba:que: XIM§AH CHWI\ L`antr.\{o No. § 55129321}1$

Beatinac£dn'. l’Ulil{`l`() l.A GI[M'RA ‘:'ENEZUELA

 

 

 

 

 

 

 

 

 

 

 

 

 

 

N p). du to :! Q!;E §§ kon Vl
m .o ¢ (_ ms g `i !£!]Et'-n.}° 3 m.
lisa USD
CTN mser r.‘A’mLINA ul<AHD
nowunx TOFFEB BRANB
liuLsTARH PENBLuPF. BRANr)
3m ms 100 LAD|ES POLY`ESTER I‘£.F,F,£'F. 200 1302 145,00 291000,00
!Aci<r-:TW!THBELT
mm max
209-1142 _260 _, LADIBS 3001 wle citech 500 mg 102.00 sl.gm,uo
PR¥NIED P.&onEl) JAG<EI‘ wm mo
mmi men
109-nm 150 mines mar NYLc)xvasr mm 300 poz m,oo gmle
PP FILLIKG
1005
509 ms u'sslo¢). zoo, 00
a'd erswur~ae<aa=u =Qo Br=aa baez-mr~e@

849 FNK 7782 1245

 

Case 1:17-cv-
02780-T.]K Document 22-9 Filed 02/28/19 Page 45 of 150

FRUN ‘ ’ ~______w_______]

.LLB 31 CHQPLE§ E,
\ winch
.,. . ,. k- .. H*K ND‘ 59136633? 12? lJ`ul 12 215
l - 19 81 ;4“
` y ¢F\M Pl

   

w v ,
. ._ §§
§ ’ y
‘“’““ S»W~lmi°’ --¢~ mus!e:!tea‘ulng Drai §§Qi%¢silcn ~ ~~~-- ~-~ ¢t)i
m mm,._;.~._..»` ' M.___. P‘“”‘ / A.~-..@!)v

)J-‘Ir';’)~$"€)*¢¢€z~,)x

wasn semi‘< on our hamm the mowan :
l B: nkese Dratt

]X C>u\wa'r<i transfer by
jif:] we QWAX firm

§§ '.01<1»11`4‘{’§*“3‘\1’£1 \§$2`}33'~?\ 1
YLB§.I§.§XCHM.SI CY¢§A! - _ .._-_
im LUr-RAS BE£RUT _
s'r:; ‘r.memmmzousn;'rzvf€'°mmos;- u.; means .

      
  
 
     
   
  
  
  

   

 

   

£BHONGKONGANDS!MGRA§B ma am §:;07!2010
`{)RPDRATION 'MLO£EMCB vnl.ue came , 12, '01;2016

Q\(LQWBOHG KQNQJSW}U.¢HSB. rh‘-'" _

   
 
  
  
 
  

DOC. P%O. ‘ 10|)07515.

REF. K€Y s 00‘315/10
TRF TvPE :3th1 TRANSF&R

 

 

 

TRF CU'R. . 118 DI}LLF\R

TRF, AHT : 9?9?$.00
Pm. CUR. 3 05 DOLLAR
RME .’ l
EQUV. kin 1 99975.00 /
COHH}SSION : 10.00
F)( CONH. 3 .00
CBJ FEES 2 ,OD
POSTRGES ; 15.00 '
STHHPS 5 00
`IOYAL MI. : 100000

0'.00

/ 217/113902 8/2/52210
uaw Lm€ mcnamara musr

R€m\nxs z

 

 

 

 

 

 

 

 

 

 

 

 

 

 

850

FNK 7782 1246

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 46 of 150

 

fjATE;‘ 13/07/2010

MM. Lebzmese canadian am S.A.L. '
sT » CHARLES BRANCH,
_ BBIRUT ~ I,EBANON

REF.. NO,.€ i73!‘2309 y ,

` ORI)ERFOR TR.ANSFER
BANK NAME ; BLOOM BANK sYRLA - SWAYDA BRANCH
"/ BANK TEL 2909513 §6227330 .

BENElilcl`ARY 1 HHAD xxion ASSALI
ACCOUNT NQ. 2 12005161380 ‘

AMOUNT : 70,000 USD ( slame mnousand noLLszs y

CHARGE WILL BE DEDUCTED_FROM THE AMOUNT

"" ' _ ` BEST REGARDS .

V" t ' ' lsMAH, YOUS`SEF

 

New Line ExcHarige:
Trus\ Co. S.A.L.

g

ban trauma I\.-"~_¢~-_ much uv\...s._¢..`.._g 1__....._1-_1. .M¢ ¢ 11 uv`¢,.m -~- . ...-w . »~-

~»..»

851 FNK 7782 1247

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 47 of 150

1

:’/W->_,L‘ {;_“ Lr(,l -{:"-‘__//)t él:u:*\

 

B/M\JSE&\ z ;lj.§:!.i.fn!lc......nilj.§~|.ll L_U_LH

 

wm .S:~%f§zi§§

 

Tmnater! Issu§ng Drat! Appilcai|on “~~~'-~»~~' :C-*“'*
Dé?z{G?LZQADm¢/.W . ' viré* MJM,l/~P.:d 911 _,H_ju __/ gap
Please remit on our beharf the iowow`ing : ' ' l . .Jl‘=i @S.)-f» ;»~ w,~.»
[] Bankers oraiz ` ~ ‘ U~.M`i_¢ g
[:} Outward ifansfer by ` umw fda JL»; [:}

gm S\mf DT€.\!GJ€ Uh$ail . , w(:§.rmm ¢,LJ,_»; I:}

       

 

 

 

 

 

 

 

v - Y/ _" 4 ome z
. mm sam :
‘”WAWA BRAN """_*‘~“"_'~* vm.us ome = 1'5/0',_'./2010
MQ®&E!$ZZ? - -~~~-~-~-'~~~-»-- Rr-:F. KEY z oman/10
.~..._._ .,___…~_m ._,m…m_ noc. NO. : 10007371.
1~” TRF. TVPE. : s\¢!i=¥ TRAHSFER
' YRF. cun. : u_a no_LLnR 5
IRF. am : 39935./00/
Pm. cmz. z us cowan ~
aan z 1
EQov-. nm ; 69985. 4
commisson : .oo.
FX COHH. : .00
can FEEs ; .00
Posra@as z 10.0:)
srqnps ; .oo
¥018\. AHT. : 70000.
on A/c z 217/115902-8/2/522/0
NE» LINE Excnauez rausr
REMARKS : 2

 

 

©©PY

 

 

 

5112010

 

 

   

ECash t . m.~ ¢___j
t:J Debn A/c_ Number v 7 ;,J, emi ga 331 [:]

 

 

  
 

 

AS Pniz A'rrAcrmD

 

 

 

LCB»&R-FZ O~EdO`I

 

852 FNK 7782 1248

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 48 of 150

Lz:nmasawmmuem§ § W'Mas%mmnlc¢wz

 

Br,= mh: §!;°"M,._»- \ handed umwa mm Bpp;;m;on .....,-.._.,.',_.w..». =;,¢-h

DL HQ?LLO£B....J.._.__ _. £__°;‘L-“" J'*“\/ 415‘3 v“’ .__ j.._“.../..--'._ CQ~IL"

Pt~; ass remit on ou: behan me fol?owlng : ` ,1,¢1,;;,..~,, L»,. JM

[] Bankera Draft ' ui»»~ ~1.»‘~ 13

ll gutward iransfer by u-‘y. vw\-'» dwi {:]
n mh [:]mm F_'}N<m wf§¢wl] cwa [:}

 

 

.\w;fm% ~F .';~:'~.1.<~,:~;1; :.*-€m`f>i§ox“§¢;l;@ ‘:-1;»“‘" z
Us)> ' was

 

 

 

. HG#`H){ qt)&lm_).waa wAMzmiMm
r¢:\smwmmm§_:.,_..,_.' -_ , ~

 

   

 

 

 

M_MW“W~____M lmra . 13_/0;‘ 9610
:' "_BLOMHANK 4 ma sam 1412 f
SWW*‘B'W"“"““”""'“'" venue ama z 13;07/2010
TLM~M&&SMZ ~-»~»~~--~.~--#-~ J<EF. x<§v ; vu';s'u;m
l_:.~ _ _..-. - _ noc, no. : ;uuunn.
» ,. ` '¥RF. TYPE. : $:w[Fr mohst

 

TRF. CUK. 1 1|3 D\ALGR
TRF~`. F§|'H' : 6’1“)65
PN'. CUR` . US 0€)1. LARl ~{.'/qgr/`

 

 

 

 

 

 

 

 

 

RATE :

' .,» EQUV. m'I`f z owns
1;-"" “’~*$35§3*555%‘55 comsslon ; lino

' ’ Fx cohen : .m)

mm ABQL“£`-SSM~-~~»~~- csa eees' = -00
""'"-‘~ ""~"+~‘~'~‘~~"~'- ~-------~- posmm-:s : lo,m_)
___» . _ simms z .~00
'" ' ' romL mm : memo '
”":' '~"1~“1?~"- ' " '/,#\ DR A/C : :!1?/175902~2\/:>_/522,/0
- ' "‘ /' " "`*DB"““‘§.J*‘*W' 91 `~J‘~ new L.ms Excum~le€ must
- ..__-..6..-..__.-_.»»__`..~--»-~--»-- r\-EMRKS ~ 's

1;.. ‘“ @©YFW

6 nd6nN
§W’s.§'lm li=. m

 

 

 

 

 

    

 

 

 

VALJ'E 151 7/2010

 

 

[ .'-'\M.\HU
lm{::]
L :,1, ..Jh»»v.rv»wg:;l

x
: ` ; him m maian mm c gm Counxervalua com U<fwdw» St'ampoj. ,
t mmy. '&1*:1,; ' ¢_m,,.,. '\‘,1_`,1.`.3 y mL...nz,.,ué own J*_E'm.¢.y.l ut,h mm bhd

[:i Debu A/G Numbor ,
71 721 Ti\Xl? )}\) I]{l

 

 

_.
` h

 

 

 

 

 

 

 

n in
+‘(

 

L¥:H‘iu ?9'0"3

_;\pi)llcani’s Slgnaiuxe W¢-.-*§ `S.V -' 1413th juthb¢!zed a\gnqwms " Mgm

§ t h ` ;/\,» ~-"“-"“ ,»> C=__K\.
Asz_>)":R A'm\czx~mn. '-

 

 

 

 

_4“-»'.

 

 

 

 

 

»-'»

._..\.` ,»...~.,... -_.¢..... . ... . ..__._., . ¢- __._. . ~r_¢-.. ».

853 FNK 7782 1249

 

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 49 of 150

_»

Q\\ ~ /_\! /W’ .\_zzz,&;.

,.

WM§ ,J.{..Q: g§.,11.<;.:\ ¢é.m; 61¢; 33st @1_¢§

 

 

my . New Line Exchange
0 ab gang ' TmstCo.S.A,L ;CJ,.Q,Q]E wi
’A'U"T#`" “HB%§ whalng
\/ am mm w 69 _>Mz :@¢~=,.»1»

@\,_3 6 ,s $10.000 w max

(@L;,\ Q).a.,) usjax\ ¢Wy: 190 ,101,.§,)»£»,1\,§..1:»61;¢@ -
(u\.x:\}L_'l_}¢¢uz) QMTQLN}I)QJWIUG¢§J@)DM\LAGUL&J _'

ms 9% eha .,$.w=i m mmh.=

_\_/ C/\~O\/\\)‘» :C_.`JA‘£»WWH?;::OQ
(;SL_.M) b \),/ :.M AH»M, ,
- :,5¢3\¢,~.;', ~ O»s/f

- .'7,0\¢>
Q";\ "/w /\\j ié§_)\.'dl mW-' )2 q
, “lé)® L£> S"’ C\\\ §d!_y=`i\)m éV.S/,U£.$§
h ‘ . n ' » ' P¢n.$pu¢'r¢
<)`e§"°_"u :L_H_HY{ L§Lu.h.i§ 4.¢_?__} ...
\'S`\ / ~ (~'->-L_": ““*'}\ _) %\.P :w%.‘${%g? J)Mp Ae-DASA¢'»
' ' w .- ~'r.
B'lO€M \Md:)o \?\ :¢,;4\,.=»\}\ 45;1\ `:_\_`_Lé é: Ca_/é

 

New Line Exchange
Trusf CO. S.A.L.

854 FNK 7782 1250

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 50 of 150

 

ISATE; &9/0712()10# v `

MM\ Lei>anesc Canadian Bazlk'S.A.L.` `
ST ~ CHARLES BRANCH.
v BEIRUT ~ LBBANON

REF, N¢:)..»x 175/2009 ' ,

‘ `ORDERFORTRAN'SFER

B:A;NK NAME 2 AGRICULTURAL BANK OF CHlNA ,FUIIAN BRANCH
SWIFT CODE : ABOCCNBJUO

BENEF;‘CIARY z JLAHUA DRESS co.LTD. mJLAN
Accoum' No. z 1353 0114 0400 03277

ADRESS l : HOSP'ITAL BEPHND. SHENHU.JINHANG CI’I'Y FUJIAN
AMOUNT .:-2'16.000 USD ( mo mayes stTEBN THOUSAND
‘ooLLARs ) . '

REASON ‘ :CLOTI{ES

CHARGE WILL BE DEDUC'I.'ED FROM 'IHE AMOUNT

BEST R.EGARDS

CUL{>) L lsMAu YOUSSEF

New Line Exchan ge
Tr»lstCo s A L

 

t

.
D- DAJ»-»¥ l\~M»..`_Qa».-...sll_ ina..,n.. ¢_.....»_ ¢......`_-r_t. .ru:¢ .. -1¢.¢\1\»»~»»~ v-_ . nn. . -.

ln»¢

855 FNK 7782 1251

 

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 51 of 150

W):.~.Ai ,<j.§.vz L§_u.<A% @U+!E\ elam 3_}1,>§ ¢._J.zk.;.

\

 

E?»@.c)éfl /?za»/f NewLmeExchange ‘CJ““““ ¢`“ *1
., Tru$! GO» 3-`*‘*'1~
Ac:£?" ?‘$‘£~’ " /?"3 §§ ny :L""iwi ?S`j

 

1&1\\,._,\.,,1$10.0004:“£§_;,1%32

(€)“#‘»3)#}1§1»11@\.~3.!190§'101g,zq,,_,s§.,;guk.,,w _
1¢“#¢¢~)1»&~“¢#~§»§,~4)@100@»§@»111$1¢%5 ,

f am was z m

C.,“D\ /\V@ :C.,,.s\;.s?;£U/FWL’/W
m§__w\) g\.\ h _ :W‘A/z¢um .' <,z,/A,m
» @ W ,,….\ M/
QJ\” "/V /Qo` :é)__)m W)éli~}»um
., 4 [_/ |"`5'\ :dl,~'~liy- -.3”5’”‘§5$
0410_)\ ,__ " q .;\ )1‘4*2'/ ‘:Jym M\;*H¢Z¢_¢//qs£ C'.Lo??/FS

EI`\AH 1411 -Mef§ mh 47b :M§sm/W w -eww~w/
<`§"'FE)£M ?M‘QGQ :¢;,>L.¢"AY\ <3>.31 .~.,_n..\,.¢ - 6/_},§4)’[`

l `ZJ :…=¢...\;1
..... f\ '.
O.)M/q) \,~ 520 ,NA% 2¢.;.$_,'111

New Llna §x;hange
Tru&t GO. S.A.L.

856 FNK 7782 1252

 

 

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 52 of 150

 

 

\ mi OM m §§ m JG‘~YAOU.. @,dQ/@.XD.W 0 _…/.

  

10¢!

5 mmi

 

§§ £….

5111. 23 2313 11291¥¥'1 F’4

_.§
§§
.. . . . §§.Aaoctgma§u:mo&>vu§m&

\ l §

;@?¢_5_@1:@

.`..~H§».E&@m¢ ...2 o.<b§

§§ § QB.§, §§ §§ §§ -
§§ .B .,Qoh@§o. §_.§!§ §~aw._§am

FQX E\O.

§§ §_Sm §§ 6 § _m §§ n §§

1 l|

FR¥`H 2 91 JNAHFC~X`€

 

ao c

. \§QJQB§Q@
F¢~.:/ .…3§/ ., §§ ,,.ijm- .
_ §§ijde .,3§§§& &.I.Wm@
W . . :P.»ow,%m />QA.,.C 5€6§ .

.W\)/f/./@ §§QE §…2;§ z.....< 13

w

. §@J/Q M

§§¢nm>nd§ f%!>» §%\_E

 

\ di
Q\/»U. n
\ 1
n
s.

l\\¢\|!!.ll\|l.V

l'\r\ \¢:_\:’1411'1`~(`."|744 l ~\l

‘!J.» 1

FNK 7782 1253

857

FRC\" ;QL.JR‘.&~H?Q FD>( NU. 29?4535_1@ . Jul. 29 2616 11161£¥¢

9

.»

mmr :- ' . ‘ F;c=< m : 29 .Iu:. .2;~111 irc 4

me : 14./'04/20)0
INVOICE NO § MI~H}M[}?S*

u§mw, \:,\. ’ * Shlpoing}¢{srts ` mix

 

 

 

C`\ur(-w-)¢
uaw -R.¥.F.-»r-mw! am 1 ma 1‘. mm
m cummins usa wausau wm L/~z mm
?D.‘IA WA!STNAL€.?A‘¢Y“ Hm `
nw PMTAL 1003 \>UBRUJ umw .s n ,
'Tf',*. .cmMi-€~QI 3039
Wv - mm m ?,\mm
‘\="“=r¥ ’ 11.\1 MFH'\?H' winch umwa tim-view am xm\m\L_ FHN)\ w CURACAO
,... ________ _.-, ,. .*......_.... ..... .. . .
§ ‘.Npp“m Hu%s Au .\m\bn lmripmm ¥_n<i S‘m,, .A',‘.j.y}¢;.~
me mims wwi')' ` . . .. .
' """'_` " ' v \.'c\:z;_\».~sv.=
' mm wine m zwns '»1 ca4 fw
z,m»: Doz, ..._'~..__.....,...
ama loom munson tsacmsmr:r».\u SHOM
‘ summa 'P~RII§MS. ma am mbm un:.\w. rA'lv.u on
mem 51 lawn
f
¥~‘.ODEL AS d U.`OH
w )\ m W.i.l OW
r mo mN.S‘ 100% POLYBSTER iMMS Fom MLL SIK\R 7 '~‘ ' "'“~‘ t
I.MD ll\l 31 J&KVES T-B| UX'{$. 1913 0,\| ¥“I\Ct\"! CH!'ST, PM\'.`.H UN
mum' £LGBVES.
MOD£L AS l RH¢$
¢.Uu;x< z wm o.
P 1238 Mm$‘ lb£»‘,~& HN,S'ESTL`R iSUiMS ¥OU| DALI. 3110ch 4. wl \1» ','
650 DC\Z SLE'I'U,S T~SH|R 131 F-’W 0\4 lf?l>rl l` CTT['$T` !'A'|Y'$KIZ*'
mmrm.nxwm.
\¢¢)1)1:1. As l m
Cou_'a ~ o.'r m m
P.iz.;(t MBH.§' llmk}'Ol.YBSIBR l.*|).’ih($ FOO'TE»\H..SHOR]’ 33 \’¢" lh' “‘
m boz' smsz w.~nmm mo we ¢uowrcm sr. PATQI ou
l-LI€J!II‘ SLERV“S-
rm we x uaw
v.sw smo'x no wm ).‘-'1-'~‘= -f
123 001 ....,.,..h-~~_ -.- ~ '

MI'\N.‘.~ mm rayman whom !-'00 rwm. 51 wm
Com|nl\<d - ..

858

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 53 of 150

PZ$'

FNK 7782 1254

 

CaS€ 1217-CV-02780-T.]K

Document 22-9 Filed 02/28/19 Page 54 of 150

 

 

kan

/`R
\_/

Jui. zgzam ln:eo`m 92

 

 

mm :mmmq mr m :émsaxm
/”
. m
l l 4
-Mv,l‘.m/z¢w j
m INYGICE .'
§;§,;W m~;---». ME?§?Q
~r)='u;§¢.'§`»w. _

..-_`..'~"»-¢'.-`,,.v M_,"_% v >°’W-_
` '¢?¢~RE;<;¢. .

w
‘v'h Y"S¥¢K¥i'.£imce¢ ram rcveiv, umw

imm<m
t arman
l m¢d:§>mim¥
ma
mont ,L:i~yaoouro;__.mm¢mw macome
2x1 `
umwa-§§ amwam mm .mc)w 'M"W ` ‘
` m).sum._' \ 2
m CM:M>YM ,
maximum mm
moon lam mm
v new -~
ambemiwnmsn.nmm mmi `
mu¢wm l
d
n W|.OK:H.MM
»!q%mwhmqwmmw}¢whdiw.
. "'-N' \ t
Anoa)_cw.amacs- x " 1
rw¢uca>nwu mmi 'l
nddoimmmomum.¥}m " l l
M`>dllm. W~.v' 1
mm~smxmnmrmn `
l
womm nw j v .
mcmomoov,\mhrmrs
lx¢aaqcm\; mmth
mmam\zc\w mm

859 FNK 7782 1255

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 55 of 150

 

 

§§::.E.£'all c._.x\'iLi.gJ,.ll gill ;ll

p

B'a"d"`gtm--~" '\yanafor/ Hasuing Dra\‘t Appl¥csilob/ """~"~-~~-~ 1£ )*"

Date: ,T__L~../~"-u..; "-_'Y‘-‘“_.. md‘“°~""“_ “..._f/“W"‘. .__"‘n‘_,., - »»»»» ¢L~-.L__»_. z§ )b

P?&QZU§?@Q our trahan me mcwan : . ~' jur ¢s,»» w g am 4
E Brmkera wait L,R»~ A¢» []

ij outward transfest umw `,<~Ju J¢,~s 13

MBH

x ij swm f]num

tomme 53

 

MmummAnWBM
lt»nuwHHANcH / ,, l _

"é¥»;'rx§'r. ABCOCNBmo f

 

 

 

  
  
 
  
 

 

 

 

 

 

 

 

 

 

 

naTE
rua. seal
vazui nn1z
REF. xzv
noc, No.
rRF. TYPE
YRF . CUR.
IRF. AMT
PHr. cun.
RHTE

zqu, AHr
connrssxon
Fx coun.
caJ Fe§s
Posrnszs
srnups
rornL anr.
oR n/c

RENRRKS

  

" di ii n iv n “ x\» ll n n ¢. n ,. w

n n "

NE\| LIRE EXGHANOE `!RUST//

'¢

 

z?/s?fz@io
345
29/07/2010
ooaoz$/SO
icooaozs.
suxFr TRANSFER
us aoLLaR
'215975.00
us ooLLAR
1
215975.00
10.00
.ou
too
zs.oo
.oo

zleooo.uo ;V*'

211/173902-9/2/522/0

/

 

 

 

 

 

 

 

ed wum:m mesa az

'l"ll`

LZX LSE‘B'ZI£T@:

860

'ON XU.-I

 

 

`+="-'9#8 silwdHo 15 aim ;mz,g

FNK 7782 1256

 

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 56 of 150

 

MM Lebanm canadian Bazzi< s.A.L:
sT ~ cHARLBS BRANCH.
~ BEIRU'F - LEBANON

RE'F. No.:.175/2009

n 4

mm 29/0?/2£)10 »

1

 

, ORI)ER F<')R TRANSFER
BANK NAM_E : HANG SENG BANK_LMTED
SWIFT CO..DE : HASE HKHH
BANK CGDE : 024 '
BENEFICIARY : ASUN EXPQI'{TS
ADDRESS ' : 83 DES UOEUX ROAD CENTRAL , HQNG KONG
ACCOuNT NO. : 228196549883

_ AMOUNT ~': 183,900‘1181) ( arm mama mean wm T'nousand mm
NINE HUNDREL) DoLLARs_ ) _ . .

P:.CLOTHES

CHARGE WILL BB DEDUCTED PROM mla AMOUNT

BEST REGARDS

; "C`>J L§ 31 L` isMAlL YouséEF

¢.

.New Line Exchange
Tmst Co S.A.L

 

DMD»!~»E BAM-MI\`JM...A_\_.._..__ . -. __.. ._...-~_,.

861 FNK 7782 1257

 

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 57 of 150

Q“_`\/`\;f/‘C‘>;_¢-a "~»...(_-12_,£¥“
wja.~.us ,L,J.(,.w: mm ¢§m_im 11111;31_1}<,:11%

§);e.pg,¢; {F'W`.i New Line Ex<:hange .:C: w wl

h ¢'r\ n .\n
Uulo\ Vvs valu'\.`c.,v

 

_Accz'*#:z _,»{:]3;7}0 j §L=.-§W* @-‘~J;

él$m..:wi.zlw de J\n.&j :&_y.;¢_,q]$
ls-L‘L'-§ LQ 51$10.000 uq§ 531__\§

(¢“.*"~*M) mphva 1901101 9313.4,1,,..11\“19,,@ ,
(o\'»! »s}~) ipu.s\¢wyu,~.bn.,moo ,s_,)¢,o,n¢wmgwumj -

1393 41 w dam ap sizth

§ Q_`_QM \\1_` ;¢_? y_“ ézz»gsf§¢,#-‘ 136

w (_S_~*L*“) \\\-~<0_\.`,_ ;&;+.;\Az/ww.,]o"§,~‘?w
l C_§J:t`»/\ : Je¢`\.,l¢,,;; _ CA$//
C/~ \//\/ /u\:¢.l,ws UA'ré-.??'?"°i$
» €// L$':)‘\ :d\,/N\_)_\,._,. ~ GvJ/AJF§§
¢;'//.Lf `&/;-f> - ;\;,/~<)1} \/¢__fz,w :L}i`).‘g» M; q§j%¢;; nw p/E,S
5 /)S¢M/ 61//90£::°.) ¢~\,&»Ali¢y. ~)3;:’:;:;+¢}.
. .-.- ~ llH/%€[:§;a\m§§‘}!lé§j]mbé ,. l .
CJ¢'F/ <-SFOKQM _

"' dfw ¢r'~"l".

`;3\1:¢) Lj /%W;/{.//#M‘

862 FNK 7782 1258

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 58 of 150

21 .1.'. 211 '.;S::‘rc ?£RK!~Z:&_\.W£¥ 1."'0 - 111 1 ,

1311 5110111:5 1
' 1
111111)1011l

l DM;@:ZULU~UF iii
<)' sr 1 _

 
   
 

warn 0.1.
1<.1'.1"~;1»29431)13514
hv bsie~o`mte` saw parcels wm
1142 ;'iona fndust§iak C&s§l}l$w
iam Foata_l 2006 Pu.<rr_co Cebellu
1011 110531_1442121039

Im'o§cé 11¢1:11.~1‘\\()#1'38:11,

 

 

\J : . ,

" Q.»i="u“.f¥ van_‘pme A¢j;§;v

P'°dmc"d“ B°“-°"""°“ __<£.QB_"._~_<LWAM.._M_& 1.,

?F, E*.\-f '1|'

YI~Q'!G Men’s polo shirts l 3080~1]12 24.11(10
Fébrics : ?ique 23€"24015
' =111;:_1,~, §

1000 112-10110.._.- 1111__ w ._,
~4 1 Hen's polo emma "’ ' -}83!‘}'$'=~ .'

I?R x Pab`ricsx : ‘quuo 1903ng ‘ mj_<_>___gal in ,

‘\_/

Toznt 113 Ilollars Ona Hundred Eigm Three Thounar§d gm ilundr<`>d And
'fh_irtv Fu\w, only

' w 11@1?;3:11 area az 'm£ BH@S?L@: 'UH 363 MWI'H: mas

863 FNK 7782 1259

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 59 of 150

 

\mnmr l muan mart App1lcat!on/

Br chc _.~..

en §W
Da£e: -_.l.__.f____--.
MMP()“ our bahai€ 1119 fo||mdng:
ij Eesnkors 0181'1

[] Oumardtransferby
x §_:1 sm [:]mm mma

2113 ' @J»¢gw#

 

  
 
 

 

 

~
'»_ ,

»

mmmw~g< § hgn§=nwuwh:mu

._.__-_...____._.. 1231-5

»=__£,*wlpw;"~é¢‘l
JHMIFQM$=Qva»
draw ll
wmqu 3

UUM[J~W 13

 

IRR. SEQI
VRLUE UATE
REF. KEV

 

 

DOC. NJ.

 

YRF. TYPE
TRF. CUR.
TRF. AHT

PHT. CUR,

 

  

RATE

EQUV. RHY
COHHISSIOR
FX COHH.

 

CBJ FSES

 

 
 

POSTAQES

 

  

 

 

sTAuPs
rom. mm
nR n/c

REHARKS

 

 

 

 

 

NEW LIHE EXCHANGE TRUST

. 29/07!2010
: 846
29!07/2010
008026/10
susz measure .'
US DOLLAR
z_saazs.oo//
us DQLLAR
'l
1856?5.00
10.00
,00
.00
15.00

.00 p/;¢’
: 133900.00

: 217/173902-3/2/522/0

 

n us n n n n ¢¢ n ¢¢ n " n

n u

: 141

 

 

 

 

 

 

   

  
  

 

` . n 1..3_1..1 s_
§ la sdiih §§E:Z§Z

AS PE_R ATI`ACHED

 

'l"j’:z

\$»4.‘.

 

 
 
 

   

 

’/<:;P§F BMMMWMMZ !
id L&T:m ama 62 'W ¢.El &2992113: '0.\1 xvi owns sawaum 13 aim

864

l
1-10213

FNK77821260

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 60 of 150

 

5 n

… . - 1 DATI~:».zo/€)vrzold _ '

MM.;chanese Canadiah gan;;'S‘A.L.
s'l‘ » CHARLES BRANCLL
' maan - LEBANON

5

REF NO,: 178/2009 v ,
g ORDER‘FOR` TRANSFER
BANK NAME 1 HANG SENG. BANK_LMITED
SWIFT cODE ; HASE HKHH
BANK QODE z 024

BENEFICIARY : ASUN EX]’O_R‘TS

ADDRESS ‘ ', 83 I)ES UOEUX ROAD CENTRA_L , HONG KONG

ACCOUNT No. z 228196549883 '

.AMOUNT ':' QSB,UOO»USD ( one HUNDRBD F:cF'rY Taousand' name z ,
P._cLo_THES '

CPLARGB WILL BE DEDUCTED FROM THE AMOUNT

~' ` BEST REGARDS

.CU mfg \`, _ I§MAIL YoUSSEF

Naw Line Exchan`ge
TruQ!' CO\ S.A.l. v

 

f)ru\n¢\i¢-:L (\n¢\-_‘MMIL_IM_...¢_:_,...» '.<,..-_. -_. ..-....4......

865 FNK 7782 1261

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 61 of 150

<;\. /\( kq}z.,&.,z@§' .~

wjmn .L;.`,,L,z L,;,.»sn umw am 1113 1111

oéi\zis¢ i: (bm New Line Exchange
TrustCo.S.A.L_ :C st ;M‘%

é-L§ ¢».-M labs £)¢ J\’-\§§ =E;yby-=“
L¢W.., ,\ 310.000 cwa 541-vii

(¢,m¢w)u,.¢xm\w).:wo,loi,sJ)=MnHM;n¢,rwu§ ~
{¢,u,\s»..:¢).g.) WQ@;.L,._;,L.MMOO¢!JL,»,H,}..:HU&M¢J ~

th=»£'\.s$ 1311~‘~ jul 119 930le

rh' v n |13~
umw
(_$_M) \O"/ `.1~ a :&`+.B`WL ISClO~)Q

§§ “11§7 webqu ~ cos\x/
\._r" '\/ _' ¢;‘_ :¢ m \?_¢&1¢ ’L‘l ?-/Zo!o
CJ / h l ex sawruucv»umyg 3
\ J k‘$$`\ ;J_,ayl_)_h“ ~ ‘M W
Z`,:JZ:,@ .~';\:.___<__5\ ,\ )M_LL.J =JJ.Y\M\;‘§°U_BQY\((,<QPM)
' ’ w ».p§¢¢//€X,OQYTS =»M»»» ”@w¢»l~¢<m,

‘ ». ,)/‘ l ` " v r_.' .
CJ_.Q_ aj §§ §N 104ij 5 :¢.>Lnféy\(_‘,`\!`_'_»\m _ ¢.L\@"\_

New Line Exchange
Trus! Co. S.A.L.

866 FNK 7782 1262

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 62 of 150

FRCH !LCB’ St CHQRL.ES Br“ahcl», FR}>’\ NO. 2I136633? 12? Jui. 39 2316 27242$`§\"1 Pl

s

-- BANS)A<L> § §I§:L&ul<._mu+m@:zm

   

 

5“3“°"` §L ozm;l¢é_- muef¢rl¢saurninréft Appirootl`q.rr -~--H---»» 159

Date: mdL~ i.._w 111 Z§£‘;YM ____f...__,l-,,_ ¢»*.)¢~1

PBMMA% our beha?f the following ; ‘ ' ~» Jw!;-S=¢é'¢.:»"+ wm

§§ Bankers make wm m

v B »`:>mward emmzervy . w» qu» ii
§§ 863 [}Tw musa MQ_@_¢L@ ¢.Wa []

  
  
   

  

 

v »1~._..

USB

 

149,975

     

.`$~¢x`l f "‘I
tim t"¢:';'r:?~`|€"

        
      

..,... .» ~n..,____....__.,.___.,_ ..._~..-»~»-L

 

 

 

 

 

WHANQS_BNG__BM__ _”"_~W"_ DATE : 2§/07!21160
swxr'rz~.mcmsaz£z<m_r ', . T~Q*" ml =912 '
~B-M CODE,OM ~// -~-- vaLLJE' oan ;, '29/07/2010
g_ v REF. »<€Y : 008022/10
7 l ooc, uo. = 10008022.
» ~ ~- TRF. FYPE : SW[FT YRANSFER
FRF. Cun. 2 Us DOLLAR
YRF¢ 637 : 149975\00
Pn_r. cuR. : us umwa '
RATE : 1

  
 

 

 

 

_ / £QUV. mir .~ 149975.00
~ 1881 ; .
~saazsrvawx~ xewennmaarnewe~xeh¢- ~» / ESHEGHH,ON = lo.gg
--~‘ ~-~~~~ “-- -~~--~-~ ~~~-~~-»-~~-- - --- cas Fe€s z .oo
1 ' ¥‘OSTAGES ; 15 . 00
sTnHFs : .oo /
T.QTAL FM. : 15001)0.00
ok A/c : 217/173902-3/ 522/o

NEH LINE EXC?AHGE ?RUS?
REHARKS : i4l

 

'_ PU`PL€YTK§R"OF€IB'THHS` _’ `“`"`

____ .... .. _......--r -.»'._._.'......

   

 

_»._..'-_ _. ,-._,......._- .\_ -..._.._ <.. »... _____.._.. __

. ..___..,,`..-._.,..._.'. ...»._~‘¢¢-»"_~ ..-,. .,...........~ _¢...`,

 

 

 

 

v wl y
1,,.\.¢}.,,

- `{9‘~'4‘§
- oa.‘.'h"l

     

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

§l.bwféem*si$fgd{fyrs ~ M¢ql 519 " " &‘W
§ As PER ATFACHED '

 

 

 

 

»¢».~...-...,..~-.-. 'r-,q,~w.`....~¢,w»-,.-..»-...-»..-.»...¢~ww,...n.-, ...,......»._~_.. `.,...._,,... . ..,_...,..,- »- .,.,.... .,\._`.z,. ,...,.,......,¢,,.`,,,¢_-..,_u.,....`,.. ,_.,

nn-

867 FNK77821263

 

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 63 of 150

 

DATE:'w/os/zozo

MM.' Lebzmes@ Canadian Bank~ S.A.L.‘ d
S'l` ~ CHARLES BRANCH.
l BE§RUT - L.EBANON

R.EF. NO.: 182/2009

b 'ORDERFOR.TRANSFER

BANK NAME .- HANG SENG BANK LLMITED
SWIFT CODE : HASE HKr-IH -
BANK cong ; 024

BENEFICLARY : ASUN EXPORTS

ADDRESS q : 83 DES UOBUX ROAD CENTRAL, H()NG KONG
ACCGUNT NO. z 228196549883

AMOUN'.I` ': 200, 900 USD ( Two HUNDRED Tncusand DOLLARS )
P.CLOTHES

cHARGE me BE DEDUCTED F'RO'M THE AMouNT

BF.s'r REGARps
;\J \,{J) l.) ISMAIL YOUSSEF

New Line Exchange
Trus( Co. S A. L.

 

FNK 7782 1264

868

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 64 of 150

01‘\», ./}\/ \'<¢i __Zf-L¢.v;)

L-WMM ,£_5,?@; ¢§_usl: ¢mx\ engle s_)s¢g ;.,..1.;1,_°.

G,’Q€:m~<` @now\‘ New Line Exchange

T£uszColsAL 15 j.mjk §§

 

§

“”“" *"““°““ v -'l-`l}’?>@ln§> :61~»»)1¢§1

am wm lew d)= JW=} =i)~"-')““
6103 1., _,1$10.0.0'0 w_;~,\+m

:(o“# ¢~*M) w)-=~H amy 190 J 101 gJ lawn _.,L»Ln ab ,u_, _
(Md_.>w) W¢L~Mja_,mmo,b@..,n¢,..mwwm,&, *

ngpa 414 ms sp .:.L.,;,..

Q 0>/\(\§ T\~éw:§-¢c von xS`?_
@Jd
‘ (‘_;°»wwu}~ ¢Qco¢o¢$
(_$__-M) _Q-*\!_j\'-\a g 'é'¢"‘n
‘ \s_~§,' »»¢»vm - C‘\=‘~

1 _ ¢"\3/ ?/Z¢{O
C*\.¢`%:/ \v§°“;;l;`°c U~\_QJL¢.¥, GUJSM"
' /:‘ G\;§/ LJ" M!y\

'&“~’”{`2“5~*"° »4€1>¢/\/ ,@)< OR7S »»»»W@WPKM
` ST¢'Q»€M_ ¢)4 ox1.;¢masyz¢,3;__ '\">tws e~»m_<_

¢“~¥*
C.><)L{`J)\» fha wm

New Line Ex_c_hange
TfustCo. s AL

869 FNK 7782 1265

 

 

4

.,

FRCU'§ ZLCB St CHF!RLES Brarwh FHX HQ. 3813‘3633‘? 12?

 

 

 

 

 

l

 

_ P

 

Mm_-am

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 65 of 150

m<_h 14 2619 ze:lm-z m

§ H:L‘B:i!fc.,nim.!llcfll!

math § ~-' ranefef/ lsau¥n Dz‘afi \Icat`!on ---- ~»-~-~M~~ ‘&`

‘~>`f‘v‘m*§§~ …w

0 t J ...,~-,_ d+‘h.»'»¢if~\u>l v“ “_,_..i,_-`}.w_-.. w
?easem wth on our b§ha\l the following: `,sM; t<.)}.-M ;,. de

vivle

B nkers Dcaft
m a wuwuau~ l

q[j OUMardzmnafesbyW WD,JME M,.g g

g m wm Dr¢\j:m

   
   

    

'\ ""’" '¢" 1 ‘,:"
.~¢z;§i£-{&€?, §§

~ ““““ ~"'*‘“" ’ mm .14/0@/').010
-~'--~\~~~~---» -- \’m. sam ; 253

“'s\>;/H'F”¥FA;§SH_ 7 . . _
_Bkl,&(_eo m .............,.,.___,.__~_..~»... VALU[; l]f& E . 14/08/20}.(§
fm mr m ; msu/m
""` ~’ ` """ '"_“ '_"”`""~*"“"““ ` nuc. m : .umoasm.

 

 

`{RF, TYP|:. 1 L'\HIF{ `U\‘¢\N'SFER
TRF. CU'R, : ll$ DOU.RR

mF. am : 1499<37§`3
cm;. z us oml‘.'w /"Q/

 

 

 

 

 

PM!.

RATE : ' l
F.qu. am -. .1999';3)¢9./
conhlsslmi : . .Go ,
FX conn. ; ,no
cea FEES : .no
POSTAGY:€ : 15.1)0

" _ “‘ . srmaps ; on
IOTAL n§T. z 2000000

OR 0,'0 117/.175'?0? 08]?/ /5’1.'2/0
HEW l.f.\l} E‘/.L`l|FlHBE fRU$l'
QE}SF\RKB' : .\4\.

 

 

 

 

'_.!.¢'.-'- ~~.-_ .14-.~.»~..,.r~vY-»

.._.._»...-._-......_-. -.-_,-~-

  
 
              

 

 

 

 

 

 

. l:L'¢[

=»» »`»1»)' § wl

  

 
  
   

     

 

  

   
 

' :~:,»\'»,'M ' “ ‘ »,¢, -~;?*S "
t§.*'..'£jv‘! 1 m:é»§x'g

   

 

 

 

 

 

 

 

AS PFR ATTACHFD

 

 

 

 

 

L__

~mm\mm..-»~.~-.»»~..- -,-v)~' :-_`;.M?"vm.“l szabbL;‘M M}.OXB..?.]I'§_M'B~HUUJJ )_@!S` B;{$E'm

870 FNK 7782 1266

 

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 66 of 150

i / : )

 

 

 

871 FNK 7782 1267

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 67 of 150

'EXHIBIT
0

372 FNK 7732 1268

 

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 68 of 150

 

ALINE E. SAWAYA
Sworn irans|ator
Tel/Fax: +9615451?85 Mohiie: +96171399113 Emaii: sawaya.aline@gmail,co_rn

Confidentiai

Banking Controi Commission
Central Banl< oi i.ebanon
i\iurnher 1888!13 Gin Beirut, Decernber 15, 2008

Dear iVlr, Ziad Mohammed YOUSSEF
Chairrnan of the Board OF Directors of "’New Line Exchange Trust Company S.A.i.¢”
Beirut

Sulaiect: Covering the i_osses of the Company

The balance sheet of your company at Septernber 30, 2008 showed losses that amounted to
around LBP 6 billion as a result of the purchase and sale of foreign currencies from exchange
companies where the exchange rate is subsequently confirmed With these companiesl which
expose the company to exchange rate risi<s resulting from the volatility of the foreign currencies
exchange rate.

Thereiore, the Committee requests that you comply with the following:

1v Reconstitution of the company's capital in order to cover the losses amounting to around
LBP 6 billion pursuant to the provisions of Article 6 of Law No. 347 of August 06, 2001 on
the regulation of the exchange profession and which stipulate that: ”exchange institutions
which have incurred losses shall, within a maximum period of 6 months, either
reconstitute their capital or reduce it provided that it is not brought down lower than
required minimum” in accordance with the following mechanism:

~ Hold a shareholders extraordinary general assemny to decide the increase of your
company's capital to LBP 6,250 billion and then reduce it to LBP 250 million.

- Deposit the increase at the Central Bank of Lebanon.

- Register the minutes of the above mentioned extraordinary general assembly at the
Commercia| Registry.

2- Clear the intermediate accounts receivable between clients which are frozen since
September 30, 2008 and pertain to ”l-|alawi Exchange Company-Mahrnoud Halawi and Co."
and ”Mecattaf Exchange Company SAL” as they violate the provisions of Article 10 of Law
No. 347 above which prohibits exchange institutions from granting credits to any person
in accordance with Articles 127 and 178 of the Code of Money and Credit.
(Signature)

 
 
  
 
     

Masraf i.oubnan Street - P.O.Box 11-5544 Beirut, i.ebanon -Tel: (961) 1 350167 - Fax: (961) 750040

 

  

. . . . . . . , hibma 3~°-`,"):"° \
True translation of the Arablc text herewith attached without any responsibility to be 11 n s ,_{,c§wé§l§i r § \,
the veracity of the Arabic text. l 71 1399113 ‘ ll
Tho Sworn Translator ` S»,ndicaie Noiiio .,\., /

ZU l‘lAR 2915

873

 

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 69 of 150

 

! . / M)‘ \ s\
A1_5;._LH“UE, E. S.At\?t/zii£?i”é;ih
Sivom Translator
Tei/Fax: +9615451785 iviobiie: +§6171399113 Email: @.gayg.aiine@grnail.com
Banking Control Commission
Confidential

3- Reiratn from any conducting any purchase or sale of foreign currencies whose exchange
rate is subsequently confirmed which exposes the company to the risks or the exchange
rate resulting from the volatility ot the foreign currencies exchange rate.

b Foi' the Banl<ing Conti'ol Comrnission
Walld ALAMEDD|NE
CHA|RN|AN
(Signature)

*A_ copy to his Exce|lency the Governor of Central Bank of Lebanon

iiansiaior

i'O
?l 1399113

 

 

True translation of the Arabic text herewith attached without any responsibility to be imposed on us regarding

the veracity of the Arabic text.
Tlie Sworn Translator

874 FNK 7782 1270

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 70 of 150

 

':»/ err/irii.aJ
ret nor 'i 6 § ”"`~7

?J:Laii_i.o$wiujsp.i.iitjas
“»d~»e»u§ ¢;31+155 ‘;MJ§ Ml~" c>“-‘*l t}i`¥ sé-*` ZLSJ-i bill view web

s'-rs`>)='
dean aim wm easter

.Li.ri Jui,it glij>t@a§eios )st.ssri.x/s/r. @Jui :e,§,“ii (,srsj: any exist
cinsvi_i)..,.iiyeaoez,ea>asijaiiois)a@asn_>yit;,>ooi@w¢i)a¢uu,_ia%meiiaj
owio)m,wt,ia@t.mgsi\oyiiJcoi)isi_@.,.$iias)¢iius)a(§;\iifyi¢isj.:,ii,ss

.St,s;.i,s$}i

=gjstasis:ir(.sue_siiit__iis:iaiisi
L-,_,. entail our eisen Su= .u.u Jui. 1 L_sii,s mci u,;t.ai m as,:ii dump we nisi -i
owmio_wya.ia' di 491 J,i.:.zq,_'.ii reiin W¢oaoai_ui r..i/,\/w @Ju i~zv raw winn
i_,,‘/J ig_/Lwi;,&i,smi¢y L.,,/ ¢J;.af‘i'.:ac,.¢.i"y/ ms towns ¢mdf¢:i,“.s,i ecoa/owing
;:oiuiiaii`>ui§i_,einj¢'da,,i;.i/L,;.iif/.s.//@ou@ miajaa.a,ie.z;
§ w -d-d sub ‘.Y°~ oil ¢S'=Sjl tile viii loew §§ ¢\So»ill erie use kaye w ah ~
.d.d ash Y°~ oil haw
-oiiel dam lle virgil giel "
.L§Ji,>;ii Li_,_mii ouidsi,>iai assur J£a:t,,,.,aii Wi )mn,,_wa~

¢,_,¢ n__s °_ii zs__:.uii r . .,\/¢i/r. @)t_», s_c shut goal vs ocean raise ernest roads -r
L~,_Ai. tstai?usiouis:tp,s“.d.?.&cessas).:'j"rs£)sj(§§>osW-ekaii@>i_`as):
iri/d,ir.¢i_a/O._.a.adi_r§§/ ¢;,u,,.i..a,¢ia;/ own omyé,.iajassq_r.// ,>iei rsv (..§J water
.i_¢;i.i/.~.rl/J.ii.u/dyi§¢,,¢ iv/iJ

i

/W

/ - ~” ~; las t__s
. ` . . » _ , _ L_¢_,i,o )
(m\.\)va~.s.;¢,§i_e(awi.i)vo-\ty;oom olgj}`.)»w.v§-,’ \\ o¢i~‘L-'--.-’v°‘s»>\-*-':\ FNKW§ZQH

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 71 of 150

/:. t j.' 7 \\// l
waugh/sure
(é:i_.».ii .

owe oil saw li=~\! lever am Qe‘f> 5a call loew smell dan ass cone sua ga guam -r
.aés;_s‘s'ic;i>uait_ija}oc_siis¢ai;n:@iics}¢iiJi,.mi_)_i;i_e,(§iizi_<_.jni

t_.:,iooii§iaas_o image
ftl/1 ;.>'
\/.-,)'

  

.@Ug.lcé¢v.=a?$la.$.xi;.ou.l§m" '§

876 FNK 7782 1272

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 72 of 150

EXHIBIT
P

877 FNK 7782 1273

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 73 of 150

 
   
   
   
 

;£¥-
ibm translator "1" l
71 indus /

spamieiio.iio .t§"i’v

\1?“
i>`$`~r`*
MEBM& ~~»/’
S\rorri Transiator
iei/Fax: +9615451785 iviobile: +96171399113 Email: s§_v_i_ayha_lig§@gmalc_o__rn

BANKlNG CONTROL CO|Vll\i'llSS|ON

Central Banic of Lebanon

Number: 576/13Gin Beirut, May 2, 2009

Dear Nir., Ziad Moharnnied VOUSSEF;
Board Chairm.an of New tine Exchange Trust Co. S.A.i_.,
Beirut

Sub'iect: Separation of the operations carried out by the partners from the business of the company, and
compliance with the applicable laws and regulations

Further to the meeting held on Aprii 16, 2009 between the Banl<ing Control Commission and Mr. ismail
Youssef, member of your company‘s Board, in the presence of Nlr. Ali CHOUCA|R, the company’s
accountant, the Banl<ing Control Commission requests the following from you:

1- Not to perform any currency purchase and sale without confirming the exchange rate, as this has
incurred upon the company losses amounting to 6 billion Lebanese Pounds according to its balance
sheet at Septemi)er 30, 2008.

2» Not to deposit amounts at the exchange companies unless for daily operations, as this breaches the
provisions of Artic|e 10 of abovementioned Law No. 347 which prohibits exchange companies to
grant advances to any person pursuant to Articles 121 and 178 of the Code of Nloney and Credit.

3' Separate the partners' personal funds from the company’s fund; ii the partners wish to trade in
currencies from their own funds, this should be outside of the company/s business and accounts

lt is noteworthy that the Cornrriission will follow up on your company's progress and extent of compliance
with the aforementioned

For the Banking Control Commission
Wal|d ALAMEDD|NE
CHAlR|VlAN
(Signature)

 
      

Copy to the HE Governor of the Central Bank of Lebanon

wm l ,
n ~ .
Sz.~'o `
haskins

Masraf Louhnan Street - ?.O.Box 11-5544 Beirut, lebanon -Tel: [951} 1 350167 Fax: (961-1] 750040

 

Zil iiiili lelli
'l`rue translation of the Arabic text herewith attached without any responsibility to be imposed on us

regarding the veracity of the Arabie text.

'F|ie S\vorn Translator

878 FNK 7782 1274

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 74 of 150

 

 

 

4.

so¢°'
ri
‘ \

ij.,.q _,i_s'.’r i”

FJE>.Alt_si/.Wmal.gj.u~dl$j.as
d-e‘c§‘ gil\+e&$ ‘LMJ§ G-\:‘l-w 035-l £)-é`¥ 333 35)3'= 'U‘¢l w+l.>» ty_§w
clause

.ai)sul eaja dining-zuniga span asian dual be us};ri cove gai canton goss z ;Eia_i

crux upon spur resisting westgate-sui du r..s/z/it @Jus`,:g;ui&i.a_¢.vi ssa lutz
=¢l;hia+lil¢$iawlb$wi§»ialea»dli$j$llsa»w»wa
Z\SJf»ll 353 631 wl eli ol 31 ‘=-iu~=ll y~»» C»f» aaa o» ¢>l»e gas ¢bf» dale ¢lu.=l am _\
.r_.t/s/v. gsa,r)aluspi)~}utej.a.a)um guaranteed
ii mar ets>l auto us L-,l al trips louise apa 913 vi as\_,ml\ ¢,i_<.,a dsi gin gist are -r
U_M du §§ draw pra-4 open army we gaspar/bua rev aj dual ca
.¢_WL, aaa/wants mg iri d,.ir.)w/
gs z,_¢.unl ,is,n\ siJi drs §§ tszsur rural aiin ca …i at.<.,an dial nms ~r
.:\_<.)u\esu,i..\_\juuei@is auswswics_¥amtul?pl,sl¢u¢>uui

.»>telsj,tuusaldss”sas)aqsusalM@,wu:u_>u¢,ius§zjmyrfaa

 

Ol.`ulc.‘i_y.=sfst;;>\.w¢_,jjm

" a ` \~ / . \" */ ’ ;,
iam-\)vot.i\-,g,a§t_~s(¢l~i\.r)vo~\w-_¢nt.a r_>té./¢\Q.c_.),g,;__.» ix.oaes=ep.dot@u,§t_s)?§%§z\?z%

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 75 of 150

EXHIBIT
Q

880 FNK 7782 1276

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 76 of 150

 

ALINE E. SAWAYA
Swom itanslator
Tel/Fax; +9615451785 Mobiie: +96171399113 Ernail: §t_uzi_@alirrg@gmail.coni
FROM: i.AW:FlRM PHGNE NO.: 05954924 NlAY 27 2009 11:19AlVl Pl

Central Bank of l.ebanon

Central Council
Beirut, May 11, 2009

To the Board Chairman of
“New l.ine E>rchange `l"rust Company S.A.l.."
254/ !\/l.i\/i/ 17

Subfect: Capita| Reconstitution
Reference: Your letter to the Centrai Banl< of Lebanon dated Fehruary 26, 2009.

With reference to the above subject and reference, we Would like to inform you that the Central Council
convened on May 06, 2009 has made the foiiowing Decision No. 3173,/09;

‘l'o approve for the New Line Exchange Trust Company S.A.L. of the following:
First: Reconstitution of the company's capital by:

1- lncreasing its capital from Two Hundred Fifty Mil|ion Lebanese Pounds to Si>< Billion One
Hundred Eighty Five Miliion and Five Thousand Let)anese Pounds, as per the stipulations of the
first decision of the minutes of the Shareholders' Extraordinary Genera| Assembly held on
November 21, 2008;

2- Reducing its capital from Six Blllion One Hundred Eighty Five Mi||ion and Five Thousand
Lebanese Pounds to Two Hundred Fifty Miliion Lebanese Pounds as per the stipulations of the
second decision of the minutes of the above»mentloned Sharehoiders' Extraordinary General
Assernbly. ,_

Second: Grant the company a six month period as of the approval date to legally complete the
reconstitution of its capital under tire penalty of forfeiture of the approval and referral of the
company’s file to the Higher Banking Commission to take the approprlate decision in its regard.”

Kindly find attached a copy of the minutes of the Shareholders’ Extraordinary General Assembly held
on November 21, 2008, along with the attendance sheet annotated by the Legai Affairs Dep» merit
at the Central Banl< of Lebanon.

  
   
 
   
 

Regards,

Governcr of the Centra| Bank of Lebanon, Riad Touflc SALAMEH (Signature)

Copy to the Banking Control Commission l `
Sird'¢c:s ‘ v z ..
cl 4
situ 4‘.-,¢
hamm/pl >` ` }' '

Copy to the tega| Affairs Department
Copy to the Financial Nlarket Department
'l`ruc translation of the Arabic text herewith attached without any responsibility to be imposed on us §§
regarding the veracity of the Arabic text o;\'
~$*‘
§

    

Masraf Loubnan $treet ~ P.O.Box 11~5544 Beirut~Te|: (961-1)341230/9 Fax: (961 -1)602224

/

 

The Sworn Translator

881 FNK 7782 1277

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 77 of 150

mm z UU:FIRN PH@NE m = 95954924 nan er zone larsen er

iv ’_`i._ii~¢\
._*_¢ x /
UlE_‘i,.lC;i/l>ae
,,a pitt `i@))H …‘., “’» ’ir'é§ii

s , i .. » m .< <\j`$¥lk§__y.':
.u.¢rwq)h»s$ea».eaii »_P~Awé Me`?[w£

push wearing :g sept

. , h b
s`i'w€l/W‘i"l &g`)ii._adl.lglc_'£_}.mn$ii§j§\?§b§ M_L)jl‘

. - 2 " c alibi (!WMM '_ .>'°B~$ E`$*h}n§` (‘:v S`)m>u% .~ *
deed M "! W=uu purina ssa w rt ~ ~i!°/"l erie M

a * * ' `&S bi_},,.i&§}¢§n“
,:$rsuuie°.as.r,a¢§uo$r~m.>=aawoélce`f)e w

:r§s_,i==¢re&$_>éll M_) t`).=)§`i>i”'l ‘§L§

MWHUWWEMoPMsMH§-feoel§§i{;i:; \
art nn§:csupsp~tsu'iassssiiusv.,ih advisemst seats
wet s_e&.~s»szdl=\_rm§wl+.ywced§l alr.)=litsie\'e

l ,.' `. .\'~\/\/i\/Y`t ég_)\:xg`é.\i.zl.sii{;)}ah>i. .
Uia§bi`£iao}lm}:$sa&jmlaj@b@&:i%é¥QAL&!~\MniJ(;}¢§E:L-§“i
&_géh§_ga£.xil=\‘!'o_£lu£k&w¢$jCg:\'§i.$;¢§-.\AHUJ@M`S`H¢MYLma::
wwin_fmJAzl\Wanl;jWGe{;}\§§J\)iii@aL?

f § .ajtels_)_,§'sall¢,yamil 1 a
muaiJ@Jssssuiusuieta§zaaija §JaL-,,._,§aia':mu¢,.i':tsyusw§ runs
`,.ras,.nuainui,ussaer,a;siraisusassnuhpaun untrue

» .ipt.tst.s_iu.,t _)tu,al turn nut repair aspr
1.

L')‘-" wm uaw ese“ ~‘.“-3
r..)t/ir/r\
~rl)i"-.‘l

“i '. ~' apa w nw ss outlined saw _v
"/“ c ` . ¢-`¢.>~e#.ts-il adam assail edna deem Leie bay leases sees

s aw~o.iw¢sis

wiseman at , v h _
' ' };;. .t.s)caai wis usps usa usi jan
tr assn assn esso ali j~»
` . a 'J~$n'°*“ <§J'“\Ji a'.’..l'-“A usi ‘~`:""‘3

` '» ..`~¢, .,, , s o ° y- Y idb
t¢,",\,-A,Y\- §~§'i'i \i;n.§tii _(‘t`i;\r-\}i°ii-\:»‘i”~/Fi.t;"um\§s,. r...\~pjl.g \\u-D€'§`z,i,r . :..¢; .0¢=& r_,>\.rs_! L..=`i_,~.,ae d »
1 83§ FNK 7782 1278

.»?s-' ,

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 78 of 150

EXHIBIT
R

883 FNK 7782 1279

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 79 of 150

o am ’lranslaloz
71}399‘{13

AL¥NE E.. SAWAYA
Swom manslath
TelfFax: +9615451?85 lvloblle: +961?1399113

 

BANKING CONTROL COMME$S|ON
Central Banl< of lebanon

Number: 103/13 l\!l Belmt, luna 1?, 2009
Messrs. New line Exchange Trust Co. S.,A.l.

Subject: Mlsslon
Greetings;

The Banl<lng Controi Commlssion has assigned its two controllers Mr. Mostapha YOUNESS and lvlrr Karlm
RACHED to conduct a study on the situations of your company.

Kindly facilitate their mlssions.

Re ga rd s,

For the BANK|NG CON'¥'ROL COMM|SS!ON
Farouk MAHFOUZ
(Slgnature)

 

le HAR ZUlB

Mas¢afLoubnan S\reel -P.O.Box 11-5544 Belmt, Lebanon ~Tel: (961} 1 350167 Fax: [961-1) 750040

True translation of the Arabic text herewith attached without any responsibility to be imposed on us
regarding the veracity of the Arabic text
The Swom Translator

884 FNK 7782 1230

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 80 of 150

Ml%\

 

“ $Q“;;:§L
L‘)\. . -,/
lw<l<éé<>’ll i%“l’~“? T‘Vl\ll luz
.¢_l.?.@§:val%»j§wj:€;gmw£l¢§\}}p&;)&wmlla)@

ll'-.\§;la--"

<:_>il_<.

<J-<> L“l)l ¢U-.\l -l-¢=U ¢».USJ wi)a ¢;5`““ OM~J* l~s-Pl L'),l+§‘yll -"\-`\-:-lll
‘ .(>S:\S_)£J &Lbjl

-L°si\“e~° dee-»'> ¢l.>J“

.?lja\)\¢,l)_all,l¢§:§

dJl.AAllv_l&agl§Jlla;?sL-P

" \ . \\ / - ~ `} `/ / :‘
lam-\)vo..z`=l~>"§l..;e(w.\)vo~\-\Yl@l.¢ Q\Egg»w,v;-g \\-oas.wg_.».w¢¢.>l,~.._ll_..¢ FN 77§2)1\__4»281

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 81 Of 150

EXHIBIT
S

886 FNK 7782 1282

 

‘7\,

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 82 of 150

1‘”l/

 

ALINE E. SAWAYA
Swom iranslatoi
Tel/Fax: +9615451785 Moblie: +96171399113 Emai|: saways.aline@gmail.cgm
Banl<'ing Control Commission Conficlential
Regort on

5?9» New line Exchange 'l`rust Co. S.A.!_.

Banking Control Commission

Member Nlember ' Member

Amin AWWAD Abdullah AiTlYAH Kama| SAMAHA
(Signature} (Signature) ' (Signature)
lVlember Chairman

Farouk MAH FOUZ Waiid ALAMEDDiNE

(Signature) (Signature)

Belrut on Decembei' 11, 2009

 

 

True translation of the Arabic text herewith attached without any responsibility to be imposed on
us regarding the veracity of the Arabic text. '
The S\vom Translator

887 FNK 7782 1283

ii

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 83 of 150

" "‘ \ F'hFJ-?Bl€ NU-*"-’ `} Aw' I » l/F 'I

Sanl<ing Control Commission Conftdential

679» New l.ine Exchange Trust Co. S.A.L

 

lndex
Page
l- Historical Overview 1
2- Company"s Current Capital 1
3- Cornpany's i-ieadquarter 1
4- Company’s Activities 1
5~ Contro| Commissioner 1
6~ Administrative Structure 2
v7- Compared Ba§ance sheets on llune 30, 2008,
December 31, 2008, Nlarch 31, 2009 3
8- Assets on March 31, 2009 4
8-1 Cash in the Fund 4
8~2 Commercial Banl<s 5
8-2-1 Demancl Deposl'rs 5
8-2-2 Term Deposits 5
8~3 intermediate Accounts Receivable between C|ients 5
8-4 Settlement Accounts Receivable 5
8¢5 |ntangible Fixed Assets 5
8-6 Net Tanglb|e Fixed Assets 6
9~ Liabilities on Nlarch 31, 2009 6
9-1 C|ients' intermediate Accounts Payable between Clients 6
9~2 Partners’ Accounts Payable d 6
R 1115
9~3 Due and Unpaid Costs w gm

   
    

9-4 Comparlson Table of the Revenues Statement and Costs for the Financl

l
v\f?\@ l.}:“¢

Periods June 30, 2008, December 31, 2008, and March 31,2009

 

'l`rue translation of the Arabic text herewith attached without any responsibility to be imposed on
us regarding the veracity of the Arabic text
The Sworn Transiator

888 FNK 7782 1284

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 84 of 150

'“‘T` /r'//. ¢mi§"(l /,{’ W\~..__._/

Banking Control Commission Con€idential

10‘ Compliance with the Antl-monev Laundering and Terrorist Financing Nleasures 9

10-1 Law N0.318 on Fighting Money Laundering 9
10-2 Central Bank of l.ei:)anon Basic Circular
N0.111 dated September 24, 2007 8
10~3 Central Bank of Leba non intermediate Circular .
NG. 136 on April 27, 2007 9
11- Legal Cornpany Books 11
12- BCCL's Remarl<s and Recommendatlons 10
13= Remarl<s on the Company's Controi Commissioners" Report; 10
it nn nn

   

     
 

 

.rom Translator
71 l 399113

  

 

True translation of the Arabic text herewith attached without any responsibility to be imposed on
us regarding the veracity of the Arabic text.
The Sworn Translator

889 FNK 7782 1285

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 85 of 150

‘ /"°">’9”"‘” r-ri /r/ er e~:'. .'.“/

Banl<ing Controi Commission Coniidentiai

679~ Ne\ar Line Exchange `t'rust t“.oB

1- l-iistorica| Overview:

 

On April 16, 2008, the Central Councii of the Central Bank of tehanon decided to approve of the
establishment of a joint-stock company engaged in the exchange business under the name
”New l.lne Exchange ’l`rust Co. S.A.l.r”

Dn Nlav 27, 2008 and by virtue of Dectsion No. 9911, the Company”s name Was listed in the
exchange lnstitutions list under number 679.

2- ihe Comgany’s Corrent Cagltal
The Companv's Capitai amounts to LBP 250 miilion, distributed on two thousand

nominal shares each of l.BP 250,000 each share. The names of the shareholders and
their respective shares are hereinafter iisted:
(Vaiu_e in LBP million}

 

 

 

 

 

Narne of the Shareholder Number of Shares Total Share l.'alue Contribution Rate
Ziad Moha mined ‘(OUSSEF 400 100 40%
lsmai| Mohammed YOUSSEF 300 75 30%
Ziad Fawzi HOBEICH 300 75 30%
Total 1000 250 100%

 

 

 

 

 

 

3- Comgany's Headguarter
The Company’s headquarter is located on the Real Estate No. 2901 of Ras Beirut

Reai estate area.

4- Company's Activlties
Most of the Company's current activities is restricted to money exchange

5~ Control Commissloner

 

0n Nlay 6, 2008, the Company’s Ordinary General Assembly decided to appoint Nlr. Aii
AKKOUSH as a Controi Commissioner for the accounts for Fina ncial Year 2008.

20 HAR 2015

The Company should appoint a Control Commissioner for the accounts of the
Financial Year 2009.

 

 

True transiation of the Arabic text herewith attached without any responsibility to be imposed on
us regarding the veracity of the Arabic text.
The Swom Translator

890 FNK 7782 1286

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 86 of 150

t gilmqu t l fl’ X'W’- €1*‘.`>~“"

Banl<ihg Control Commission Confidential

E-Admlnistr§;ive Structure

 

 

 

 

On Niay 6, 2008, the Shareholders’ Constituent Assemhly elected Ziad Mohammed YOUSSEF,
Ziad Fawzi HOBE|CH and Ismail Mohammecl YOUSSEF, members of the Company's first Board
of Directors, for a three year term. On the same date, the Board of Directors elected Mr. Zlad
Nlohammed ¥OUSSEF Chairman and the General Manager for the Company. /

 

 

True translation of the Arabic text herewith attached without any responsibility to be imposed on
ns regarding the veracity of the Arabic text.
The S\'vorn Translator

891 FNK 7782 1287

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 87 of 150

r tyqu umyywz ; ‘ li \¢yh;].____/ ’,"N¢/

Banking Controi Commission Confidential

7-The Companv's Comnared Balance Sheets on luna 30, 2008, Decemher 31, 2008, and Nlarch
31, 2009:

(Values in LBP Million end USD Thousand)

 

 

 

 

 

 

 

 

 

 

 

Assets June 30,20{)8 December31,2008 Nlarch 31,2009 j

LBP USD To‘tal l.BP USD Total LBP USD Total
in LBP ln in
LBP l.BP

Cash F 2884 4348 ~ 2785 4198 ~ 154 232

;;;Te'c'a“ 250 sees 3997 231 1306 2206 237 4132 6541

intermediate

Accounts

Re€eivable - 4973 *7497 - - - - 51 76

between

Clients

Settlement

Accounts - 5 8 - 287 433 21 7 32

Rece|vable

intangible

Fixed Assets 24 ~ 24 _ 24 - 24 24 - 24

Ta"gibi" 48 - 43 56 - 56 56 ~ 56

leed Assets

Less

Cumulative

Consumption 0 - 0 (5) - (5) {5) ~ (5}

OfTangible

FixedAssets

NetTangib|e

Fixed Assets 48 - 48 51 - 51 51 - 51

Toia[Assets 322 13665 20922 312 4378 6912 333 4394 6956

 

 

 

 

 

 

 

 

 

 

 

 

    

True translation of the Arabic text herewith attached without anyg£%isigility to be imposed on
us regarding the veracity of the Arabic text. ' '
The Swom Translator

892 FNK 7782 1288

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 88 of 150

Banking Control Comrnission

' ~f\r Q.r..\l,{T¢/,meH-W\! tdc ‘

/l\ "/! »4"1{\/

Confldentiel

/¢_¢\WF

 

l,lahilities

lone 30, 2008

December 31, 2008

March 31, 2009

 

LBF

USD

Tota|
in LBP

I_BP

USD

Total
in LBP

LBP

USD

Total
in LBP

 

intermediate
Accounts
Receivable
between
Clients

1166

175?t

 

Partners'
Accounts
Recelval)le

12392

13681

8391

12649

8417

12688

 

Due and
Unpaid Costs

15

23

20

30

20

30

 

Capital

250

250

250

250

250

250

 

Previous
Results
Carried
Forward
ltosses)

(6019) ~

(6019)

 

Results of
the Cycle
and/or the
Flnancial
Period-
Profits or
(Losses)

211 -

211

(6019}

(6019)

 

Total
Liabi|ltles

 

 

461

13573

 

 

20922

 

(5769)

8412

 

6912

 

 

(5764)

8438

 

 

6956

 

 

 
   
 

. _ JM
'/anslator

 

v\

l

True translation of the Arabic text herewith attached without any responsibility to be imposed on
us regarding the veracity of the Arabic text.
The Sworn Translator

893

FNK 7782 1289

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 89 of 150

-_»er ry ,r/\ow;r a'¢.»'rva / /¢“.r~'

Banlting Contro| Commisslon Confidentlal

*These accounts constitute purchases and sales of foreign currencies Wlth the clients (euro
against US dollar) which were profitable to the Cempany until lune 30, 2008. llowever, the
Company began, as of this date, to incur losses due to the currency speculations, which made it
liquidate these operations subsequently and discontinue this activity

The Cornpanv’ s compared balance sheets for the abovementioneti dates indicate the following
l=irst: The Perlod from lone 30, 2008 to December 31, 2003

The period witnessed a decline in asset volume by around 67%, from around LBP 21 biilion to
around LBP 7 billion, due to the decline in investments at the commercial banks by around tBP 7
billion and the decline of the amount of the c|ients' intermediate accounts receivable by around
LBP 7.5 billion This decline constituted a financial source of around LBP 145 billion, vvhlch were
used to settle two parts of the partners accounts payable amounting to around LBP 6 billion,
the settlement of the intermediate accounts receivable between clients amounting to around
LBP 2 billion, in addition to the settlement of the losses incurred during this phase amounting to
around LBP 6 billion, due to the company's speculation in foreign currencies. lt is worth
mentioning that the shareholders accounts payable constituted the basic financing source for
the company's activity.

Second: the Period from December 31¢2008 to Ma[ch 31, 2009

The Companyfs balance sheet almost maintained its volume during this period, due to its
lnactivity after incurring the abovementioned losses. Furthermore, the devaluation of some
asset items during the abovementioned period constituted a financial source, which was used to
the increase the values of other assets.

B- Assets on Nlarch 31l 2009

§~1 Cash in the fund

Foreign currencles in the Fund: USD 154,000 or what is equal to LBP 232 million.

The total cash in the fund in foreign currencies amounted, based on the closing prices of the

Central Bank of Lebanon, to around LBP 229 million. This total amounted, based on the

Company's calculation, to l.BP 232 million. The difference amounting to LBP 3 million is due to §§ ‘]§\'\‘3
the difference between the foreign exchange rate approved by the Company and the dole \\

prices of the Central Banl< of Lebanon on March 31, 2009.

  
 
 

Therefore, the Company should use the foreign currency closing rates against the Le
Pounds based on the closing prices of the Central Bank of Lebanon.

True translation of the Arabic text herewith attached without any responsibi@:o ?Ze impos
us regarding the veracity of the Arabie text.
T he Sworn Translator

894 FNK 7732 1290

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 90 of 150

7' ' ' ff ‘\’//\F~W ‘l'( ;\._[V / fw I

Banl<ing Control Commission Confidentlai

lt is worth mentioning that the Company does not insure any of its assets, and we have been
informed by the Cornpany of ongoing negotiations between the Cornpany and AROPE insurance
in this regard

lt is best for the Company to make the required insurances to avoid any incidents or losses to
which it might be exposed in the future ltheft, fire, money exchange.,,r)

8-2 Cornmercial Banl<s: LBP 237 million +USD 4,182,000

 

3-2=1 Demand Deposits:

 

blame of the Banl< l.BP `l'housahd USD Total in Nlillion LBP
BBAC S.A.t, 237 20 267

 

 

 

 

 

 

 

8'2-2 Terrn Deposits: USD 4,1621000

 

 

 

 

Name of the Banl< Thousand Euro Thousand USD Tota£ ir:J-;;ousand
Lebanese Canadian
Bank S.Ai. 1 3300 3301
Bank of Beirut and
the Arab Countries l 861 861
S.A.i_.
Tota| 4162

 

 

 

 

 

 

These are term placements for 24 hours (overnight) at around 1.5% interest and the placement
thereof is constantly renewed

The abovementioned the placement balance (demand and term deposits, listed in the
abovementionecl banks statements were reconciled with the balances in the
Company's records.

843 intermediate Receivable Acco_unts between Cllents: USD 51 thousand

This account represents the Deblt Ba|ance for Nlecattaf S.A.l.., and this account appeared to be
moving and it is indebted most of the times. its balance reached around USD 58 thousand on “N`\ -M§
June 15, 2009. fw

  
   

»

8-4 Settlement accounts regeivab|e: wl

we

LBP 21 mllllon: which are the realized interests from the Company’s deposits at o ' s\i> rn

deposits) /'" ' '“~`)1”’
Sworn irans|alor

      
    

.,y$
True translation of the Arabic text herewith attached without any respoM;ity t be im =, -
us regarding the veracity of the Arabic text.

The Sworn Translator

895 FNK 7782 1291

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 91 of 150

' "~Wf“"“-" >->"/»i - ‘ ‘ Y,o' \..~\~.mnm\V\w.v-w ,r m r

Banklng Control Commlssion Confidentiai

USD 7 thousand: the headquarters prepaid rental value

8-5 intangible Fixed Assets: LBP 24 million

 

 

 

 

intangible fixed assets 'l'otal value in i.BP
Estabiishment expenses ill 22
insurances (2} 2
Total 24

 

 

 

 

l1) The Company Wlli start amortizlng the establishment expenses a year after its
establishment

 

 

 

 

 

(2) insurance paid to Reuters to cover any delay in the settlement of Reuter’ services This
sum should be included under the other asset item in the Settlement Accounts
Receivable.

8-6 Net Tangible Fixed Assets: LBP 56 million Amounts in LBP millions
Tanglb[e Fixed Total Value Total Consumptlon Net tangible leed
Assets Assets

Oi“lice and T

supplies * 42 4 38
Furniture 3 0 3

Generai furnishing 11 1 10

Total 56 5 51

 

 

 

 

 

 

9- Liabl|ities on Niarch 31l 2009
9-1 intermediate Accounts Payable between Cliegts: USD 1000
A balance for settlement to Nassar Group S.A.R.L. (purchase of counting machines)

The Company should list this account under the ”Other Liabi|itiesl' or "Other Creclitors"
item.

Upon registration, the value should be registered under the fixed assets.

9-2 Partners' §[§clit Accounts: USD 8,417,000

 

 

 

 

 

 

 

 

Partner Thousand USD

Ziad YOUSSEF 8391

ismael YOUSSEF 62

rural 8417 ‘_ AJ\§M] iii‘.s

 

  
 

True translation of the Arabic text henewith attached without any responsibility to
us regarding the veracity of the Arabic text.
The Sworn Translator

896 FNK 7782 1292

 

Case 1:17-cv-02780-T.]K Document 22-9 _Filed 02/28/19 Page 92 of 150

1 r'»‘- ` “.l£'/ \ "V\¢~£I_A’._yf`-t{n /\\f

Banldng Control Commission Conticientlai

These accounts constituted a basic source in the financing and revival of the Company's
activities.

9-3 Due and Unpaid Costs: LBP‘ 30 million

 

 

 

 

 

Account Vaiue in LBP million
Fees of the Attorney Ziad HOBE|CH* 22

Fees of the AKKOUSH Accountlng Office 8

Tetai 30

 

 

 

*Expenses for the Cornpany"s establishment, inciuding the fees of the attorney Ziad
HOBE|CH during the establishment phase

* Fees of the Auditor amounted to around USD 10 thousand in 2008; the abovementioned
amount represents the remaining sum to be settled upon the completion of the mid-year
report for 2009, according to the contractl

 

 

True translation of the Arabic text herewith attached Without any responsibility to be imposed on
us regarding the veracity of the Arabio text.
T he Sworn Translatoi'

897 - FNK 7782 1293

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 93 of 150

Banl<lng Control Commission

/l \» X

Conlidential

\ m

s

¢r,

9-4 Comgarison Table ot the llevenues and Exgenses Statements for the Financlal Eeriocis

lime 30[ 2008, December 31, 2008, and March 31, 2009.

v.\

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

nine 30, 2003 l oecember 31, 2003 | weren 31, 2009
Revenues Vaiues in LBP million
interest Revenues 9 33 21
ill
Proi"its Realized
from Trading in 449 13176
Foreign Currencies
Coilected 5 52 2
Commlssions
Total Revenues 463 13261 23
Costs Values in LBP million
interests Costs 2
i.osses realized _
from'Trading in 237 19149
Foreign Currencles
Paid Commissions 3
Wages, salaries and 26 11
accessories (2)
Operatlonal Costs 13 57 7
Tota| Costs 252 19280 18
Net Revenues and 211 (6019) 5
Costs

 

 

 

(1) interest Revenues: this account represents the interests realized on the Company‘s

accounts at banks (term deposits)
(2) Salariesl Wages and Accessorles

(Prlces in LBP million)

 

 

 

 

 

 

Emp|oyees' Salaries 8

Transportation A|lowances 1

Sociai insurance Subscrlptions 2
Total 11

 

(3) Operational Costs

(Prices in LBP million)

 

Rates Screen (*Reuters)

 

Rent

 

Beirut Water Estab|ishment

 

 

Totai

 

`li-‘J>N

 

 

 

us regarding the veracity of the Arabic text.
The Sworn Translator

898

Sworn Transiaior
71 I399113

   
    

7782 1294

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 94 of 150

n \ \ ‘ \ r/irv»'/')~

Banl<lng Control Cornmission Confidential

By examining the costs and revenues statements for the abovernentioned periods, it appears
that the Company reallzed, until lurie 30, 2008, profits amounting to around LBP 211 million,
given that its activity did not include speculations in foreign currencies during that period
l-lowever, the Company incurred huge losses during the second half of 2008 when it started
speculations which were profitable at the beginning; however, the market was contrary to the
expectations and the profits turned into losses as described below, noting that the BCCL sent a
letter to the Company on lviay 02, 2009 in Whlch it requested the following:

1- l\tot to perform currency purchase and sale without stabilizing the exchange rate, as this
resulted in losses for the Company amounting to around l.BP 6 billion according to its
balance sheet at Septeml;)er 30, 2008.

2- Not to deposit amounts at currency exchange companies, except as daily operationsy as
this breaches the provisions of Artlcle 10 No. 347 dated August 06, 2001, which bans
currency exchange companies from granting credits to any person by virtue of the
provisions of Article 121 and 178 from the Code of N'toney and Credit.

3- Separate the partners’ personal funds from the Company's funds. in the event that the
partners wish to trade in currencies from their private funds, they should do so outside
of the Cornpany’s business and accounts.

Detai|s of the Company's losses and the mechanism used to amortize them are listed below:

Between lu|y and September 2008, the Company purchased over periods around 35 million
Euro at an average price (”purchase” USD 1,52 and ”sell” USD 1,4), which incurred on it losses of
LBP 6 billion on September 30, 2008. The BCCL had already addressed a letter to the Company
on December 15, 2008 in which it recommended the following according to i.aw No. 347 dated
August 06, 2001 regulating the Money Exchange profession:

» Amortize the losses amounting to around LBP 6 billion, by increasing the capital
from LBP 250 million to LBP 6,250 billion.
v Recluce the capital to LBP 250 million.

On May 06, 2009, the Central Councii of the Centra| Bani< of Lebanon decided to approve of the
content of the Flrst and Second Decisions of the minutes of the Extraorclinary General Assembly
Meeting of Shareholders held on November 21, 2008 to cover these losses which are fully
consistent with the abovementioned BCCL recommendations The Central Councii's decision
included granting the Company a six-month period as of the date of approval to complete the

l’ ¢‘,~= f

capital reconstitution, under the penalty of forfeiture of the approval and referral of thing MAR llll\.l

Company’s file to the lllgher Bank'mg Commission to take the appropriate decision in its regard.

 

  
     
   
 
 

True translation of the Arabic text herewith attached without any responsibility
us regarding the veracity ofthe Arabic text.
The Sworn Translator

tom Translaior
71 /399113

899

FNK 7782 1295

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 95 of 150

"" n “\`" \ ‘ \ el/rr:nn/r?/ r r

Bani<ing Control Comrnission Coniidential

line abovementioned grace period granted to the company to amortize the losses has not
expired yetl.

The Company reported that the shareholders will issue iater three bank cheques from their
personal accountst each according to the value of their contribution in the losses and to their
contribution in the capitai, before depositing the same at the Central Bank of Lehanon, pending
return of one of the shareholders who is currentiy abroad

lt is worth mentioning that the total Cornpan\fs operational losses reached LBP 6,019 billion on
December 31, 2008.

 

 

True translation of the Arai)ic text herewith attached without any responsibility to be imposed on
us regarding the veracity ot` the Arabio text.
The Sworn Translator

900 FNK 7782 1296

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 96 of 150

'\vJ/' \_\Jf\ ‘ 'i'"' J/ // t 1

Banking Controi Cornrnission Coniidentia|

The company should cover these losses pursuant to Article (6] of Law No. 347 dated August 06,
2001, which stipulates as follows:

Exchange institutions which have incurred losses sha|l, within a maximum period of six monthsz
either reconstitute its capital or reduce it provided that it is not brought down to less than the

prescribed minimum.”

10 ~ Compiiance with procedures reiated to fighting money laundering and terrorism financing
it has appeared to the commission team, after having examined a sample of operations, that:
tO-L Article i4} of i.aw i\.iol 318 issued on Anrii 201, 2001 on fighting money iaunderinrt.

Atter examining a sample of operations it appeared that the company complies with the
provisions of Article i4l of Lavv No. 318 dated Aprii 20, 2001 on fighting money |aundering,
which stipulates that exchange institutions shali maintain a copy of the documents related to its
clients who have conducted with it operations exceeding USD 10,000, and the company shall
keep the records of these operations as well as copies of the official documents pertaining
thereto.

10~2 Basic Circular No. 111 issued bv the Central Bank of Lebanon on September 24, 2007 in
relation to cash exchange in accordance with the exchange system.

the company does not perform to date cash exchange in accordance with the exchange system,
knowing that it had notified the Centrai Bank of Lebanon of its intention to perform money
exchange operations through the exchange system on Juiy 07, 2008.

10-3 intermediate Circular of the Centra| Bank of tebanon No. 136 dated Aorii 27, 2007

The company is exchanging money for its clients through banks and is providing these banks
with information on the sources and destination of these funds, identity of the beneficiary and
the owner of the economic right (The banks dealt with in this respect are the Lebanese
Canadian Bank S.A.L. and Bank of Beirut and The Arab Countries S.A.L).

11- §ompany's Legal Books

The legal books of the company have been examined and it appears that balance sheet, trial
balance, profit and loss account, asset and amortization statements were registered on the
inventory and budget book until December 31, 2008, while daily operations are registered on
the IT system instead of recoding them in the legal journal.

The company must register all executed operations on a day to day basis in the journal as per
the provisions of Article 16 of the Commerclal Law. 113 l'\hR mm

 

   

Truo translation of the Arabic text herewith attached without any responsibility to b
us regarding the veracity of the Arabic toxt.
The Sworn Translator

901

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 97 of 150

.-=-~* s w 4 <\ v y §w\myunrro<\;cvy n a

Banking Controi Cornnnission Confldential

12- Observat§ons and Recornmendations of the Committee

1- the company did not carry out any kind of insurance for its cash assets;
We recommend that the company makes the necessary insurances to avoid any risks or
losses to which it may be exposed in the future ithett, fire...}

2- The losses of the company resulting from speculations in foreign currencies amounted
to LBP 6 billion during the second half of 2008, in addition to the other operational
Iosses, totaling at December 13, 2008 around LBP 6,019 blilion.

The Connpany must amortize these losses as per the Decision of the Centrai Council and
recommendations of the Cornmlssion, and quickly deposit the value of these losses at the
Central Bank of tehanon, noting that Articie (6) of i_aw No. 347 stipulates that: Exchange
institutions which have incurred losses shall, within a maximum period of six months, either
reconstitute its capital or reduce it provided that it is not brought down to less than the
prescribed minimum, under the penalty of legal proceedings initiated against it.

3~ lt appears that the activities and businesses of the company are currently going through
a stagnation phase, by a decision from the partners, therefore the commission deems it
is necessary to revive the activity of the company

4- Aiter a number of accounting mistakes appeared in the balance sheet of the company,
and in accordance with the principle of transparency, the commission deems that the
company must correct the mistakes and gaps in the classification of some items with
the amounts pertaining thereto.

5- lt appeared to the commission that the company registers its daily businesses in its iT
system instead of registering the same in the journa|; therefore the company must
register all its executed operations in the journal as per the provisions of Artlc|e (16) of
the Commerciai Law. 1“ \!\N

 

Noting that the commission will investigate later the compliance by the company with the
abovementioned recommendationsl

 

\F'
13- Observatlons on the report of the Controi Commissioner imad Ali AKKOUSH '
i-iaving perused the report of the Contro| Comrnissioner lmad Ali AKKOUSH on the business 3\'{
of the company for 2008, it appeared to the commission that he did not indicate the above- Sy
mentioned gaps, therefore the Control Commissioner must be notified of the flaws in this (/

reports by virtue of a written ietter.

     

Sworn Transiaior
71 1399113

(/ S/ridk:aleNo i¢lll §

p§\`.
True translation of the Arabic text herewith attached without an¥ responMY h%d on

us regarding the veracity of the Arabic text.
The Sworn Transtator

   

 

902 FNK 7782 1298

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 98 of 150

..'.,.. w`~~- .- \ wm § (c_ "_,¢/.,.i.=r,¢»’/\"x'* t

manson

,J»?.,L)§'r §§l.§.e`§$ il\).uj §.lil..& Lya$l L:i-l`g 343 “`l\’q

J;L@diisl£"i§;ll§.i£

  

.AR illi§

    
     

Sworn Ttar\siaior
it i 399l13

t..q nut 1 t 53 elmer

903 ` FNK 7782 1299

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 99 of 150

-v~` r rvr».u
.-..,,.;:, ` `r r

» dissents

.a.».a: it we ear raw ass an as ~…

ce)sé-ll
’&_M;;i
t rosenthal -i
\ ~ grantst gunn -r
i wit saw ~r
i is`,a$i csth -t
i isbell desk “¢
\' . L,)ia‘;il§.¢i.§,z¢;ii '-=‘t
r r~~s/r/rl,r~/\/ir/titr~~i\[\/r»qs§s,thliot,n};.ot ~»v
z r.`s/r/r\ @_,Ls._\oi.r,syn -)\
s . L;.,,sr..a\k,ss;ai i-A
o sweet admit r-,t
o ernst cas dana \-r-,\
0 ` ~ a,>‘>i ¢m, r-r-,\
o amib¥zi.,wjm£s.¢ot.ar¢w_
o mitigation-w
o z_,.>t.ii ytnm\gyayio-.\
1 total sami dyer uslw ~\-,\
~i r~.t/r/ri é.ptaou,tw. -s
1 ,>\..,ai va uaw ann .;.\.,t...a \~t
1 assist sis).zii cows r-s
'i aeps,.,eeJo>am,L_eir-s
‘r...\/~i/r. uniroyal new engineer zsz dye z~e
v r~.\/r/ri,r..,\/ir/r\
‘l ¢,MJ¥\MJ dis~‘!l omw\e!lS-¢ ~==i>b-‘.~l-.-emi -\`
t ai,.vida,,t;.a_..asawm\r\/\?sj¢p\a\ \~i.
s r.»v/s/rz@)uii\?t`,@t.tsi¢ua._z,m¢asr-\.
r..v/z/rv 'és,)t-,\r~\ es)s}..joua._s,.a¢_wsr-i.
a loans layers ,as.t-i\
\~ Z.L~,.iiica\,w§`, attests-lt
\. i.<.`,aii&,§iyua`,t.wz:us=.si.iasM-ir

904 FNK 7782 1300

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 100 of 150

 

9 ` 3 §1¢@1` U@;L\Y\jlll
§§ kdi . a -'
.J,¢.L¢{Aw,sw§@mm was m £~W‘\
M~\

wigm_¢m_gu§wwzsj;w“k@mw\¢ug@)@@;y»waysJ)s\:»./\/z/\~\ 51th
.’.J.?.L,:. vagsz ¢W:,C_L,M wax ¢H‘s`,p~?wm_<,a§rjmn
mm c..z)n@z_a.@¢n¢m}¢zam gmst ?mz @.,\1¢°\… gJJ\yx Q_T.Myw..)\/o/w @,u§

cgms$s@s §;LWI,~\'

51£\45, ‘1`13)1¢@111.3.5 L_.vsi w H§.mx N,M.a)i “1»,&55…¢.‘1 Mwm lujan gmij
n :?G;A¢sw_,¢,e&@\¢m

 

1130 U»>\.» feas\)

   
 

%i\ 1*~ i~~ ;Lnjgw.>\_,a_)

 

 

 

 

 

 

 

 

 

35@1§&-\'
.HJ\§¢.!\<;\_,J¥Q»§_)M()¢YQ\\ ?§_)_)1§:.“¢1¢:1$_)$\“";$_)¢&

as&_s‘m\mz ~¢
.gx,.w ¢P@'L,mazsjmu,megu,@;;

a»

uii' -¢

¢L!Wa+§\fuhj§,.£;js¢gb 115 1311¢,,Paasyma¢;mszp,.,ls_a,u+\\¢J)§v..A/o/w §§qu
, .v..Az.Mm\

.v..si,¢w\m¢gmi_§b.oa¢hwa&s¢m@p

905 FNK 7782 1301

1
l

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 101 of 150

I'\~.&, ."1/7-..“\,¢ \A 1

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

/ 4 \

1§ ` . .
‘ 11511 * 1 -*\

§§A:»¢§_)_PQ\=_\J maxwth wywd£cm1

5301 uaw yb$> 919 344 '5.>111 wl€~= u»-»PJ 5_)1-*1 041+/= 3¢9

1
4431.» nw
umw

 

 

 

 

 

LLQLAQUUMQ;UEMM`§JW&Q}SJLM MMWU1WA11M§$1¥HA/S/“1@J1a
du_.!:m¢..:$.’m WUJU1Q33¢¢ML§¢L@¢.AM‘£3$;M_;¢ASM&J 1104-1:~1£}_9&¥;¢1.¢911.¢.\.155»;.4
.5.5.}»4.111.41£¢1 1J4MJJJMJW`9.:W&M_1M1 531¢‘§1

906 F.NK 7782 1302

 

Case 1:

17-CV-02780-T.]K Document 22-9 Filed 02/28/19 Page 102 Of 150

'--~ f / //\,\

»' 0»0@@;;@0

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

<»§J"""“
:v~~<./v/v\ §\'~\/\;\\‘/H ¢Y~.M\,/\~. ,T.éas,.:,n&.s¢wmm\wh-v
(.1.113\:1§.¢1,¢1¢,£>11!¢331)
~cd.\/r/r’\ Y..A/u/vx Y..,\/w,lv~ miwn
_ wm .1.¢ 111 gJ-Q.J\ 13 -d-d way.~h oh -J-d
1353 1-1 ¢,sjba L=e ~d-J cg.`>\§e
416 ~J‘d
m m » ama ma ~ zx~z,\ wm ~ 55:@11
1051 am ~:1“\/ wm wm wv Mav o/\.v \:c~ 2_.,1¢,.:¢314.
w <>1 ~ - - - *vs'w mvv ~ bi.@.»`, 1150 ama
951¢~\11¢1¢1
Y'Y v w z\"\~ nw ~ 1 o ~ 3.‘331. laws @\¢m
vi ~ 12 12 ~ vi vs ~ \‘z JPE\:.§.U¢},¢<)&
` 3.311.411
o'\ ~ ¢`\ 01 ; 01 i¢\ - i/\ d 1511.~11 F\.LL‘M Jy.»§)S
<°) - c°) (°) - <°) ~ - ~ »w\ w¢-\=wa
_ §.\M$\$,)l§ndya{£l
o\ - ex 01 ' ~ o\ £A - s/\ Wdy¢‘hg,§b¢
wm
wm me 'r\~v 1111 iva \~\\' nw \\~1\» m ¢\¢QM&W
v..q/r/v\ ` v~,\/\v/r\ Y..A/\/r. ¢mm\
&5.¥11 .1..1 .J.J 5,,._1.1 .L; .¢.d 5,..¢_...:) .1.¢ .J.d
¢,>‘J\Je w §J\Je 1»-2 wm w
.d.d ~d-d .J.d
1 1 \' 1 'wov \w\ lhy..g lam alma
nudng
wm ,\s \v wm wm xM/\\ \Y\~‘\\‘ mm puyzn cuba
1'. v. x“» 11 w no jagupr
1951.1.¢
Yo. Yo. Yo. _ ~ Yo. ~ro. vo~ guam
('\»\%) - (\.M) - - - - - - -sJJ.\.. lam C.:,L»
. v <»M)' ,
o ~ o (\.\1) - (1.\=\) m ~ m s,un 31/,;”1\5:1» -
(.M)§ 641-1111 '
uaw 21st (ov\z) ~…v M\v (¢v\\) hva \\*»v\' u'\ _ owng

 

 

 

 

 

 

 

 

 

 

 

 

907 » FNK 7782 1303

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 103 of 150

/ . \ \

§§J~»~w , 9 1 ‘ 1416¢>11}9}\»1?)1»~1»

0_0909_11@0990010(‘.19110,30) 59511@9019909&,¢109@90999990100199*
0.1\19&91009_1>0,10901041\150¢1@10001019,1001_9;1@19:0_5110\1111./1/~1/12@013

1915;11 1a 0§§3(511_913::§1 9§1.119=.119.:.9 1505

1090099¢:011_0:191@001130}:11:90,051 911-11501
1119111/1'139031..1!~1/1~. L~,ASM=§§

-1511“)1§1@1’¢}1»®1§31»=0-1JJJUAY\911)-‘-1§)15§1-»=w‘i"¢)=~y£%-:--QL+USMMS~\Ql-:-M
`/ L_,JU>- 9§§>1)3 144 1131-§‘-‘11@01-¢=»11 631 ‘-*1-%~1@311 9-1 041§$=1\1 1551 1413 9)“1(°/@`1Y1 919 vii 01=11§331 L.»`=w
9105111000 090-1111 119 1993 999 190 v,<> 010 9>1,011011 1001 1901 0901113 903 090
1990_011 999§.11.11 990 1 01101 19111¢1_<0:.11¢9901 010 901 01 90.:01 .,_1.9 09011,<> 010'_9
€9§:0911 019 1301 010,9@:131_111>001009::1093091.91,9)991 0105¢§0,1109100,11:901

93 j91~0..19111 001 999 mm 0090¢11 1900 01 011 1011 001 .01_9‘11 ¢>0,19 109019 29 091
‘ .:1_<091\90:1

1~1/1'/1'\1.101 1~~/1/11_/1'1 503sz 1919

cacklma`)j$lJ~}1119:.111634§1.1~414121»1‘§,'£3}4=.4_\.»:0`)£110&J/`1>Lu_)`§`:\1g.4>h‘}o4$_)»)114_u1_):.401.1:31>
351.3j¢£§hla£w1¢11j45111)w1¢.d1+§@021§$3`§1;15»&$¢>1¢10 3_)'.1.§.11(_1)1$¢;\ ¢_\1.)_9>_9411&5.\.30}¢:.1(_11‘5.11$`)11.»`}11

-<5)`>§!1 ¢1~\5=»»°11 ol“-.\ ¢11-.\»=

1..11~1~1'1:991.1 1~,1
¢§g' \cé.~.asns-)\
990,9.11'1 01100019001..1101111<>1.:999\.11~_.30,190,001

¢10¢1.9;0,90111 011000\,,00010,5.¢19\001101,90311._1>0990,05\03911&,00¢9
U1U.11..JL1U).\LY $11)>¢11.\110_)1¢11.\_9.1_\5L1deth\' ‘;11`9;.¢§_)1};1.4:1$)»11¢..:1».\;1&_5&54>41113§

.1~.1/1~/1~1 ¢0\91000,.910100.10001:~1:0»11990,.,001190§11¢>09\0,00001
_ 0910,0..0011 ,091\1§9¢9091¢,9:1910. 051\9»0,11¢30§1`,00110@115}5100131
900""999}9;, 910 09 1991 999'/ 93 1919 ,9~. 00 09 ¢_.9,-99» rif ,,/J=_,L, 1050 001/1 di 0.,// s 09:;// 095

5013933909.10:=,:11 990031 911,>29: 919 adm 9091111 ¢1:9 0011.`,9 ~ ~1 1019 09

_.(...gj1`9a1 ¢,1531@§_»

908 FNK 7782 1304

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 104 of 150

/ v.,"/ -.\`v/ \

930 _ o 000/9011

.1...10§11¢1/11+,9.90919 1111 =_»9‘ ,0:111_3,1,9.111'-/1

1133 111-1"-!\

 

   
   
 

d¢w¢$g~l£jh;sh.mz.l.uh `
1¢1?0.94£.1_);11 .1>1..1.11_,§_1_9_)1.10114

  

 

 

019{1$991€_11.11»_,.13.10.15/010;1}>£.\‘11§9(01/@1}11,§11£) 519-.11..1\’€3.1.915<_10§1_11§91!¢_13¢;1
0131,99‘21¢00,5191591,99101.1999013.191911(9912901911¢9:.)»3.¢10099991¢9991010
a.<.,.,z\..>a.w

.1.1 511 ¢1 =931.91199:109,0099001“-»1
010 010%21 1901 009-19 g11001.,0.1011 10 0109:9§5 .9.1..0:.1_9;.15991 001 1001 1011 10 319
..119_111¢)101\01'~~1/1/10@~919¢9990

;319921..,¢9 9000 2-,1
(39\1 ¢:1.0) 1911.9.119912$9.:.115.10 09 1903 91311100 :.9.9 0991. 11
919 090119~§,31109 03 :.1.1 0=~21 v

 

 

.15_5.19.913‘.5.1=;15:3`)4.::._1&§51\11 1034)1..¢4»=‘:_1>1.53.~»1.\4$)0\111.1.\31»(1)
é-\.““ 151 aU¢! 0~===@» -j=w ¢1»¥= -\2-\-95 99 xii 951 495=»-' 1191 04 way 115-w cnmi weld 02»15(1 )
1001'0,..9111;11919003¢5)'011;10039;009¢

909 FNK 7782 1305

l

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 105 of 150

/ \}'J /H"_`U Fr" \

`le---“ v 3 `c*-»%'}ML` U‘f/;-;\~?)m  '

 

 

 

 

 

 

 

 

ama w\ “ wm we
.L.a§..z.xi \ :&:w.u ¢~Hi.h».w,m¢ mw we
(~\= §'->\3¢$¢ ¢b\»i) ‘-.-\Jf" JW "\SJ$J -12»=3-“ ~>a~=J
wash wis §§ wai .:.q,w gwast §§ 51 J¢; as yeah gsa
men Ay¢<z\ Ww\ mm guns md

 

 

 

 

.U..,..w\;x§yd>\_;.,_;.»lquw\§gmiw,‘as)m\w“tq,@¢ *

jgz§m¥m‘_,ap.n U~¢\JW.>L».§ gi.x\j .1.“_~.\¢3 \. L_;\\P\'..A?wzés\,,)_\o;,,§u,\wig»@é“

910 FNK 7782 1306

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 106 of 150

). .\vr v- ¢~;~ ,\

-- 0 11 M)w

1a a ‘\l/[Y'!Y\j Y~ a/\!\ Y!Y'\ ¢Yv ol\./Wj¥'~ FLJLAM §§1):\§“9\15§1»9 C.luba§" ,;'_1\.;.\ aj)\§»a dj}a.“"i'*°\

 

 
   

\'~~l\/\Y/Y'\

 

 

n x~~r a (\)¢;1,§@1¢1),,3
wm me WY\M\¢PMWU~.,,CU
°f OY 0 Y€.\éa)_xiac“_:'¥}¢o '

 

 

 

 

 

 

 

 

 

 

 

v 121,§91_@1
mm w w_§)s@w@s)_;wwaa§¥jm
1” b§QQYQ/m
H “ ('i') 143\3=»1»5 1911 v.-\?UJ
V w w (Y)M¢L_»».Rz\
m sum \'¢v p\._¢>‘\n@_,»_»
¢ (‘\ . sw) us ,L,\=>Qi, umw QAbA

 

 

 

(sz ,.:‘.s¢,) L;.Jx.ms\ 51 a_<.)m\ mm 615 mvv ibm ‘,,\...>11 m dade =¢:1,§ ¢m}\ (\)

 

 

(-d-¢.) wm ee"i“) 163\3>-\»3 1991 3 aids (Y)
C>,*§L:A“ HE\J.)

 

 

   
 

guam L~,L,..z.z\ ¢15\,1.:1

 

wm ~ §sz m

 

n (_)`3;5)) _)\.u.n13¢51~5:

 

.)L?-."SH

 

 

 

911

iowa °‘~,>»= 2535

 

 

FNK 7782 1307 '

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 107 of 150

,\,WW¢. `,

131 1 v~ W@&;~;M   ,

qle wh.A/'~\/v. gm 1101 mm zs):)\ ¢~_.1 U:£,,>\pi ;_Usms c_l\):§xs ambng 1015/1011 L§J¢\ jung
ms ASM 03 \J} ‘H+'~+W C>>\»!le HJM\ dew d~ie ‘>i mill w J>L‘- QFM= 1335 00 walls …
Jy)@ylézquw§@\s$m,aww\¢\£3,¢.<;,11¢,§>¥..)\?wzqumswu¢mgwsjm
¢§H\é,»liwoi 193 F»MW¢»-MQWHMFU 141 CQM ¢==Bé\é ¢b-§§!w=$o<,-\r»ol$ wl@-,ééy=i\
=¢;th-.>Mv-=+U=€\SM\UM\§SYM/°/Y§§MQM
jmlsj;msess‘.¢swjémj516¢@.;.1\M¢q;s@j¢w@>\»&j¢b§@@¢¢£}¢»~s
,v..)\/¢\/\~v gs$j§}g\@zj¢i§§j¢d.dj@n §§L.:.¢né
dam s¢mzexshi@uém¢j;>,\1@£¢1;1¢¢1£…;$\2;1§1}¢)\¢\$};@§@@¢£?» ~Y
MJML,.;WQL:€;$' QM¢QQ/QM/Myb.zjw@.wm~\jm 513 vw g wgn
l .M@MML€¢»¢vAJ:r¢
L~;.A¢:>L.»awéaj+m¢\sjm\agid\=.@‘a_<..jmwm\gym¢g…;¢\spw\yiJm§ -v
.xjsamgmjdwi@\_;.&:ws§@i%@wH§\yi

`,_ < -_,`

=xejuia;;zm\z.}wapasym,smd¥mug@
.i.¢ how “¢1):.“)¢1..,}.1}_,`,£¢#1,.1~<> §15§¢.\):.“1=.1%51@15}:11 <;w\§w../\J,sj,,~,¢: 010
zsy:,n A¢M¢m+m ¢3155.¢_3.¢3 ng. w <5131 Y..A/‘\/v. L_gs¢,uwsm> m_.s\~, (.1.¢ m “@+;j
ray gm Lgl._w\ Y..\//\/\ @_Uu m ?§J 0sz 93 umw 430 ¢Mj Y~.A/\\'/\o 51th 1135

‘ :(;\¢Lg&§\_yal\

-d-d 1111 wm 1100 cwa v°- w M o»bw\¢¢ 1100 1111 1 1101 wm 1111 1111=) ~

.d-d wl»=\'°\ ‘,JL LM wi,db,a§z¢v~.‘\ .`

 

;"::§">;é'»h
¢/-'*~

 

1111 wymij wm @»\+1»51= lawn am apa q;s»v vw JJ§ Y~~‘\/°/‘ we
LAL.:L~,§€\.L:A\H-,u»s.lc,séa¢mv..A/n/v\ UM;MMS,:J\WW:,MJ%HW..J\W\M
ww(,mym,»n@,u¢“%.:i\agdz.;,.znc.~m@sfnUAV:\J§§OA.;:LAS‘,>\JM\¢\§.A,:¢A
J\)zn amy 1141 a,§,@x mean 511 as).:.\\@_m.,:ux>;_,i,.s>aam,,,s\ )=,a» usab.;u:,¢¢w\ wbwssmag
(JsL.»§\,\§L\; as)maa,m¢>\picw\s)zswpmg).wmeww

we @L< raw raw 01 ala m.<.¢~= awij fw mw MM af iw// awa aj
-h/ 5-&‘= JU='-T-"§# ¢UJ'J dLé-J U'J¢-‘ 93 lé-°}~P}’ /:£-'€-‘-7 ‘dl¢-'/ w@s **-w\'-‘“ 4'1#-" e-M\='J FJW¢ 41¢¢1“~
.g/z.-.€Jw/‘,JJ,»WMM/

.d.d)\£l,,w,.m@\§¥.~\/w/v\ gswzgém\as,.m\,am@¢issjspy\y_§

912 FNK 7782 1308

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 108 of 150

/ .s_..s\

sss-1 1 333300

2235:3¢,33¢,33..2/)`/*»¢_3)3 vw gjwm\¢,sssms¢&hmjmmgwajmwm
wma¢y afstBM?/L¢Lz@¢pu¢md/Js@ ¢33.:.{3§¢,}_<:§,1//23'/)@//¢33.5361¢
.wjjw/U»Y/M@d@yJéMWQ/J alma

uaw wm 31353 dam 23333 as¢s,.~.\s 333 »~s.

231311==1133&1101&3¢9@1§&%¥1 NQMSMMM

wsz 0333233.<.3§¢,3133 \'~\/z/w wm 333 s~\,\ esmj;\sn¢,swjn s333-x12.

s.ss;s/s~ @st\~\,\ (..sjms\.sn¢,¢wjmxsss¢&tssésss:\s,m\¢i933¢¢.3133:¢,2233613&313;1133
2333\,¢23:333 03 _,}.35333312.2@/331\3;3333;;,\3 33,:3 23;33 033§;3¢1}33;<_,333,:233\_<.3¢3\335
33333@3331312»1\233333\2.2:332222=23-1$¢2¥ \~ 122/3331 2331 3»\3331¢3311@2»»2
13 3333 2333 g,s\'sjn 03

 

saw 1353 W‘ JeJ\-‘-f\“-.‘ éli““ \'"V/‘\/\'i z'¢zJ\$e`d)‘-"+i L$L)=-=m 09 J-*L-=“ “‘ e§J wm twa 'Y_\‘
. _M

de¢=i‘ CJL)!“+ e\-,\§“ Ls-e~'u 0\1+`\ v-DW C\LL§ 1211 le= 33\)=3\ alibi i§b 3-91"3\ JeJ\-‘-H\e ‘*-*-.‘.)\-'\5 2053 `>? 315-win 02
.Y..A/v/v @J\_ssuh,£x 311'33_,33¢3\,3‘31

. Y~~v/z/\‘v 5¢,,\:\\~2 32`,.333,¢\333_2).33?31.:,1¢-\.
333133333333¢3¢\3,:333 33333333'33 3};,3§)\.33\¢.31¢3'333€_\1.33¢;\§3‘31 33,33?,32§)31 L~j
t§3_<.3 $333\ 333 52 L,3,..333 1343 2333 1133 33JL.33\) .,,,3.33¥1 L533 3333, 333..31\'2,,}3, gs,r_w

(-d-¢-ui L»s)=l* 1330 was ~£323 »<.\-¢-&

mgmi£.s&_l‘\ E'L§.s-\\

035-31 <3-,»=3»13\ 3-.'3\5.»3\ 4-,»\° d-:»»wb»ibw.>“ iv aj wis 1931\3\153€5\)1\3¢51@ &>U=\¥\ 13
31_)~33\ ge 433 §¢233,3\'¢,133310%3../\/\3/3\ 233 2323>13:335 diggs QLM 233s3\ 33133‘23353\
.§,1~,3232.,3,3\)33£_,3\€3,303§3@\3333\
¢,,s\§ L~,. ss 3333 3333 \2531,3353; Jm(,w wis L.,,s manuals 3333 23\5¢_1,33.3 iiJsas ij wm ass
.sJ\._\s:\

913 1 FNK 77821309

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 109 of 150

/ . "\

,i`¢§:)-~“ ` ° QP@LU@J~.¢\zjw;

E\.Lm¢:.¢\.m‘ sam-v
~ M.m§in USDJ»G§§WU§QA&_$§L?§AS_)£\_}N?§ '~\
¢HM)J§M @wu-'=M fhwa §.»1444 444 1414-434 4\441‘=> 4391$44\¢@¢44:»4

 

<M=

U@mu_.m,s ML;>\;`..<MJQML}\PM‘§ L_az.¢,luww…m@¢@mw§)¢)mwh v

939 zim/wm §§ juan viz &W¢.\émw>w W fmha 135 a_a@g~ggm./\ €.L.J
dbame

)W 434 *~AS&WDW 414sz 445$)4§ wM .,)\>4~51453 xvii w 44414§¢_,-5113¢4\-.4-3 ES.M 034
<._;wy$b;¢§v…s¢ vzv@wwwm.zmutwgwés @Mu¢wmwé,n
Lz/J 4144@0,4,455’4¢4)/144’4,44&M?f&LHM¢MJFMQWMFFUHQJ/%~=J/

,@Mmymn_.¢s)>y\:@\axz ' w¢,‘~,jj;.)/ULS//JAJ/dm@;/¢f@¢@;/

44@»4\ 04 §§ m wash 1444 §§ 444 444 144 44 434 d 044-4
.BM}LWMSJ$}'AM`GJ$

‘a_<.);.:\@\,~w;a*um\ ,u,~§z\ wm JM¢W:LM.J_-z

. gw&.¢§,dsan¢,w:qs¢s,;:nwmw@~¢:as)muvuimsN:‘z.,,sum§.w'>w,
__ lyman

‘rw,¢x\ ,as¢@@,s,¢,.'\zm@awzmx\§§\A,x,.¢s\?uasx\¢;a“`jmww¥ L-,,¢sxs);;x\¢,§ML-Hj~¢
'1%\5 C,. m saws?®z m,»_»,m gayu,,suyum§,.amw\mw¢,vu§ abundanqu

 

  

.h`)\.u$\u`ga\§
";;/\ \ .°>\§iqsu.d,a,,as,.unm wim@mm\oi¢,\mw;s¢,.m

v=;b¢>_)~‘~'\ &__`
nTrans!a\ 4 "*";
"391;‘§ .§4 . Lm.<»,.z=wuwmh¢ »m,_;:=¢‘ \-w
licaie\ .-’ ' /.4
`J/_`/;Q,..u?x ML,NY..»\emg,...x\wiv¢ws¢§k.mww\va,u} y$xp&>\.zg\w
§../%i / .$L:.c__.zt':$g,x;._,.¢.'»e_»_)vsh_)`l:>l$\“ ;_u\j»§\¢_]_,>.a.§§\_}al\U‘¢:_,§A_)L)QIL=J:,~£\AAM>\$‘B.\_)\_,.“Q\M$

 

914 FNK77821310

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 110 of 150

EXHIBIT
T

915 FNK.77821311

 

Case 1 17 cv 02780 T.]K Document 22-9 Filed 02/28/19 Page 111 of 150

  
 
 

> (1§.§,, bs,.~,`¢_,l-=

Sworn Trans¥ator
?§ f 3§9‘11 3
Sy»“-dfca;r.» >€0_1»10

 
 
 
   

/ , ,,
- \§’§4£»‘ §§”'lz,z§
§LUE¢_E_.§&WAXA `*`~""'
Sworn Tmns[ator
Tc%/Fax: 43615451785 Mobike: +96171399113

Email: §a\waya.a_|jne@gmgil,;gn\
Centrai blank 01 Lebancm
Centra§ Coum:i¥

_ BQIrui, August 9, 2010
TO the Bcard Chairman of

”New 11er E)<change Trust Com;zan\; S.A L ”
603/1\A,i\,1/17

§gl;;e"@ Assignmezzt of Shares
B_e,ference: Your fetter dated on May 11 2010

With refezeme to the above mentioned subject and reference, We would like to inform you
thai the Central Councii convened on August 4, 2010 has made the follo owing Decision No.
31/25/10;

Disapprova1 for "New Lme F)<change Trust Company S.A.L" concerning the assignment of Mr
Ziad ¥:awzs` 1~ . .-

iOBFK`l| of 290 shares of his toth shares amounting to 300 shares of its capital for
the enterest of Mr. Ayman Said JOUMAA

Yours Respectfui|y

Govemor of the Cen€;ra¥ Bank of Lebanon
Riad Toufic SALAMEH {Signature}

"' Copy to the Banking Control Commission
*!+ Copy to the teng Affairs Department .
4’* (`opy to the flinancial r\/larket Department

         

§

’:`1"§//

  

\
;_'._\;~A § \
`\. \,‘ll'}(i`i“§i\$!':"~ ‘~‘~[Y \;
_r »¢ yl['l§\§§‘l\$ Q.
,-: ; ' ' _,\ `:
§ 4 : v t"
M‘ssraf Louhnan Streel - P.O‘Box 11-5544 Beiru{~ Te|: (961»1]750000 Fa)(: (961 -1)6[)2224 ' §§ " ‘ C/_‘ j
vi

 

 

 

'l`rue translation of lhh Arabl<, lc,xl hczcwilh attached without any rcspomibs}liy
regarding the veracity ofthe Ambiv ie~<t

` ` ` co be imposed on us
The Sworn 'I'rans\ator <\\`
§§
*\
%

916

FNK 7782 1312

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 112 of 150

   

\;//;j}f\\

`1‘\@ \.T)1Q\ US€L:J`$_)'§

1:15/`<5/“]‘1§1)/:~15>./<1»1
z 11 § 3 ah ,
JJ ¢)»1~‘»». ww y n W!?'E/KFA

T`.d.€.w; 611_}»=§$ C.JJ»_):\ C.l;\‘l»jl Qu§ L);‘YJ¢\§J

1911 ¢@'&)13 1£;,)£):1}
t1*1’/1>/11a':'f)11<‘=3~111 =;::`_Q§

` " "‘ ` l 1 =>)“11.9 &;#525/111 611@1#3`,319
r_},__g`)/.x_“ L/',.J\.`;,z.§ 01 €Sj__,.:& s o_}»£»\ U:¢`AAAB C"_ l _J ' a v z
g ;Lg)uss\./‘r<>/v\ €§_,ijdsg;\J\¢Y.\d//\/i 531wa

g ,. , -\~x_~;~'="_M§S\1l<>’
Vlr; .J.?.U@L€A§g»y@b»ué"w!;y y :A;bww g
§ _M,v..aALg\WALLA\L-FW\W~QSMQJFJ.J &Jf
' 66 “_¢LXA%___\_'§,LWM1 ,1}1,.»_11€:_11.,_41115§1_»»1_)

eUi>Y\ 13593.> 1)--1¢=53,§
aug ¢..3),~4.¢ (>S\A

,>/
U{//J/~"’
__,/
» " ` ” 1311 § d .
A.U.» L$~P`§l d »J .L.'s_ )1_@,=11 61; 413 J]\ 969 615 gm
~"133331§11 053»1\11 1131>1‘= 511 ?xi...,) .;. _

_213\1141\ @1>,»,\;1 le ),_1,¢ U$§ 1311

(qd“s|"a)%* Y"{Yi: ¢v~§\~é~(q"\\-`)VO x \ x a fg_,;§;`.§>~s.:ljjj.{ § `_1@@£§ §_\.’J,UQ;£:)[\LJ£,»?')`@C)L:>
w 917 FNK77821313

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 113 of 150

` EXHIBIT
U

918 FNK77821314

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 114 of 150

    
 
 

fe
\'1011\11311513101 11
‘ 113 1
11:1399 §
y ~ . §
-- `§e;, y . tit
`§E. et
AL_;NE E. SAWMA '
Sworn Transtator . _ 1
Tel/Fax: +9615451785 Mobile: +96171399113 Emell: ;B_BAM@Mit.com

Central Banl< of lebanon

Central Bank of Lebanon Street ~ Beirut - lebanon

{-1.11§11Sf29f 2011
|ssue number 4264}1-1.1"/11

________,_.__»----_

Resolution N, 1075_§4

The Governor of the Centra$ Banlc of Lebanon,

Pursuant to tew No. 347 dated August 6, 2001 related to the regulation of the Money
Excnange Professlon in Lebanon, notably Artlcle 16,

Pursuant to the Resolutton No. 10630 dated january 14, 2011 necessitating the
publishing of the list of Money E)cchange Companles for the year 2011,

Pursuant to the minutes of the extraordinary session of the General Assembly of the
partners of ”New Line Exchange Trust Company S.A.L.” held on August19,2011,
Pursuant to the tetter of the concerned company addressed to the Central Bank of
Lebanon on August 23, 2011,

Decides the foltowing:

Article 1: ”New Line Exchange Trust Company S.A.t.”, registered on the list of Money
Exchange Companies under N. 679, will be deteted from the list.

Articie 2: This Resolution shall be published in the Ofttcial Gazette and notified when
needed

Belrut, on August 26, 2011
The Gove mar of the Central Bank of Lebanon
Riad Toufic SALAMEH
(Slgnature)

 

?_5 111111 1015

 

 

 

True translation 01` the Arabic text herewith attached without any responsibility to be lmposedon
us regarding the veracity of the Aral)ic text.
The Sworn Tx'anslator

919 FNK 77821315

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 115 of 150

er » c
/\3111 7@\

 

 

 

 

 

, »y <;/ Y` ge / § § l{‘
/"// / L:)L~`._.,./J L,Sw@~e eye n

_</@ @mweih~_wwvwdwe@ /MA/ZW§

torts {>~§3J1.)-3

tome.&__}w€§l~>ol

LA.LL»Y UL_lU.ZMl)A§lA,_£_/a(=_\.am(jlx.u>ll `1~11/¢'\/`1 C_JJL¢T'£\/ €5_){_)_9§1§.11{5_11;;,1_).1
cm B_)§:¢> ;b.».tl.»dl odl~:A.ll

tr \1¢1,1

a.§_)_~l%’_$ _§¢LS)L.HLJJMlH&MM\MlMAWL;\£;Qj
¢Y \1/A/1c1€_)_)143`5 Ml<(d?UQLSJLMjSL.w`)JC_Lb»(_)ASU:YjM))
cl `11/1\/\'1”€,1_)1_10\41.1£_4`)@¢‘5113`)1_5,1144».411¢~$`)»:.11§_4&¢$_1&¢1.).3`5

;(__5_:11__}1.__4`)_)_§;1

itsj_,»?___o:\§\)@t ¢wya___§zy¢__,¢t_da;_; :!§1,‘\,;131°11
Ml((d?w@l_wj§w_)lca:;mdu_$lo_lyj_u»
.WV‘\?$JL'_B§'S_)§S.§Al¢\AMlG$

.a%tet\_}e;tt:-_P'¢ij agw)t\slg),>)t§éyj§n 111 ),41 ngme

t-tt aim §§¢`~1»)3:-:

twin

MP~‘ é.'~a§? <.)`¢=Leo

920 FNK77821316

1

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 116 of 150

EXHIBIT
V

921 FNK77821317

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 117 of 150

  
 

hawaii ramsl.a'rro Saavi 1111311 3e1-131 1311
Furn Ei-Cliebl)ak " Franjieh Street - Beirul: ~ lebanon 11313 - ‘-°-\JJe-.‘- 1391 &1331 - ¢3+5‘*11 1105
'l`el. /Fax: 01 ~ 389387 Mohile: 03 ~= 624/291 E-inail: alamehtransiation@gmaii.com

 

Republlc of Lebanon

Oussuma Abdallch GHOTAIME

history Duhlic in Bairut

l.ebunexe Centrnl Bunh $treei ~ Arescc Center - Ground Floor
Lundlrue N°= winans-444

celzphone N°: 03-701553375

N°4420120n

Minutes of an Extraordinary General Assembly
of
NE WLINE EXCHANGE TR UST COMPANY
S.A.L

Registered at the Comlnerciai Regisny of Beiiut nnciez N° fl 008 1281

Minutes of an Extraordinary General Assembly held en 19108/2011
Invitation date: 19/08!2011
DisQatcher of the invitation: Shareholders
Method of invitatiou: Calling all shareholders via phone
Invitation book: Written

- Meeting formalities

Hcad of the session: Mr. Ismail Mohan\ad YOUSSEF

Secretary and Votcs Controller: Lawyer Ziad HOBEICH

Place; Company’s Headquarter in Ras Beirut

Time: The date abovementioned - at 1020le

Attendees: Based on the attendance sheet

Attendants: Attached herewith

Quorum: Availabie upon the presence or representation of all shares :100/100

fn view of the participation of the shareholders representing the Company’s Capital in
whole, on behalf and by procuration, and according to Article 37 of the Rules of
Prccedure, the shareholders waived their right of requesting to publish the invitation and
the period specified in the memorandum, while acknowledging the invitation’s validity
\vhere each shareholder has Waived, as much as needed, each right, aroused lawsuit or
might arise thereof

Lebanese Re}iublie- Minlstry of Justz‘ce- Commercr`al Registry of Belmt (Seal)
Nota)y Publlc in Beimt, 0ussama Abdallah GHOTAIMl (Sea[ & signature)
‘ Date: 17/08/2016

    

922 j FNK 7782 1313

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 118 of 150

/1/1‘1*"'-'1*?111;1 1151 /

- Otgeuing:
The chairman has duly declared the opening of the session after verifying the completion

of the quorum through the attendance sheet

~ Agenda:
Proceed with writing off the Company and whatever this resolution requires from
formalities and legal proceedings pursuant to Article 57 of the Rules of Proeedure, and to

Artiele 9 of the law of Organizing the Bxehange Profession N° 34?/2001.

-= Current Documents: Report issued by the General Manager and the main Control
Comrnissloner

- Refer‘eg:es at the disposal of the attendants:

A- Commercial Code
B- Company’s Rules of Procedure

- It has been decided urgent
l- Aiier the Chief of the Board of Directors by proxy, Mr lsmaii Mohamad

YOUSSEF has read his report that aims at the impossibility of establishing a
company while practicing the business as stipulated in the Rules of
Prooceduro for personal issues concerning the sharehoiders themselves and
their private preoccupations, and for public reasons concerning the general
situation of the country.
Therei`ore, the shareholders have decided to dissolve and liquidate the
Company.

This decision has been ratified unanimousl .

II- The Partner’s Assembly considers that the decision of dissolving the Company
is final and inevitable The lawyer Ziad HOBEICH or his representative is
carrying out with the procedures of writing off the Company and performing
any other legal procedures which invokes the writing off of the Company
before any official department and competent authority

Thls decision has been ratified unanimously

Lebrmese Republic~ Minfstry ofJustice- Co)mnercr`al Registry of Beirut (Seal)
Notary Public in Beirut, OussamaAbdallah GHOTAIMI (Seal & signature)
Date: 1 7/08/2016

 

923

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 119 of 150

/i /‘-`1"77',~ 1 .‘T’ 3

Ill» Acoording to the Articie 58 of the Rules` of Procedure, the Assernhiy has
decided upon assigning Mr. Janiat EL HALABI as the liquidath in order to
carry out tile procedures ot` liquidation and all authorities and powers
stipulated in Articie 59 therein The liquidator shall initiate the procedures of
the liquidation immediately after he accepts the job assigned to him with
commitment to distribute the net surplus resulting from the liquidation ol` the
Cornpany’s assets alier it has covered all due debts and encurnbrances, ii any,
and proportionally distributed to each shareholder in accordance with his share
of the Company’s capital

This decision has been ratified unaninieuslv.

iV» 'l`he General Assernbly has granted lawyer Ziad HOBEICH all authorities and
powers in order to carry out the procedures of dissolving and writing off the
Company, the procedures of filling in the Registry and registration at the
Comrnercial Registry and at the Ministry of Finance, in accordance with the
Law and the write-off of the company

This decision has been ratified unanimouslv.

V~ Adjourning the session'.
Closing Time: The ahovernentioned date, at 1:00 PM

Sigrmtures

Clmz’rman ofthe Board of Dlrectors, Ismail Molmmad YOUSSEF
(Signature)

Secretm;v and Votes Controller, Ziad Fawzz' HGBEICH (Signature)
Shareholder, Ziad Molmmad YUUSSEF (Signature)
Sha)'eholder by prony, Ismm‘l Malmmad YOUSSEF (Signature)
Co)m'o! Commissioner, ImadAli AKKOUCH (Signature)

The liquidation Jamal EL HALABI (Sig)mlure)

Nota);v Publr`c In Ber'rut, 0ussamr¢ Abdallah GHOTAIMI (Seal & Signature)
T he Chief€lerk of Commercial Reg)'shy in Beirut

Mar!ene DAMIAN (Seai & signalure)
Tme copy delivered air 0ctober 17, 2016

   

924

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 120 of 150

,1 g q :r=: §

N°: 4420/2011

Seen by me, the Notary Publio in Beiml, Oussama Ai)daiieh GHOTAIMI, Mastered in
Law, for the legalization of the signature of eaell, the lawyer Ziad Fawzi HOBEICH, his
mother Therese, Lebanese, born in Kobayat Ai Daher in 1971, register piece and number;
Kobayat Ai Daher /50/ pulsuan€ to an Icieniity Carcl issued on llle/ZGO? N° 47222636 io
Whieh his photo is attached, and Mr¢. Ismeil Mohamad YOUSSEF, his mother Nawf
ABDALLAH, Lebanese, horn in Sarita Maziha iii 19?9, register place and number Baeloui ~
Wesi Beqeef?l pursuant to an identity Cerd issued on iQ!G?/ZOOG N° 4274530? to which his
photo is attached, signing this minutes personally and by proxy on behalf of his brother
Mr. Ziad Mohemad YUUSSEF, his mother Nawf, Lebaoese, hom in Santa Martha
Co§ombia in 19?6, regisier piece and number Baaioul v West Beqaa./T 1, personam to a Speeiel
Power of Attomey registered at the Lebanese Embassy in Caraeae on lO/OS/ZOM under N°
369/2011 (Register N“ 87), Serial N° i63'7/2011, legalized by the Legalization Department at
the Ministry of Foreign Affairs in Lebanon on l7/08/201! under N° /96872/, enjoying their
civil and legal capacities, and signing this Minutes of the Extraordinery Generai Assemi)iy ofl
NEW LINE BXCHANGE TRUST COMPANY S.A.L, Organized outside this Depariment
and it consists of five pages including the current page, after having read it openly to them,

and their consent willingly to the content on Tuesday, September 06, 201 1.

Lebanese Republic- Mirzistry ofJustice- Cammerclnl Registry of Beimt (Seal)
Notary Publz‘c in Belmt, OussamaAbdallah GHOTAIMI (Seal & signatur'e)
Date: 1 7/08/2016
N°: 2016/7432
A true copy has been issued of this transaction under N°2011/4420 to Mr. Ismail Mohamad
YOUSSEF after comparing it with the original document archived in the Depanment on

Wednesday, August l'/`, 2016.

Lebanese Republr'c- Minr‘stl;v of.hlsllce- Commercial Regist)y of Belr'ut (Seal)
Notary Public in Beirut, 0ussama Abdallah GHOTAIMI (Seal & sigmziure)
Dm‘e: 1 7/08/2016

 

925 FNK 7782 1321

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 121 of 150

>EZT~}H &. itiarz;t‘.zi - §

The Extraordinary General Assembly of
NEW LINE EXCHANGE TRUST COMPANY StA.L
Registered at the Commereiai Registry of Beirut under N° /1008128!

 

 

 

 

 

 

Held 0n 19/08/2011
Attent;lance Sheet

Name of the shareholder Numher of shares Nnmher of votes Signeiure
Ziaci Mohamad YOUSSEF represented by 400 ' 400 Signsture
ismail Mohemad YOUSSEF
Ziad Fawzi HOBEICH 300 300 Signature
Ismail Mohemad YOUSSEF 300 300 Signattxre
Total 1000 1000

 

 

 

 

 

Lebanese Republic~ Minisiry of Justice- Commerciai Regl`stry ofBeir/zt (Seal)
Notmy Public in Beirui, OuSsama Abdalla!z GHOTAIMI (Seal & signamre)
Date.‘ 17/08/2016

 

Twe translation of the attached Arabic document
The Certiiied Translator, Hiba ALAMEH
Translated on October 17, 2016

 

926 FNK 7782 1322

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 122 of 150

1/:".'/‘ °*r“‘/"’” \ f \

  

by )-\.`»

. SE;/FLMSA;; § §§ §§ M lt*Q:;.i:i¢;tzzz:eo.ws»~f_-;‘-£ ot,")e;>as.=.-e¢v:.-~¢`;-)ze
L=_.m¢sv,;t.t
.`tl.[>.o'i tiin \1»-03 owe wit w sai
NEW LiNE EXCHANGE TRUST CONEPANY S:A.L
reeves /1003128 .»"-=.¢_>»1!

     

2011/iii /19 §§ch gail-9 ;>3»¢' ‘i-}AW wax grqu finn
&E
§ g 55.........¢ .i.il ,i
§ ___
if cartons ames den wi 2011/ 3 /1.9 : room wl

Q_g.i ;Sggulzéj`g wml;§£l$(;li"l.g.§$ik ;S`}G.i.ii&w"

inner onset .

L_&.w`}lea.ad;\$LAwi\L;_L/»ull ;E.Mx.i?~.il(y\:\.i`)

\"`_ /

@;it£j wheel ; at_;m‘£l§§,\ay yit!t¢».ii

10 :00 acb»il~vbieléa)l~'¢i :_QL_§_'J_}} QJMleH-l=hq§l$)i“-`)$y :__§_L_S_Ai;_l
row ; weslti ' J}.z.aliz‘oswt§iy ; M
100/100:&1»»`£\&§\5¢__,;°3§@5@)§53,, ;*M

testimonymtsyli,éotr_¢.ynasynide&l,dns woodmen M.~Lti)naj
dcj£_,r,.\iijidc,iibg?e§;@o¢€_l_j\lieg»»`)’ic__\l;¢_¢l@ici¢Mtiil?il&§li@.o§']
L§>LtsL-yc:L¢.t_~.ityi§l{,§nds@tisjsyeot@w§iyt`,'u=~.iii¢_a,z,imiial&rl\

.éil§<v\e~xa~\)-)l»s§\w¢§§lwiitsf¢)

 

927 FNK7782 1323

 

“~ .

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 123 of 150

’. " .> ./'J:]~ WM:_ h )Wl 22 -
§.',\il l`./.\.,,"§:/_k ~f-(f \ "\

6
mooted » MH,,-Qa,,m¢,ud- ¢,-“»}

1 v` _v. f ,’\_
‘ :~._‘; g_.l,<i' ,: _ l 5 _| _
` l\.-'..'§,._:¢..~.’.>.\:.. _.»_ ,
;di.,a§`;il ;>~i.g .

  

eo.,twiii`goosi dr laws 93 di eo :o;o§ two soon Ce:;t doyle got
. ,)o»~'mll¥‘>o)§ ore-w

ulin dole ~
§L:s> Lg_'>j;\§ Colelj;»§j L'_il$tli»;iw `)ij~ili lois 'Lz.>.,}L.~_) i..Qj A.Sj\lll oril:o."lit"_i§i,¢ix.o.; jo._li
woo-w o_oézool /347€§@@§1§@#93¢1¢114,§&@§looi@oso»$?owo
n:‘t§i}@ll
Ql,m§’i;‘k,i§lellL/mjmj €.L\.li junlijgj§$ ;Z.l`gi.ifi.¢.ll<lii.l.'\".u.u.li c
l
Uy.bl_-lli..dvoahg&ya`}dllpl`).¢li ..

ajo.iliwzt§, i

"s

:JJ--$->-

 

tha.'al§lio_)g_)'§§¢tw`jglmd}cwll__;¢lg`llsjll:\$Jl§yiL}ul+`.auu:`x§_),_§l§}`)i.lz.)¢; "Y"gl
colt ¢o,jlo don ore cooon t recall €.&J\Jo.oo, otto Mmo wool o.::

. iowj root U= wm oz

ELA§!L§JlJ§lli:lég’§M
ding§AL>.ollo£lSjja___xliéaZJjwd¢AlAa$)§lld>Uiei.S`)£.{\llA.‘§xA_>.jl'.’\xj §"l:\i\.:i

evil 3~23)3‘»§ L‘J\»U.>l zale als`§li; 315-rmi k-’L»~ C>l¢l).>l~.' cal-1351 441-iia L')» al wave
.7*§»~0 ¢-.*ly 311‘<5>3 H;Liw 35)3“ law loew

goose wet to goal

   

928 FNK 7782 1324

 

 

ii~.(-`é"_i B'~U*S "t ‘H \\

  
  

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 124 of 150

”‘“//1"'77,’£*’1,/7 /. ¢/, \;>x , \.\

:'. w
:/~.4
t~‘-.
…

~ 'j.,._liel,a;_jo§§‘>oiml..s/L,.a .__,_.,L.¢_}LMA_J\€L.Q,QllUWMM g..xjj§’"l.\li...
___ iv dtSj-=ll €l_hoL)ASQE o_\L/atll _5%£.§.1, mjc.=_.ali\__ri.z:`"l_\_a.li Ul§&:~ln@;l?"ioa_z.ll\_‘l»l_j;l
:)o(':.:‘l.ill<_$_il.thli(jmlili C\:_i_jjn knl_').i.iiw_`_ _x,a 413in¢li4»1t..<1ll,_5l£>4.133le _)_9. M~A_ji\;llol \._>._L_i
dst).iahl_x..x»a.llu_od.!_`»>._§¢_l\><é.§ c.LK:l_}:`;_§..\ ,_"/wl§.xlo<__.t:>.j:ul,¢a‘ .\».._.1_.4dei\_,l3j>5»4..9_1a1
gl-Al}'}ilgvtl`};lii.`i§$§.loa

: liL~_,_%fJ

aljz.i¢,lalcjoull.>;‘l»oall&JAo,L}i:MAJL_§_/i&l.o»`;ii c§,¢lz..¢ll;lom_ym.lld.l.noa.l d lC_lhol _
AA§:>.¢ll?l$(_§$&l;i__\Yl LZ.:/i..¢l.x.ejl_»_<.l.g_m.\_z.).allt,.zh».lij <_;u._llc._)i¢, ijz.l..ijonli£.i§lmia.¢`
.‘*51-“1¢111“) uyleli WJ@W‘@JJ:)°JW\W l,t-°'dsw»~‘ill;

ELJQ.YQ Jl`,\§li i.'\A §“Q.t_m
;Ml.:_>dl tl\.\éi__) g "b.\mli

Xl_oi ot got 311 _fo,o,tt t col dept ; go 511 closet otto
jtbz..ali gsa-1194
ootoi ' enjoin tow you got v vinyl
L.Lu`g;l.tm.ll.__ij L}i’i¢_i:~£_;`)j§.§gj_ r_b.u`g._;ua.a;,l._isi.aui
dow oo¢t,eo~.s rowe /

       
 

 

!
32 . .
_f /,_ /‘ __ _.
g ve '
vlwdo><_,§oo -- ~- »__.-~ ~ galloway
roosyoi¢o.o\d,éwuo __ _ ___ z __ yaeg_tsaoc

_________,_>)l_} }t)_}<:l\

 

FNK 7782 1325

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 125 of 150

1@“7»/‘\

 

    

'*`.

~~.‘.* 2011]4420 :1.1..,.._.._:> ‘\“`" " q

~}

   

¢QM..H 511 o....zas Ml..assg,§`»ww ‘§,..,_\§b 1311 119 1111 11 311

;[_;11_111\¢51&313115¢£&* ¢§19§ 1113/irvin grams go Us¢,§,;om 511 1111111
§ovw») 50 hull d.w“ '§J~‘(Gyw: bali “Wj vill) 1971 kim Jé#=ll ‘-'~=l¢.*+lll ‘,,-l ~Ul)¢ll
147222636 1111 ,2007/12/11 @JL_'» rome wm 111 1341 1111 eeo 3111¢1,.§31 _
1979.11».11`,11*11-1(__§1_.1,41 4&_;111_\111 wm 11‘1_1_,11;`1_1§_‘ § 1445sz foam -
v.-=-m=> (,§-w'=ll &Uzll~d_-zlxe (01*+“1 `¢-l) 71 1193 dw~ 351 ‘(0)’-1“1 W_z ‘*Sl-~iw wlll) §

' 1111 'C,.Jo ¢.,§&41142745307 ;1.,1 J zoo<z/o'i/Lz -U_,u ¢;1:11 WJ 1511 1551 1111 1
¢§_1_,__;1_11113`¢5.¢§ 1111 133 /1,1,.1.1¥ w ge 3:1!!,§33~&¢“5»&£%¢:&@.3 pull
‘§,,jls &\;1§1 ¢11:1§ alien oven 311 g, .1976_ w Jx,;g§§. 01 _U_;j,,zz ‘_,Mh

 

:¢.3_, 2011/08/10 @Jo_z? w\_.$x)<. @_.1 z__,\su.;_m.¢_ " _`1¢15;1» o A,s§_._x,»_? 115
61 11111\ 615 0,. 1511 dimst 2011/1637"_{5.~1.1»1 ,_\ .. __ ¢1“)~2011/369 §__
1111\11‘,1'= @51_1.~.111;96372/¢.1,12011/03/17,_/:@§1 _'.' , -__ 1, §§_)oij, §
w wall ;»-»_‘~» haw row w=.~ .»»w x,./'§»,»131111 gsw t
04 1334\1_$5111 .11 aJ‘-`~ elm '~'¢l'?‘LF.U;*'l~“§$“"“l"T@* ."‘~" .l.““`.*l. *"' ‘l""“"
tri end wm owe w.»w ¢_1» 1493le 1119 wood row am w
dds-1153 0',»$1$51.'»~¢ ¢,L;lgi N.~L ge ,_,»1\.»111¢_1§ ¢§3`911 ¢.\53_"\31_?53
r¢-_~-~ .

     
     

4

§§

   

 

2016/7432 111_____¢

1111 `1,1_ mg w ¢§£c.w.s /.~.1.111 1191 12011/4420 510 1111 01 dow 513),,.¢
1311 04 jo ¢._1.1_..11 415 gun guest 931 cis ena,;,:m\ ,o 611)1;,.1 1111 01 memo

0 _ _ ,J¢@£c»l¢@}§ll?~ww.=l_
Mlll _» "5"*"“'”'- 1115 `

 

\ ' 930 - FNK 7782 1326 '

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 126 of 150

if’x 5§.9;~..~_,:, '.:

  

g
wa¢»»¢=»_s»mw ~ '“ ' ami

 

 

 

 

~»»,»“”:'( ;>f/'}
’“ .<;3.5.0?1 q-?LN-S »'-v-j* Gia‘~= o*§§ C)é‘i .9.~§

y §§ s 3+§1&3* ,` §§»=M¥ Wi JW div
\-R~?,¢W» ~ ~”
NEW LENE EXCHANGE TRUST COMPANY S.A.L
‘iUJ-}-é /'1003’§23 uli‘¢a)**f

20… 3;19 @JMMY

 

:@w

339

C.A}y.a‘§?i

.M.G

gag-dib

?.Ba\).¢m§i ead

 

400

400

viiingng .i\_,;j

wxwd,cmi@

 

 

300 300 wm gm m

 

300 mw am ¢@w\

 

&y=e-Ai

 

 

 

 

 

 

 

FNK 7782 1327

931

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 127 of 150

EXHIBIT
W

932 FNK 7782 1328

 

` f 150
Case 1'17-cv-02780-T.]K Document 22-9 Fl|ed 02/28/19 Page 128 0

   
      

/"! \\ -v"~ / ` d
il ;_ ‘\s ° ‘4“ f
T> .t .` l `._ , 4 `
~» Alrto‘§li=$dlt!rl,\: ' _V m § t
Swomenstatnr *» (>'M'QHNDJ‘€ v&. `
lebanon ~ Hazmleh ~ l.‘lar Ftoukoz Stmat » Al l{u\rsltt Bul ` ‘
tTEJ: -1~

ii 1 _ r,
Tel/Fax: +3515451785 Mobile: 49617139911 z

 

  

'».,, ~ ' . .
rt .§ltne@gmail.com

   
   

Oussams Abdallah GHOUTA¥MI

Notat‘y Public in Boirnt

Bank of Lebanon Street, Arl.sco Center, Gronnd Floor
lene N.,: 01/'2'52333-444

Mt)bile: 03-70/553.375

CGMMITMENT

l the undersigned Agmrm Saia” JOUMAA, enjoying the legal capacity, declare willingly, by
virtue of too present document, that tlte Govcmor of tile “C ntral Banl< of Lebanon” has

taken on August 26,, 2011 the decision N. !10794/ to delete the Company “New Lr`ne
Exc!zan,¢ze Trust ComparzvS.A.L” from the list of Exchange Companies, registered with the
mentioned list under the N, /679! and consequently this Compan_y will not be allowed to
practice any activity of any kind.

lt is to note that the Company assets are not liquidated until the current date because the
contpan_\"s accmmt. opened before tliu "Socictc Gcncrale De B n ue au Li an S.A.L”, is
frozen by virtue ofan order issued by the Lebanese banking authorities, the fact that make the
closure of the account difficult and consequently it becomes difl`tcult to obtain an acquittal
from the above mentioned bank in order to complete the liquidation ot` the company.

After the verification and approval
Ayman Said JOUMAA (Signaturc)

N. 8815/2015

Seen by me, I, Oussama Abdallah GHOUTAYMI, Holdcr of a Master’s Degree in Law,
Nutary Publlc in Beirut, to approve the signature of Mr. Ayrnan Said JOUMAA, his
mother’s name: Ekram YOUSSEF, Lebanese, bom in Lala in l974 (Nincteen Seventy Four),
Register N. & Place: 40-Lala-West Bckaa, holder of an ldentity Card N.: 49518140 issued on
Februury 16, 2009, enjoying the civil and legal capacity, alter reading the present document
viva voco to him and after he approved its content on Friday, Novcrnber 27, 2015.

   

No¢ary Public in Bcirut
Oussama Abdallah GHOUTAYM[
(Signaturc & Seal)
November 27, 2015

 

 

 

002180
FNK 7782 1329
933

 

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 129 of 150

crang Alll .L.t§ A..QLMl
viath t,-S d-t-*-ll within
o~“‘=.)l .l'~)li-» )S~HJL<}-l=\l -l.>-m £j~&
011152333-44»4 gm
03-101553375 :.,¢tts

 

a

1a

_ l twa w §~Qt .taft"¢r,nnt
;`,nt.au,injn).:s)_nnictt,_§(,&:m.sbut} Jt:.:..,t..iugcg,.,,t

not/blr tro low 201 t/osrze wm m "ol-lli i-é=&" ,~sL=~ oh mt m t._~.>,+~r 331
L,.ELWS maggith golf ng”tsdta¢nt ratifn\mnmyi_~.sv,;nt,_ttazwantt
1».)\#=»= lia-lit tit o*»S»li w pl t,,l-‘¢l-.»_» 4679! 533 Q>r» 3.,».:»$1\‘“ wl vi dwi ¢".d.g,§é
dan w f d `;_‘,LS &_,§%;l¢».l=l.;t§;l
“_1_; JQCMt¢MiW¢V ttat,natnts}attm an,.?.,.zn.és,.:§,dottta;
Ja¢:t_, gist J_.=*~n tamm infant starts w ,,.tt m ",J,E*U,z @'!t.t.it §§ Lttjq. trw §
trial J,ss..tt q)math;am£\,t¢dtw:»_ww _ta.t:,.,`,un, total itt grow

 

 

 

 

, _ _ .isy»tll»hv»~d~=dusw
¢._,wi Wii,.rt»;tnt¢'i) tap

.,`,{Jg V;M U:<,_B"

. ,,.r. LN,W
CC';:Z,__",/`> ,§,'f/¢A/IL* MF""M¢

2015/8815 :~l-\-¢

 

atwt¢,,_r,t¢}is cuts ,¢szt(,s¢nqoi¢§hb itt .t_t:. utu.tnt`,r._,)n

1974 mw vi¢_,t,.tt ¢qsuntt u_a.._,£,,t)st attywa .i._a.w C,ot/t=»udt¢__.s,sh.°ulc
i-.u* will d-l-= ._,-t_;ill &l-i.=“-`!'Y (Jy~tjl) 4‘0 *~'.sil dod 931 ‘(t;w~.\~,t wis :\-"L“-fu \-lll)
wl t`=»= 3.~>1-'- §»t <4-_,=-`».,3\‘1!\¢ ‘l-.dvl\ hth 531.;1$ ‘49513140 :,»sn 2009/02/16 ads
ELHL“ A-}i Hl_}“ ‘L-I-A+ll ?J~,lo_§v.’l.l§_, t£_'ul_)‘luh.>ql.$y.~baudc»%_t'l§ly_,l_ib: ‘L_zls
..»== Lw-‘~J dlilll'w¢<,,l'ill MM€)#M’J

  

<_’_ ”’*
. rw_v_.-v- M "",‘»r-

 

002181
934 FNK 7782 1330

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 130 of 150

EXHIBIT
X

935 FNK 7782 1331

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 131 of 150

Prl\"tlcged 8: Coni`tdentia]
JointDefer¢se Inl`omution

Republle of Panarna
Province of Colon

First Notary Put)lic Offlce in and for Colon Circu.it
Mts, Nedelkal\lavas Reyes
No tary Public

Phone: 441-3221 Mobile: 62151059
E-mail; notaria l@gahgo.com

COPY
Decd No. 5 of_]anuary 6, 2010
Pursuant to which is legalized and authenticated the Agreement of Merging
through Absorption entered by and between GOLDI ELEC'I‘RONICS,
S.A., MONTE GRANDE INTERNACIONAL S.A., and ZONA LIBRE
INTERNATIONAL MARKET, S.A.,'and are registered the deeds.
(Seal of the Public Record of Panama, Repubh`c of Panama)

(Seal & Signature of the Provincial Administration of Income, Minist:ry of
Economy& Finance, Republic of Panama)

 

936 FNK 7782 1332

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 132 of 150

Pn'vi!eged & Conlidcntial
Jt\inf Defen;e lnt`ccmaticn

\<‘-.~vr,¢‘ar//ae))~_, /

Republic of Panama
Notarial Paper

(Fiseal Srarnp)
First Notary Pub].ic in and for Colon Circuit
Public Deed No. Five (5)

Pursuant to which is legalized and authenticated the Agreement' of Merging
through Absorption entered by and between GOLDI ELEC'I`RONICS,
S.A., MONTE GKANDE lNTERNACIONAL S.A., and ZONA LIBRE
INTERNATIONAL MARKBT, S.A., and are registered tile deeds.

Colon, on the Sixth (6"’) of_]anuary Two Thousand & Ten (2010)

In the city of Colon, Head of the Province and the Notarial Circuit of the
same name in the Republic of Panarna, on the Sixth (6"') day of]anuary of
the year T\vo Thousand & Ten (2010) before me Mrs. NedelkaNavas
Reyes, First Notary Public in and for colon Circuit, with ID Card No.
Three-One Hundred Eight-Eigbt I~Iundred & One (3-108~801), appeared
personally Mr. RICARDO SEMPERO, Male, Panamanian Nan`onal,
married, attorney-at-law, of legal age, with personal ID Card number
Three~Sixty Three~Four Hundr'ed & T\venty Eight (3-63-428), and asked
me for the issuance of the present Public Deed and the authentication of
the Merging Agreement through Absorption of the Company GOLDI
ELBCTRONICS, S.A., entered and executed on the Fifth (S'h) of January
of the year Two Thousand 8c Ten (2010). lt is hereby authenticated and
legalized the abovement:ioned Minutes and \vere issued the copies required
by the concerned person, informing the latter that the copy of the Minutes
shall be registered ar the Public Record for its full validation and
effectiveness The same as read out loud before the petitioner in the
presence of the arresting witnesses Eric Alberto Lam Espana, ID Card No.
Three-One Hundred 8c 'Iwelve-Two Hundred & Eighty Four (3 112- -284)

 

937 ` FNK 7782 1333

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 133 of 150

Pri\'ileged & Confidemial
hint Defense Infomiaiion

l

1=¢ \ rmir/mrm~‘l ’ 'l

Panarnanian Nationais, residing in the present Circuit, Whom l know in
person and are skillful, who approved and signed before me, the Notary
Publie, in testimony whereof '

The present deed bears the number Five (5).

{Signature) Ricardo Setnpero, (Signature) Eric Aiberto Lam Espana,
(Signarure) Cleoiilde Hurtado de Lynch, (Signature) Mrs. Nedell<al\iavas
Reyes, First Notary Public in and for Colon.

The Merging Agreement to be authenticated and legalized is literally read as
folio\vs:

Merging Agreernent

The undersigned, MMAN SAID ]OMAA KHARFAN, ISMAEL
YOUSSEF ABDALLAH, and ]ALAL jOMHA KHARFAN, managers of
the Joint_Stock Company named GOLDI ELEC'I'RONICS S.A., which
Articles of Associationare registered in the Pubiic Register, Section of
MicroBlms (Commercial), File No. Six Pour Two Ninc Six T\vo (642962),
Document One Pour Seven Six Four Two Two (1476422) of the
Microfilrns Section (Comrnercial) of the Public Register, hereinafter
referred to as “Absorbing Company” and the Companies named MONTE
GRANDE INTERNACIONAL, S.A., \Vhich Art:icles of Associationare
registered in the Public Register, Sect_ion of Microfilms (Conunercial), File
No. Six Four Seven Three Sevcn Pive (647375), Document No. One Four
Nine Nine Five One Two (1499512) and the Company named ZONA
LIBRE INTERNATIONAL MARKET, S.A., which Articles of
Associationare registered in the Pul)lic Register, Section of Microfilms
(Cornrnercial), File No. Three Six Three Three Eight Six (363386), Roll
No, Six Six One Six One (6616'1), image T\vo Zero (2()) hereinafter
referred to as “Absorbecl Cornpanies”, which are willing to merge and
integrate through absorpdon, so that as result subsists and survives the
Absorbing Company, pursuant to the provisions of A_rticles Seventy One

938 FNK 7782 1334

 

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 134 of 150

Privilege-d & Conlideniial
JoiutDei`ease information

the Decree-l"_a\.sY No., Eighteen ('18) of the Pourteenth (14‘3`) of March of the
year One Thousand Nine Hundred & Ninety Four (1994), regulated by the
Resolution number Two Hundred dc One - Gne Thousand Gne Hundred
& Five {201-1105) of the Seventeenth (l?‘h) of]une One Thousand Nine
Hundred & Ninety Pour (1994) of the Directorate‘General of income of
the Ministty of Econorny and Finance, and particularly Articles First (l“)
and Second (2"") of said Decree»La\V. KECIIALS: For reasons of
administradve and financial great efficiency, the Absorbed Cornpanies and
the Absorbing Cornpany are willing to merge so that following the merge,
shall subsist and survive the Absorbing Company, being understood that
the entire assets, liabilities, and heritage of the Absorbed Companies be
entirely subsumed, including as to be mentioned without limitation all
assets, credits, liabilities, rights, concessions, capital appreciation, privileges,
po\vers, and franchises of the Absorbed Companies, notwithstanding the
rights of its creditors, either real corresponding to such assets encumbered
in favor of such creditors, and confined to the respective asset. The
Absorbed Cornpanies and the Absorbing Cornpany, taking into
consideration the above recitals and the mutual benefits of all Parties
resulting as from the merging by absorption, purpose of the present
Agreernent, declare that they are willing to enter into the present merging
as per the following terms and conditions:

Article l: The present merging shall be effective as from the registration of
the Merging Agreement in the Public Register (hereinafter referred to as
“Effective Date”).

Article 2: As from the Effective Date, the Absorbed Companies shall be
considered as merged through Absorption with the Absorbing Coinpany,
and therefore the two Absorbed Companies shall cease to exist and shall
cease to have any independent legal entity, and therefore, without the need
for any further document, transfer, or other management or further
representation, the Absorbing Cornpany shall subsume, absorb, and
entirely substitute the Absorbed Companies, and shall replace them in their
totality, so that the entire assets, liabilities, and heritage of the Absorbed
Cornpanies, including all their ownership rights, or use bles and
Bxed, tangible or intangible, fungible or non-fungible a_ ` 4 ' ~ -

   

939 FNK 7782 1335

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 135 of 150

Pri\n'leged & Cenfldential
Joint Det“ense information

their credits; as well as actions demands or clairns, either inchoate or not,
and the legal entity and management in any judicial or administrative
process or formality in which they may be part, either as Plaintiff,
Defenciant, or recurrent, or those in which they may be integrated as eo-
parties, or those in which they may intervene as exclusive or adjuvant third
parties, whatever the phase of the process or the resort may be; as well as
the concessions, rights, capital appreciation, interests, franchises, privileges
and other rights; the debts or obligations in addition to the charges,
mortgages pledges or other levies imposed on specific assets of the
Absorbed Companies as guarantee for their credits, shall all pass to be part
of the Absorbing Company, substituting and replacing the Absorbed
Companies in all senses and integrating the same in the assets, liabilities
rights, or contingents of the Absorbing Company and its heritage, without
thus affecting the titles, rights, and interests of property and use of the
Absorbing Company on its own assets and credits, its own shares, demands
or claims, the continuous effectiveness of its licenses, permits,
authorizations concessions, titles, interests, franchises and privileges, and
its obligations charges, mortgages pledges, and other levies imposed on its
assets or rights or as respect to or related to the same; neither on those
pertaining or those which have been conferred upon, granted, or obligated
separately to the affiliated companies of the Absorbing Company,

Article 32 Specifrcally, without being of limitative purposes, the merging
shall have the following effects'. a) The accounts receivables and the
reserves thereon of the Absorbed Companies shall be transferred to the
Absorbing Company separately and pursuant to its amounts as referred to
in said eompanies’ books. b) The accounts receivables between the
Absorbing Company and the Absorbed Companies shall be compensate
Accounts of inventories and the reserves thereon for losses by
obsolescence (if existing) of the Absorbed Companies shall be transferred
to the Absorbing Company separately and pursuant to its value as referred
to in said companies’ books. c) Depreciable assets with its respective
depreciations and fixed assets of the Absorbed Companies, as well as the
depreciable capital appreciation shall be transferred to the Absorbing
Company separately and pursuant to its value as referred to in said
companies books d) Capital accounts, as the paid capi l;g;a o re `erve,

  

940 FNK 7782 1336

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 136 of 150

Pri\ileged 33 Conf'ldenlial
faint De£`ense lnformation

surplus or deficit or any other similar increase or decrease of the Absorbed
Companies and the Absotbing Company shall be integrated and the
Absorbing Company shall reflect the net balance of eaeh.. The Absorbing
Company \vas disposing before the merging of a capital of USD 10,000.00
(Ten Thousand US Dollars), following the merging, the Company’s Capital
of the Absotbing Company shall be of USD 30,(}00.00 (Thirty Thousand
US dollats) represented by thirty (30) shares of a nominal value of USD
1,000.00 (One Thousand US Dollars) either common shares, nominal
shares or shares to the holder. e) The income, costs, and expenditures
accounts of the Absorbed Companies and the Absorbing Company shall
be integrated for the purposes of submitting the statement of the lncome

‘ax for the fiscal year within \vhich appears the Effcctive Date. f) If the
Absorbed Companies and the Absorbing Company have distinct
accounting systems and methods for inventory consignment the
Absorbing Company shall adopt the systems or methods technically more
appropriate for the commercial activity to be performed and carried out,
which may applied, without prejudice to the other legal and regulative
provisions which may be appropriate, pursuant to the provisions of
Aru'cles Twenty (2()) and Sixty Six (6) of the Executive Decree No. One
Hundred & Seventy (170) of the year One Thousand Nine Hundred &
Ninety Three (1993). g) In general, the Accounting books of the Absorbing
Company shall reflect the different accounts as appearing, according to its
case, in the books of the Absorbed Companies and the Absor‘oing
Company, integrating or accumulating the baiances of accounts although
having different denominations

Article 42 Upon the merging, the corporate name of the Absorbing
Company shall remain GOLDI ELECTRONICS, S.A., and its managers
and delegated with the right to sign for and on behalf of the Company shall
remain the same as recently appointed pursuant to the entries of the Public
Register, being as follows: AIMAN SAID JOMAA KHARFAN,PasspOrt
No. CC Eight Pour Zero Seven Five Zero Five Zero (CC84.075.050),
Chairman, ]ALAL ]OMHA KHARFAN, Passport No. RC Nine Four Six
Seven Five Zero T\vo (RC9467502), Secretary, and lSMAEL YOUSSEF
ABDAILAH, Passport No. CC» One Seven Nine Zero Z Ni e Seven
mae (cc17.900.973), manage an residing in ss fahy »

  
  

941 FNK 7782 1337

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 137 of 150

Pli'n'leged 8; Conf`xdential
JointDetense Inf<>rmation

Central Avenue, Universal Square Building, Noo Twelve One Eight Three
(12.133) Oftice No., Eight (S) until duly electing successors

Article 5: ’l` he parties to the present Merging Agreement declare that they
will execute the documents that may be required or appropriate as
opportuner established until perform or fully and definitely fulfill the
present merging, including \vhenever required and for more clarity Without
affecting the substantia¥ of the present merging, the issuance of the
document including the revised Articles of Association of the Absotbing
Cornpany, reflecting the provisions of the present Article Four of this
Merging Agrcement.

lt is hereby authorized to Mr. RICARDO SENH)ERO, Attontey-at'iaw,
with personal ID Card number Thrce-Sixty Threc-Four Hundrecl &
Twenty Eight (3-63-428), residing in the City of Colon, in Street Thirteen
(13), Central Avenue, Universal Square Building, No. Twelve One Eight
Three (12.183) Oftice No. Eight (8), Second Ploor, with Phone number
Four Four One - chen Ninc Six 'Z.ero (441 7960) and Four Four One ~
Seven Four Six One (441 7461) to carry out whatever act that may be
necessary to authenticate, legalize, and register the present Minutes of the
General Assembly of Shateholdets to propose the merging and execute
whatever act related to the same whenever fulfilled by the concerned
Parties. Since all matters have been discussed, the meeting was declared
postponed In testimony whereof, the present Merging Agreement was
executed in Panama, Republic of Panarna, on this day the Fifth (5“') of
january Two Thousand & Ten (2010) on three counterparts of same effect
Acting for the Absorbing Company, (Signature) AIMAN SAID jOMAA
KHARFAN, Chairman; (Signature) ]ALAL jOMHA KHARFAN,
Secretary; (Signature) ISMAEL YOUSSEF ABADIA, Treasuter; GOLDI
ELECTRONICS, S.A.

Fot the Absorbed Companies (Signature) AIMAN SAID jOMAA
KHARFAN, Chairman; (Signature) JALAL jOMHA KHARFAN,
Secretary; (Siguature) ISMAEL YOUSSEF ABADIA, Tr _urer; MONTE
GRANDE lNTERNACIONAL, S.A. -» 34

\r

 
       

942 . FNK 7782 1338

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 138 of 150

Pti'.ileged & Confiden\ia]
loth Dei`ense lnl`om\a!inn

(Signature) AIMAN SAID ]OMAA KHARFAN, Chairman; (Signatnre)
]AIAL }OMHA KHARFAN, Secretary; {Signature) ISMAEL YOUSSEF
ABADIA, Treasurer; ZONA LIBRB INTERNA'HONAL MARI~’;ET5
S.A. Agreement drafted and countersigned byMr. RICARDO SEMPERO,
Attorney-at-law, with personal ID Card number Three-Sixty Three-Four
Hundred & Twenty Eight (3-63-428).

The Minutes were inserted as foliows: MINUTES OP ’I‘HE GENERAL
ASSEMBLY OF SHAREl-IOLDERS OF THE COMPANY NAMED
GOLDI ELECTRONICS, S.A. On this day the Fit`th (5“‘) of january of
the year Two Thousand & Ten (2010) at the tenth (10100) hours a.m., a
General Assembly of the Shareholders of the Company named Goldi
Electronics, S.A., duly registered in the Public Record of the Commercial
Microfiim Department, under File No. Six Four Two Nine Six Two
(642962), Document No. One Four Seven Six Four Two Two {1476422),
was held. During said meeting, were attending and represented all the
shares issued and under circulation of the Company with the right of vote,
waiving the right of previous convocation. Mr. AIMAN SAID jOMAA
KHARFAN, acted as Chairman of the meeting and Mr. ]ALAL ]OMHA
KHARFAN was appointed as Secretary, who raised the present Minutes.
The Chairman declared that the meeting purpose was to decide the
approval or refusal of the merging agreement by absorption between the
companies named GOLDI ELECTRONICS, S.A., MONTE GRANDE
INTERNACIONAL, S.A. and ZON.A. LIBRE INTERNATIONAL
M.ARKET, S.A., entered by and between the managers of said companies
on the fifth (5`“) of january Two Thousand & Ten (2010), of which shall
remain existing the Company named GOLDI ELECTRONICS, S.A.

Upon motion, and after discussions and deliberations, the following
resolutions were duly made, seconded, and unanimously adopted:

Resolution l:
lt is decided to approve the merging agreement by absorption benveen the
companies named GOLDI ELECTRONICS, S.A., MONTE GRANDE
INTERNACIONAL, S.A. and ZONA LIBRE INTE '

MARKET, s.a. \~»°_““""~

     
 
      

 

943 FNK 7732 1339

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 139 of 150

Privileged & Conl`ldenlial
Ioint Dex‘ense information

1 ¢.\ z.\~l;,,>d»%y‘,/. leak

Resoludon 2;

lt is herebyr decided that a copy of said agreement submitted during the
meeting shall be attached to the present Minutes to form and constitute an
integral part thereof

Resolution 3:

lt is hereby authorized and empowered to the managers and/ or delegated
to sign for an on behalf of the Company, Mr. AIMAN SAID ]OMAA
KHARFAN, Mr. jALAL }OMHA KHARFAN and Mr. ISMABL
YOUSSEF ABDALLAH, to sign and/ or execute the merging agreement
on behalf of the Company as well as any other deed or document related to
the aforementioned `

Resoludon 4:

lt is hereby authorized to Mr. Mr. RlCARDO SEMPERO, Attorney-at-
law, with personal ID Card number Three-Sixty Three-Four Hundred &
Twenty Eight (3-63-428), residing in the City of Colon, in Street Thirteen
(13), Central Avenue, Universal Square Building, No. Twelve One Eight
Three (12.183) Office No. Eight (8), Sccond Floor, with Phone number
Four Four One - Seven Nine Six Zero (441 7960) and Four Four One -
Seven Four Six One (441 7461) to carry out whatever act that may be
necessary to authenticate, legalize, and register the present Minutes of the
General Assembly of Shareholders to propose the merging and execute
whatever act related to the same whenever fulfilled by the concerned
Parties.

There being no further matters to discuss, the meeting was adjourned
(Signature) AIMA_N SAID ]OMAA KHARFAN, Cha`rtrnan; (Signature)
]ALAL ]OMHA KHARFAN, Secretary.

The undersigned ]ALAL jOMHA KHARFAN, Secretary of the Company
named GOLDI ELECI`RONICS, S.A., does hereby certify that the
present is a true copy of the Minutes of the General Assembly of the
Shareholders of the Company held on the fifth (5“') of a., Two

   
  

944 FNK 7782 1340

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 140 of 150

Privileged 3a Cont'xdenlial
Jolut Defense fnformation

Thousand dc 'l` en {ZUlO} attended by the majority of Sharehoiders with the
right of vote. (Signature) }ALAL jOlviHA KHARFAN, Secretary.,

The Minutes were inserted as follows: l\'leUTBS OF THE GENERAL
ASSEMBLY OF SHAREHOLDERS OF 'l§'l~IE COMPANY NA.MED
MONTE, GRANDE INTERNACIONAL, s.a, on this day ute tries (5‘*‘)
of djanuary of the year Two Thousand & Ten (ZOiO) at the tenth (lU:O(l)
hours a.rn., a Generai Assembly of the Sharebolders of the Cornpany
namedMONTE GRANDE INTER.NACIONAL, S.A.a company duiy
established and incorporated pursuant to the laws in force in the Republic
of Panania, duly registered in the Public Reeotd of the Comrnercial
Microtilm Departmeut, under File No. Six Four Seven Three Seven Five
(647375), Document No. One Four Nine Nine Pive One Two (1499512),
was held. During said meeting, were attending and represented all the
shares issued and under circulation of the Company with the right of vote,
waiving the right of previous conversation Mr. AIMAN SAID ]OMAA
KHARFAN, acted as Chainnan of the meeting and Mr. ]ALAL ]OMHA
KHARFAN was appointed as Secretaty, who raised the present Minutes.
The Chairman declared that the meeting purpose was to decide the
approval or refusal of the merging agreement by absorption between the
companies named GOLDI ELECTRONICS, S.A., and MONTE
GRANDE INTERNACIONAL, S.A., entered by and between the
managers of said companies on the fifth (5"‘) of ]anuary ’I`wo Thousand &
Ten (2010), of which shall remain existing the Company named GOLDI
ELECTRONICS, S.A.

Upon motion, and after discussions and deliberations the following
resolutions were duly made, seconded, and unanimously adopted:

Resolution l:
lt is decided to approve the merging agreement by absorption between the
companies named GOLDI ELECTRONICS, S.A., and MONTE
GRANDE INTERNACIONAL, S.A. pursuant to which shall remain
existing the Company named GOLDI ELECTRONICS S.A. and shall be
abolished and cancelled the Company named MONTE G _NDE
INTERNACIONAL, S.A. "

     
  

945 FNK 7782 1341

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 141 of 150

Pri\ilegcd & Con[`adential
joint Defense lni`ofml!.'\on

1 " />`»'. \\»/`/£-./ Yf/\

Resolutjon 2c

ft is hereby decided that a copy of said agreement submitted during the
meeting shall be attached to the present Minutes to form and constitute an
integral part thereof

Resoiution 31

lt is hereby authorized and empowered to the managers and/ or delegated
to sign for an on behalf of the Company, Mr. AIMAN SAID ]OMAA
KHARFAN, Mr. ]ALAL ]OMHA KH.ARFAN and Mt,' ISMAEL
YOUSSEF ABDALLAH, to sign and/or execute the merging agreement
on behalf of the Company as \vell as any other deed or document related to
the aforementioned

Resolution 4:

lt is herebyr authorized to Mt. Mr. RICARDO SEMPERO, Attorney-at-
law, \vith personal ID Card number Three-Sixty Three»Four Hundred &
T\venty Eight (3~63-428), residing in the City of Colon, in Street Thirteen
(13), Central Avenue, Universal Square Building, No. T\velve One Eight
Three (12.183) Of&ce No. Eight (8), Second Floor, with Phone number
Four Four One ~ Seven Nine Six Zero (441 7960) and Pour Four One -
Seven Four Six One (441 7461) to carry out whatever act that may be
necessary to authenticate, legalize, and register the present Minutes of the
General Assembly of Shareholders to propose the merging and execute
whatever act related to the same whenever fulfilled by the concerned
Parties.

There being no further matters to discuss, the meeting \vas adjourned
(Signature) AIMAN SAID jGMAA KHARFAN, Chairman; (Signature)
JALAL ]OMHA KHAR.FAN, Secretary.

The undersigned ]ALAL ]OMHA KHARFAN, Secretary of the Company
named MONTE GRANDE INTERNACIONAL, S.A., does hereby
certify that the present is a true copy of the Minutes of the Genetal
‘ Assembly of the Shareholders of the Cornpany held on the fifth (5“`) of
]anuary Two Thonsand & Ten (2010) attended by w :', `ty of

  

946 FNK 7782 1342

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 142 of 150

Pxi\ileged & Cont`xden\ial
Joint Def'ense Lnfon‘na\io~n

Shareholders with the right of vote. (Signature) jALAL ]OMHA
KERR¥AN, Secretary., Minutes drafted and countersigned by Mr.
RICARDO SEMPERO, Esq.

MINUTES OF THE GENERAL ASSEMBLY OF SHAREHOLDERS
OF THE COMPANY NAMBD ZONA LIBRE IN'I‘ERNATIONAL
MARKET, S.A. On this day the Fifth (5‘}‘) of january of the year Two
Thousand & Ten (2010) at the tenth (10:00) hours a.rn., a General
Assembly of the Shareholders of the Company namedZONA LIBRE
IN'I'ERNATIONAL MARKET, S.A.a company duly established and
incorporated pursuant to the laws in force in the Republic of Panama, duly
registered in the Public Record of the Comrnercial Microtilm Department,
under File No. Threc Six Thrce Three Eight Six (365386), Roll No. Six Six
One Six One (66161), Image Two Zero (20) was held. During said meeting,
were attending and represented ali the shares issued and under circulation
of the Company with the right of vote, waiving the right of previous
convocation. Mr. AIMAN SAID jOMAA KHARFAN, acted as Chairman
of the meeting and Mr. _]ALAL _]OMHA Kl-LARFAN was appointed as
Secretary, who raised the present Minutes. The Chairman declared that the
meeting purpose was to decide the approval or refusal of the merging
agreement by absorption between the companies named GOLDI
ELECTRONICS, S.A., and ZONA LIBRE INTERNATIONAL
MARKET, S.A., entered by and between the managers of said companies
on the fifth (5"“) of ]anuary Two Thousand & Ten (2010), of which shall
remain existing the Company named GOLDI ELECTRONICS, S.A.

Upon motion, and after discussions and deliberations, the following
resolutions were duly made, seconded, and unanimously adopted:

Resolution 1:
lt is decided to approve the merging agreement by absorption between the
companies named GOLDI ELEC'I`RONICS, S.A., and ZONA LIBRE
INTERNATIONAL MARKET, S.A. pursuant to which shall remain
existing the Company named GOLDI ELECTRONICS S.A. and shall be
abolished and cancelled the Company named ZONA

INTERNATIONAL MARKET, S.A. " '

   

947 ` FNK 7732 1343

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 143 of 150

Pri\ileged & Cont'xdemial
loint Del`ense information

Resolution 2:

it is hereby decided that a copy of said agreement submitted during the
meeting shall be attached to the present Minutes to form and constitute an
integral part dxereof.

Resolun`on 3:

lt is hereby authorized and empowered to the managers and/ or delegated
to sign for an on behalf of the Company, Mr. AIMAN SAlD jOMAA
KI-IARFAN, Mr. ]ALAL jOMI-IA KHARFAN and Mr. ISMABL
YOUSSEF ABDALLAH, to sign and/or execute the merging agreement
on behalf of the Company as well as any other deed or document related to
the aforementioned

Resoludon 4:

lt is hereby authorized to Mr. Mr. RICARDO SEMPBRO, Artorney-at~
law, with personal ID Card number Three-Sixty Three-Pour Hundred &
Twenty Eight (3-63-428), residing in the City of Colon, in Street 'l`hirteen
(13), Central Avenue, Universal Square Building, No. Twelve One Eight
'I`hree (12.183) Oftice No. Eight (8), Second Floor, with Phone number
Four Four One ~ Seven Nine Six Zero (441 7960) and Four Four One -
Seven Four Six One (441 7461) to carry out whatever act that m_ay be
necessary to authenticate, legalize, and register the present Minutes of the
General Assembly of Shareholders to propose the merging and execute
whatever act related to the same whenever fulfilled by the concerned
Parties.

There being no further matters to discuss, the meeting was adjourned
(Signature) AIMAN SA]D ]OMAA KHARFAN, Chairman; (Signature)
jALAL]OMHA KHARFAN, Secretary.

The undersigned ]ALAL jOMHA KHARPAN, Secretary of the Cornpany
named MONTE GRANDE INTERNACIONAL, S.A., does hereby
certify that the present is a true copy of the Minutes of the General
Assembly of the Shareholders of the Company held on ILfth (5"‘) of
january Two Thousand & 'I`en (2010) attended by "1'-~, 5b `

    

948 FNK 7782 1344

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 144 of 150

E’d\iieged & Coni'ldemia§
Ioint Dzi`cnsc Informnion

.'/ ;_ \u ”\\~._/7/

Shaceholders with the right of vote. {Sigmturc} ]'ALAL ]OMHA
KH.ARFAN, Secretary, M`mutes drafted and countersigned by Mr.
RICARDO SEMPERO, Esq.

Ccrrif`lcd to be a true copy of the originai issued, signed and sealed in
Colon, chub!ic of Panama c`)n this Sixth (6"”) of january T\VO Thousanc§ &
Ten (2010).

Mrs. NedelkaNm/as Reycs
Fics€ Notaxy Pub]ic Offlce in and for Colon Circuit

(Signatu.te & Sea}.)

Pub]ic Register of Pan ama

Dcpartment of the Daily Documents

Section of Documents Entry

Place: Colon Date/Hour: january 7, 2010 (03:54)

Prcsented by IzabelSilvera
ID No. 3-703-1743
Reccipt No. 7010024538

Registcred in the Public Register of Panama
Commercial Secdon File No.:1042942
Placc & Date of Registratjon: CoIon, on january 11, 2010

Head Registrar
(Signature & Seal)

Registercd in the Public Register of Panama
Commercial Section Pile No.:647375
Place & Date of Regisu:ation: Colon, on january 11, 2010

Head chistrar
(Signaturc & Seal)

Registered in the Public Register of Panama v
Commercial Section File No.: 343': l ' f

949

 

FNK 7782 1345

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 145 of 150

Priaileged & Conf`xdenlia]
kim Def€nse Inf`oxma\ion

Piace & Date Of Registration: Colon, Onjanuary 11, 2010

Head Regisu:ar
{Signature & Sea).)

Public Register of Panama

National Archive of Panama

Scction of Vofumes

This is to certify that it is a true copy of the Document registered in the
present institution issued and signed on this day the 10“‘ of August 2016

(Signature)
(Seal of the Public Register of Panama, Republic of Panama)

 

True Translation of the attached Spanish Text

   

SIUZ <I`SJS 1 §

950 FNK 7782 1346

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 146 of 150

Prixileged & Conf'ldemial

A;X@L/_¢ . j momercmrnformzrion

 

REPUBLl_CA DE PANAMA

women DE COLGN

Notaria Primera del Cireuitq
de Colén

L£cc{a.. Wedizl?§gz Wa'vas €Reyes

` ‘ .NOTAR!A
TELEFONO: 441»3221 * CELULAY{; 6215¥059
\_ e-mail: notaria_1@yah00.cum
` 1
c0P1A l
v 1 Escritura N° 5 de 6 de Em.‘r<) deZ(l'.- 10

 

PO|' 13 Cllal se p:ozc»<o:iza_cowvel\‘;o 95 Fusu'm par abso.»czén de comr
EL£cTRoNrcs, s.A., con emma GRAN:)E INTERNACIQNAL, sm.,
zoNA L!BRF. lNTERNATlONAL MARKET, S.A. y se insertan actas. '

\

   

 

951 FNK 7782 1347

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 147 of 150

?ri\i}egzd & ConGdemial
Ioinl Defense Informa|jon

 
 
    
    

n \, .,\ `..., iv _,;.. ..
z _;:`\"‘;°;',14.\)%‘~ ':gw .>'.m.c\"-\`*‘. ' `;;.»M->"

 
  
      
 

     

    
 

    

 

 

 

 

 

 

 

. ,\ l¢\ v z
.; °‘ nepuachA cia PA§¢AMA :;':;z?_, ;\
i v ..» ;~ .~. w Papec. NpTAmAL-':;; .~`..“~w :‘;, \ g
§§ v ::,»uz':'\ v \.,.f. v N', v ".` '_\".:\. `
§ v . .
§§ ,'
z¢‘: .
:;. z
135 1
". ` 1 '.-J .: 3 \»1_ \:z E{c¢. \.uo‘ .z;""|;:::'v ' '§, `
*'." nw “‘ -»'~ ‘ `f”".'-`§"`~“-‘ ` ‘ CU 0 OL N. .~ ‘ w
:.'."""“ "".\1f ‘:'¥t:?'\"k':§‘:;~- :4'<`: faung N.()IARL? pa""ERA oE£: oiR°' ' i.?? »'\“ *"., r.c n ‘f“§:°'.,¢`w‘:a }\§GBX\U\‘/U\" l;`;;;“`;‘;
ar \(=" v -----..¢_¢..__-_M ,W:`x'\‘\"`\
;;;§',E.‘§"W agana-mm wmch NuMERo cmco (s) ~~~~~ - ------ --~~ ------------- - ------- ‘ ~~~~~~~~~~~~~ ‘~ £§;~.\'._»;¢`F
mg f»-'" `,)\- 4
5"” n)~" Q: '?\` `
;;`;V,‘..; ; 2 m la cum se pmtocourza coaNEmo me Fusxéw per absm:<'m de soan necmcmxcs, s.A. ’.Q'§§{‘:;:~~;
.1'~ ¢ ‘ ..W\
’..q;»»_ ‘."§ con acme GRAND.'.-' rmsnkhmomc, s.a., zom\ uses mrERNAnoHAL sman \L§;\L~;_‘j;b\`
. v v ;,,‘. m.
’ "", x \'> »
»';` ,°~`.4' 5.§. y se insa;tan adas. -------------------- »»- ~~~~~~~~ - ~~~~~~~~~~ -~» --------- ¢»~~"r-»»v ~~~~~~~~ -»~--~ ;\:t:“:.`.;.":l
‘ , ,\\,l »' ` ..;¢1¢\
C~ .-.,z ,0-"`._'. .
f;,";§-i"‘;r»:§ -»»~'~ -------- »»--- ---------- Colén seis ('6) de anew de rios m!! diaz {2010} ~~ »»»»» =~--» --------- ~- 1§§~;5£:{,:,\?_‘;
"` ,,» W““‘ ~'*".'1).\"»‘*~
_`;`§`.-p~‘:‘;'s En 1a Ciudad de Coidn. Cabecera de la Provlnc£e y del Cin:u}m Notazia\ da§ mismo mmer en is ;§¢;;-:`3`;“
‘..‘I‘ f. »`~‘ », ‘,.~l'r.wj
`»°- ';'," .'1 Rer>€vbii¢a de panama a los secs 463 dias den ms de emma de cms mn mea <2010> am m :§:;;;g~§~?.
::‘.. ~- - ~~»»:.
;i;‘;§?j;§ LI€:DA. NEDELKA N/WAS REYES, Notarie primera del Cin:ulto de Cok§n{ can cédula tres ~ clantc );;§»:_'.}‘,;'L;.,.`
`\»,` “¢'»'¢ I“ w'_;m'.u `:
:j.,'.‘:`.l;g who - emmean mm (3~103-60:3, command permna!mem¢ ex uccncaad<> uc. mg¢\noc .;'_»* ;,::_¢"
~»\\'~" ` _' \‘.'¢
`,q m " n ‘(`..\¢
,, §. § lo SEMPERO, varbn, panamef$o, oasado, abcgsdo en ¢jerc!clo, mayor de edad, con cédula dc 11 ,-.1. {-`
\\r.“_ _'» nd ;».l" ‘
331 »u~`:,'u identldad personai N°, tree * sese~nta y tres - cuazroc\entos velnuocho (3-63-428), me pldz¢ qua §§ ,~,,.‘_>.:,`
'~ n A\.; .z
~!l "~‘ m ` `.u \\‘*\(;“ : .‘
,_,,-.;_~\“\""12' extend|em esm Escr!tnra pdbllca y protocol|zar& el CONVENIO DE FUSI¢H par absarddn de i `é»; .'~j]§,.`\»
v v ` . `,_,n\\`.l
' ' ‘ _.~e'
`~;.:¢.- 13 sociedad conn sLecmoNu-.s, s.A., casehrada az ala amco (5) de anew de des mn me j;-‘:_,i‘. ::.-;
`:7"`.`§,~.. l ` ‘».“‘"_
_:,‘Y.,:_ 34 (2010).---Queda hecha la protoco!rzaclbn solldtada y se expedlrén las coplns que sandra e ,.,::3;
,‘{_A’I `~»‘;' _\» :.` fn
.c~ » , , .‘ . `
.¢.¢ "~$\';.15 Intemsado advlrtténdole qua coma de esm debs ser lnscr|ta en e§ Reg!srro dellco para su entera -,.€; ‘- ',‘,';',;
‘“ .' -\ \‘ ‘

\
l¢'c
nn

g.*_ '\ -16 va\ldez, y le|da come le {ue ai compare<:|ente en presencia de los test|gos lnstmmentn!es Edc l}_' ;,'.w-,

»' . ` t ll \ `.`,
;'I ' . . 17 Alberto Lam £spaha, con oédula ms v dance doce ~ dosdentos ochanta y cuatw (3-112-284) ~;‘T`;,.';‘.-§ ~
m n ‘ l . ` "114

~\*.

' ¢\’l
-`.'\i"~-*~: 18 cteo\ude Hurtado de Lynch con céduia ocho~cuatroclemos dmelnuava-novectentos treinta y ~_‘:\”`€§:-»r\\'~‘

 

 

._¢.w , wm "
:/:`f;':“i?l nueve (8'419-939) , ambos mayores de edad, panameiios de esta vecindar\o, a qulenes conoch ~::`:<::SA:":`,'
`»:-¥‘_"f";:,zo y son héblla, qulen la apmb¢ y firman rodos per ante mi la Nolaria que de fe.~'~------~~~' ~~~~~ §‘:`;::`)’.‘?:::§
;;';;i`:,;`z;\; Esta Escrltura |leva el ndmero drum {5) -- ~-- - "---- :.:*:.;¢'~;’-~'
;:::`.’:`.\` 22 (cao} chARz)o sEMPEno, (rdo) Ersc Asbeno um Esparia <mo) creo:ud& Hurwdo de Lyncn (n:o ;‘,:; :§\1`»"
`{ .‘: :`~ `2'3 umwa Navas sceyes, norma mmera de cown.~--- EL coNv‘amo ms Fusxél~e Que s ~T '~§j§;
?:3.-"- ~` 24 paoTocouzA Es EL slsulem: mmmg__p§_r_u_sxén ms sus¢mos, axme sAx §§ `{\

' \*‘ v , - ~
;‘:.§‘._`».l- 25 JQMAA KHARFAN, xsuAeL musst AaoALLAH, y JALAL JoHHA KHARFI\H, siend '~~._“.’~`~`~

 

» 1§.' ".’n‘
\ - .~\ . ¢ \
J\' ` \ ¢\\\ ch ` .¢‘\\ "
,:.,. ""_',2§ directores de la sociedad anénlmn denominada GOLDI ELEC¥ROHI€S, S.A., cuyo Pacto Socia ,.‘§.'&;~';“;
~ ' (H. n\ ,:“(..l\
»_\\ . ,

- . 27 oonsta lnscriw en et Reglstro F\'leco, Se<:cibn de Mlcmpeticu!as (Mercant|i}, a Flcha seis cum ’1.-`7-‘~* `

 

 

.\\“' \\¢."';`
v ~,1;\ c §:‘ w"
rios nuevo se\s rios (§§.21§21» documents uno cuatro slate sets emma des des (L$zwzj de ! .`¢"~f_';j,{;§< a
"` 4 \xl-\:`
. ¢.»p\\
$eodén de Mlcropeilcu\as (Mercantl|) del Reglstro de|ico, en lo suceslvo fe ‘Sodeda {:!f-‘\,.<`\¢.';`
Absorbente"; y tas sociedades ‘HQN!E alusz IHTI£RHAC[QNAL, S.A., wyo Bc,tg§ocla _‘;,`,\-a,;_».-;"`
/ . - ,.\\ ‘ ‘ ‘
_¢ ‘u cl
\\r.\r l _¢`~,f*\ `g \ _"v¢u ' `u "' )'r'"'u"
.' `w"\\ ' .:U'.\\'\‘ ‘;\- \ _ _ , ' ns ,"¢,\\»\' . nr.¢\‘ ‘\‘
,: \x;:{::;;;. \2-\`1:3'~\\:::",.,§‘_.!¢"\:"‘.:-\"r;},‘_:: _.‘\ _. ‘.`, .\ \ ¢T 'v.;:\\_<“`
,¢ civ l ,v ¢W ‘ n.\t!>~’“ . u,w\ `_ ‘_". ..-\r,u’ “"',, ' : \\‘\"‘:,' \|\¢\\“ c\ nm *" \
\'C:§_ nu .\\_`-`"“ s ‘ H»\\‘-:\_:` " -»‘- n .‘\ ,|4,\0\ "mv._ ‘“
io‘\:i\. `,. rule " , .z,'g:"`"";\, .,\~ \‘\‘I`»`\“~p : ;-u.:l: ' ‘~\~ \ hv\"j‘ '. n .';~` , "“ 361

952

 

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 148 of 150

Pd`iieged & Confidemia!
joint Def`ense Inf`om)aLion

   

 

“_ ‘ v< " ";; ~.\v» \aw~‘ i~;'g-~~ (_¢-.¢~ . .._ - u,\=~) ,i.a.w<» i_`=\,¢,. .~_~.,. w "~.,` `H ,
fs;,:,»:n<;;`"f"$` :~ c;;::‘{;‘ »';',‘.r".:;vv?u »" '":§:`.;-i°d,'~v~§"f,""r:t.».»i’;:`§’“";‘:` t.-,:»'i., .\‘~€'»`i:u 'l":.. §.`,':.s a A'»‘ , ,»;;`¢n.\:.~ #‘ _:. - =\‘ “ f ' "\.` ‘
'_~ .,\ n‘. . 1 _~', \_\,\ .¢' ` “‘ .' w‘ _ . \ -n\°~" . "' _. **¢'~*" v. " " a a ~‘. . .
aim a . “ 1 ~: ;:;:ii a ~ sia -i~aa. .‘.-~a~:;:i;.r.-ia~. -.~ ‘» w f`“.` a~;: ~~ -i
l:.n_nq § s~".“`_. . , , ... w .,`i-i:‘~..““w, l¢; . ¢ ._¢ g ,i’. .. ' _‘_ ` `_:`
c\\l"l _ " va .`\o ’ ' . » "" o ’n'¢.""“".g \ . ..»"P;
U'P" _} \Uq\¢r `,4\\ -‘ 1 v ~‘ " '|¢_ ' _1 . il "‘._ ..¢\\
§";,§ 5‘ ’ ` ‘*"'°’°§\:\f,m ‘;':"u` W a H.`. .,' - ~“",“.‘ `.¢.~F.;c::" ....m "; ,',_".~.»' "
' V&\ s ~¢\nt} ¢i,¢u'- , _g_¢h‘s " z ,¢zv\\‘ ‘ *.~¢i\=‘¢:'
iii i. d aaa ~ : ::
,;Lm '\‘“ ,.W\~$W' “ i§c\\ij";n v *~Q.', wu v\\\.,.v\ '-"‘}’,‘ §
;§;;‘;‘ "*a‘|_ ` ‘v\. ,n \' ~‘l"' "\Wp \ "*; :"" l yf`:q:¢:;"‘ `.\,¢`s'b'n'\' 11 ` \- ~': "¢,` `.; ,
w \ ` w_ .¢ \,-\0\ ¥‘“1 , .¢_p.\' ‘ . 1~\ ' _\_ n '
:?ii-./."A".'. '_ `\ ¢m‘.'):"`,\nrh: " g\;&!$" \f.t\ \ ¢ ‘ ' : m ~‘P""" ` ,\;i 'A"‘ ".;`,,¥`\~b .¢' "'¥ ' l ,zl' ;.' ‘.\‘\°\§"\" "" ;`. r \_¢ ° ‘u‘: ‘ ‘: "“ "`",
"~i‘~“*`"` ";;-*.\ "*"".-¢?1':‘1 -‘ ""{'\: "1‘1*' l 1';¢“‘ " "`.ir;»;.\"l‘ ‘ " " h\'i"’~ "'"-“x\'.u "`°.*»»;;A -" ' ` "\ d'r-\""(: ¢:wsf»' “ . .‘~1 6 ¢""` .
*.v}t'\'* "_}` ,»[Nl'~~ _f,`.,»_..'~'\ ’l‘»_~ §:{v',/r\*~l\" w ,_,; \1"» ,‘ f.,.». .¢ "¢'{ , . gin ~"\~“¢’~". . ~'J'“" ... i.\ \".`\ "\ ' ..14!.*> “\“ ... \.\\ \ '¢ .J,, \:;‘\‘;.‘ _
,",\;,`,., ,i.__........_...........-~ __ uti '- '
. t u¢\‘»\ ‘ ‘ na$.\'
.;.';.;,"2`§:1,#;1 cousin lnscrifo en el Registm Publk;o, Seccién de Mlcmpe|k:ulas (Memantlt), a f¥cha sets mata ,‘b\r§“v»“;
-;»i»=§" ;.,' - ~.,i mm
_ 3 11 $)~"'
_, . . _ ` . \
,Wa¢;§>f,g state ties siete amco (M§_L documenw unc warm nueve nueve once unc das (M ,:.f <i~. .»
.~>~.¢\\* m i..\-""“".
.,.; rf""":v, __\ wv.'s:' ‘
iic_.::~‘,_.*g v Ia sociedad mm none lN'i'ERWM'I.oNM. maxim siA., wyo Pacio Soda\ acosta |nscmc ..i-`:\';>;;.
o\ ‘ ' ;¥. o" ‘ `
map . ' l \\'.('0“
_nk‘ ' , '=¢'
£;§:§»`ii en el Reg£stro Nh|lcci, Sacché»n de M\crnpsf$culas (Meu‘cami£), a fmha ties sets tres ms osha set J~~`aj,(j,.{.
' ii ,‘ ..¢
,J(\y'v`é\v'r ' q_\. ‘»'IV-‘
w gov `,_.` _i ‘ 1 ~. ‘
S‘j_§';.=i~ia;_“s (1&3_3_&§L rolls sara seis unc seis cmc (§§ §61}, imagen 509 item (g§} en la suceslvo la {;_. \7.§.\:\"
.ts‘~r,\\" ";l \\»\"L' T
.\_\ am . . ,,._\.-
:4;.¢_..‘»_*;~¥'8 ’Sociedades At)s<)rtz!das's las ames desean fus!cnarse e lntegrarse per absorc%én, de mode mae L‘i . 11
\.;y. 'l"~ ',, ` ""
t‘$‘u,‘~ n (,..~'.'g'
_’i_~iw-;‘ ‘ 7 como resuitudu subsista y sobrav!va la Sociedad Aosorbeme, mdu at am aro de to revxs\o e .'~~ "“.`"`
ugy.)n“‘>“` . ¢ ‘ `;.
.\‘\I`M¢'l)“"w`: ’ \¢,! \»‘
§§i§§§>i(}iv\a los Artfculos setenta y mm (71) y concoidantes, Seccién o:iava de 1a Ley rrelma y des (32) de .~-'= "` ~
. ` _i_

 

 

 

    
 
 

l . \
:§:‘..`i`_:é mir nove¢z¢nios velmlsiece (1927), y ajuswdo a w dlspues:o en en amato macoqu m ::`,f,:"~"i:§
;m":"»:ijo camacho (13) de came im de mma de ma noveman novenea y mario (1994)
b;;§;,"‘:i ¢eg!amentzdu par la Resuludén numem dosdenbos uno - mii dento dme (201-1105) de dlec!slete (17, ';_ ,;;;
§;l;;.;:.é:;§§ de junio de m|| noveclentos noventa y warm {1994) de la Olrecclén Genera\ de lng¢‘e$¢$ de §§ :'.'“:
§;i‘::_;§`i»r{::_al Mlnlstedo de Economia y Flnanzas, y pentcuiarmente a bos Art£cuk>s primem ¢_k°.) y segundc .‘" '."
:%;`;,";.~1~¢'§§` ir.)dime»mqwuw.ggu§;g§wm:@epormdemmmmmmmcsuiuv»y f,' ":i}-`.`;
:M .m-~- . i.-i"
;."ii\`§~";§;;i§ nnnnclera, las So<:ledades Absorbldas y la Socl¢qad Absorbente desean fus!nnarsa de modo que `~` n
`bi;':`.\e luer de perfecczonaaa la wslon, suvilsm. y savrevwi m sociedad Ac>sorbenie. enreno»éndos 1
:;:'§"{&;§] subsumlda en ella la toul!dad de los act!vus, paswos y al pammonlo de las Sociedad |,",' :°3:1:;
‘:::§,E','»Z'\:\:§ Absorb%das. lncluyendo, pam soto a tltulo llustratlvo, todos los blenes, créditos, paslvusi §;',;;'f\;'\:§‘
';%3"\*§§,,;.$ derechos. conce$lones, plusva!fas, wivl|eglos, facu!tades y franqulcias de las $odedode §§ _\§r_'.'ff':;
:::';_z.,vz? Absorb\das, sin perimch de los decechns de sua acreadures. rueran ellos reales respecto 'r'::"'l:'::
§§:',`,(\:é'-§? aqueflos blenes gravados a favor de dichos acreedores y circumscrle al respectivo bfen. to §§ :`i»£:\
;`_`"::,i?£?;;i§ SodedadesAbsozv¥dasy la Sodedad Aworbente, hab\da cuervta de las cum consideradonas y de lo .:{~`» §§
§,::Z‘_L}” beneflclos mutuos que derivar£n de la fusién per absorcién objeto de esm Conven|a, declara .:.: "&:.€;;q
§§;‘_`,:'.?2;§ quedeseanmvemryomwmnhpreeaztahnlbnmlassgulaistérm§r¢s:M.lafedna ':;:' cl‘,‘:;"‘.

;~,._\:.54 26 delahlsié¢)wéaque¥|afedmenquequedahsaitoesw€omaiodemsiénenel Registro%b|loo[‘

   
   

"\ l mr \ '1 »

."\'h'.$'(u` ' 5 a "
~* » .~\L- ‘
F’.§§§:za ema').-~ M. an la fema Mva, ama mims quedarén mm par a »“1 \ ja

.\ll- ‘_.|. .-\\ n ,`\' ,u
",‘,`§.‘}1;‘23 mmsadedad kwbmw.wmoa§vammypemiaseparadasde§msodahdsm .\3'\';;,1.
;»`q;(\‘ “ -»¢ us `;.‘,:
~1.'1“'"',‘1'.28 y nor \o mnto, sin que sen nmb actn, trespass u otns gasdén o morsenwd&l uiter)or, \a Sco‘ed ;\; ‘ :._,,f
. » . . ‘ ‘ :,`,~.»u

\f‘.\

.
.? _- |

V`s,||}\ , 0”"" ‘*.-,q ~ `u~,_ n".‘...
g d\u.\" v- ~pu(!\\¢ ;\1.\17‘3 \\*m m

  

\a'.'~ l‘¢‘y

   

" » m, mm summa abi-mbes y simzra emmme a sas sodedade.s mama merwiamw

 

 

v ... w }~\'vl ' . \s'n'
i,_`\. x , , ,,1.¢.\_ v ¢. t
- i,i.if¢\~~@ ;:.*c»:» a :::r»‘!»‘-»~~ »“.:i'-"i€~'- `- .
\) ~ ' a . t

.\_ n _ w_ “k_,. 1141:\`,-]“,¢,¢3,€:*,`: l\,“;.q:\fo\\! _u_
( ` wm ve `\.1| lJ`\,'\¢ L\ “`\_,gx "' m \ a \ .. \‘1

¢ .- - n _ z
.:_\u\\\ ¢\\3‘:;‘;'“4 ’.L' “M,g». ny “' . wm \ ‘ __ `..\ \In xl\¢.\ \.‘";¢‘¢ \"V' ",".\y\'~
).‘u)' 'l“° van M*"". »m\¢\'¥¢‘~"d . ~ H'\.l '“ ‘,‘\» ¢' 'J'\" " . ~\.L)?“"“ m-'~\""' . ,v.

Vv`~'*‘
.,.

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 149 of 150

Pr`z\i]egcd 35 Co¢\i`\dm(iaf
Jo¢'m Defense infomz!ix)n

 
  
  

\»\_,‘:. ,, ':;; l.‘. i~, <\ '_'; umw ,, . , ;rw: '_\N` \ ¢\\:411" \§ 1,.‘. w;v .\ .'-'*’ "M),§v)*' ,...~ am
q . \-14\1.\\~ ».4 ~ z §
z ,U-.'\l¢"'< _ €d:“" ',{A‘__:\~ea‘»:“' `p_\}’¥‘ ' 5 was

`_. .

       
 

 

§:,`:-“' BEPUB`LICA D'E P.ANAMA ~;;;:,i“§
~ "" PAPEL Nomaz§t.~» ..'..‘;:-;~f~‘ 11

5 ‘ -Ml

;-

~

 

-_{ -'~ ‘ ~. _; '~: . »
ll ~:*;’:.“NOTARIAPmMERADF.LcmcunochoLoN.'. '~ » j,,,, w §;;,':

.»'»\'\*¢‘-\'° \'"‘ ~x\'+"" I\. » “' . "'.f.e)~"-»~;`)‘\'_»v. ~'.\ ¢` .')u "".t.\`:»`:":?"‘;'r:,-. \~!<*"‘j"°\`;:;(:§h.

";Vl§}. wm was sua mm de owned Q de usa some m fumes o mmueb¢es, wm ;:;::;:::,;;\;§
\ ~ ,

§:_‘;';§`:‘:'\`2 \'KHHQ'USS, fm§!b¥a 0 no, Y wdos sus Créd'rtos; asi comm das ac::im\§, dmndas o mdamadon§, 1 -».-.~ . ll E§zl:-:¢‘§‘
§:£':'\': `5 eno, ysu persuade yQMn mma!esquic~m mmcném!tmwiciaFandnimstndvosde k;sqve l,:w:`§,
:':"\`:v" ‘: ¢Bne, cum dmmanm o mcdade o come remnante, o a ms qua twa side mdagrada r&l“;,fr,."i»
';u‘$'i"`:;§.:l;§ lummus § en }cs que kaye lnte\'\‘emdo come tamm exduvente o coadyw.fe»ratef maqu qua sea l j\§`;é:\§w
:§i:‘:‘?i"v.$: ewpa dd m n del mcm; y Eas memorves, deferring ptuwal£as, dudos, mweses, framubd ::3 §§§§:‘
l¢`…“\. viviaqu y owes deems y las deudas u obligaclones, jun!o con todas las camas, hnpo&ecas ":"::::\:
;:lll::%';.' ;3` prendas al aims gravimenes que pesen some determmados manes de las Sociadades msme §§ :§:;;\~\
`. , »m'~»r\»~

;,‘;.\-\~.qs_ en QGFBRUG 68 55 Uédi!v‘!l Mrén a formar parte de 1a Sod¢dad Ab~ort!en(e, sustituyendo

. .~'1 10 remn!azando ésta a las Sociedades Absorbldss en todo semido e lmegréndo»se 109 mismos 51 acti-

 

 

1,
0.
/~

~t.*~" ' v \ -‘\7:“_`: ."
\» . ~. \\' '
,.` ?' , n absoasivos, dsmcto<ocontinqemcs, dow SodedadAheorbe‘\te\/ammtrimomu. oens$nauepo-‘e-Bo l... -l"`;_;`

. \' " - l .\` '

w l ,,, .¢,1\"_,;"
»_\:‘_:l_fl'§,";":zz>; efecten 105 b'tu$os dered\os e intercses, de propiedaé o de uso‘ dc la Socicdad Abao'bente sobmu su ‘ ;l'“ j(;_'_`,`\‘\
»~:1\-:'¢. 1
:_`j;‘"`,.'ia_ propios b'\enes y wédl§os. sua monies accio¢\¢s, dema¢\dadas o redamadarv§, 'a continua vigcncia ;§;‘.‘{` 319
v'_".` ` ' ... ‘~"_`A
;I~l ~" . 15 dectiv€daddc sus lloe'\das, pemsos, modzadonee. mesiones :='Wlos, mta.'@se=. from\£o`asy ~ ' “`| .‘:" ",:;‘:‘ 5
- z , \ \ . '

,.\n\»"_ .`¢.\
?\\ “~ " 15 v sue obligador\e<= y las csrgas, h‘ooteces. modes y o'..'o.=. gravime exstcnt¢s some sus bienes ' `:¢<‘f;‘;‘,.
\-.-» ",_';\1 ' ,\..
g 4\'\* ‘ _`_` ~,') 1
)'_.;`-1§.‘.1 .16` de"ed‘c.< 0 re<z>ecto de o co'\ rdac=én a los mlsn~o¢.; nl 'os ace pc'mnczcan o fe haven side oon.‘eddos ‘ *“_.\\;`
l ' "J \
:M. ,- \
.. &\'
o:wgado»= u obsguen am scoawdo a m among de la s¢dc<se¢ Absorbc'~:e.»-~ vsngggg>_ §§ `,j§`m
. l `* o s
Especmcamen:e aero sm que eve se entlenda cm fmcs lim:a:lvos, \a fusion sv¢'\ir:i los s\gu’ent "' ":~ \;'-}
. .» "' '
m-';\,:':.
efectos: Lns mm mr cobrar y las wrvn». saw ésmq du ms sociedadcs Ab.<orb¢da< auednn$l.,\.-- -';\.';f;.(
. ~r.'\!¢\\
tre»s'e~‘cas a la Soc`edad A‘.>w*.~¢.'»‘¢= =r: .'om¢ sco.\,-‘vda v no-' so v.“':' e" ~“~'m. L,r“= c.'e-§ .< ser c¢>‘c'.* :;:*: :f)}.'j`$.»
,\c ’\"':"’",
code las Sociedades Absorbidas y la Sociedad Absorvente quedarén compersadas. las comm l ; ","'\;_\§l
‘ "'J§l:.\
\mncs y ms de wm pm games per umwa §§ vs vube¢¢a) de us sodeoada Absorb - .. 'Z.; _"l¢
('\
l n\-'~ '4
quedamn msfen¢as a 1a sooedad Almwnw en fm sepamm y a va;ar en mms. c) ms ~ w &~" .3¢»\»“:

 

maam%mmmmymmm§mmmwmad £~ :";;»?'1_1‘
wsdmvdiasanm&mb{es,qumsénwmwsahsodedmmmemmsewadaywmw» :_'.:.-.;. l
’:` "..,rfn'\`
ji\\':??*"’;
;,`¢0\\\`¢`\:`:
»»=`1;:.“.‘."3

., ~'4' ~
en lms. d] ms mm de wm cases mm mims pagado, reserve de mpzcal, superéw o déncu ’ZL' t‘.`;§`$--
walesqulera atlas de fn Sedecbdes Abstxbidas y de la Soda<hd Absorbente. qued!r$r\ wheade m `-vr ““""`
mmsodwwwwmmmammmwd¢mumeawumwmmmm ‘-\‘- ~'*‘t
vascummconun umw s 10 non ao gozez MLL munis). wegode\a wmaczpaal .w~;‘,‘,','}'j»’

  

 

 

_ .¢ . .-,.-`.- - _ ,.
H\"‘ ' .¢:xf"‘“‘ x 'E" ':‘:;:¢`"::.'" n °‘."“."`.' ..1‘ .\
y ¢ "` “-oa\,';,.`. ' " f. v -
.--.\\ \ ". *| ' .n aJ* " »p “*"
..\¢""“0~\\¢'¢' :"'_. \\v\'~\`\",":.~,* n"_ 'l n "' "'_'..` s
. '.\ \\0‘“\’ ' ‘ ...:v.\iv’ ‘.,1»‘\“" '."" ' '

954

 

Case 1:17-cv-02780-T.]K Document 22-9 Filed 02/28/19 Page 150 of 150

Pzil,ileged 51 Conf`¢d€rlli al
kim Defense lnfom\alion

   

 

-".\" n\»rn~ 1_. »_-.~' ,»" \.- - , \y..< n _ ,¢* ¢\¢- `\w ~- s -,.., ` .»,. . .
`\ ~-‘l§’“~‘(z‘w““ T’;’~`..‘\»~~;l ;:`,‘.;,< 'w,".’_;*$$\»,‘.'.‘-*.‘§\; ;»?»\w;€ §;;.§`¢‘.. ».1";.;'::‘.‘¢ ‘~»¢~'».~"¢;‘:,` ».;*~.§\:.,\
,_ q .“:'--. `k-,;* , `"_,'¢.v ¥,_` . 1- , v,\ \‘s"- ,‘ n -.¢ . v , -\- ¢,',,..,_y`ma ’ . " z
4\\"“ »\`~' `\s\l wm 4,\~‘ - ~ *" ~¢\ ~... ¢‘@\ 11- - v
q lj:‘r;§""u§:`,¢f l\ " "‘:".5 »'»] :`~ "*" '“’" `fqu J~\'*;*`;""¢~` :‘-"V" \ " " " ` ' v ;n:-‘ ' ‘ “q.,' -¢':`»»‘ “..' `» v '*~‘
. , ' » .. ~ ‘ ~ ~ ‘ '~' - ' . . .. » _ ~.
\.:I:E,;,..= ;"; \, \»"';;q'_~-v¢i NWN.,‘;r ;;. ,,\ ~ “° -. ';\_ :‘ `;.-v,. ` fn »' :’_4`
_\ » , ,`¢,. ,, . .y ‘ . ~:4. . “ ' .¢ \"~ . ‘° ‘
' .,w»“:,:‘.… el '- will ':':» » ` » -' “:..~ .:;_,
\*;\‘,‘_`.i`,n\o\@*`~,u`.:l \' ~ “`:, `!.\ .» -¢r~"\‘j’:.\unl\`~‘l'kf`,.¢\~' `Q . ,.-. l ,;"` \;.¢.aa\§\‘:;,:‘§, ...uj n ;`_,!_
v. hl _ t ' . - \ ' l ,» »~ 7
.~ ll ::" ~ ;:,:" \“\;r’“""‘?m~~"::.' \;l:;l.¢ - ~: .v.'z»»»"°;; .':,`» ~“;:E."
_ _ _ _ . z » ' ..!¢ ‘» ~ § \,m
` ;{M’V` " am n\l‘\ ¢" r(nk)l'-“.‘n `guv‘~ ‘ \,`\,\:0"»“'_1`,. s l~i vw\. \l-*’* .M) 'v_\\ g \~\\ ll ,`¢\‘A
~ \’-‘»" " . u‘¢¥?‘ “‘ z ' \4` ~; <,'Snl" pn\)\»\’~ `\':\N\‘* \,w\ol\ f _,q_\ \ ’ ‘ v
\ \\\'2‘-" ' ,`,`, v .~W\l¢ , .';\- all _ ‘, . ., \\\11" §,‘;-¢» § ¢\ ‘.I,`.‘_`
. § ::r`i;~"€l‘rh wl rlu¢" q ,-¢§:l`§“ ug N¢M~ "_".`.\,1' ::.¥`1{¢_“' ‘, mo v _`?v ;\:N&w'\.\`u,t: Qv,m`\ \'\* ,`,‘.,,.q.:
‘;\N . m 'l ‘ '. 1 ¢'¢‘ _ _s v h _ `-,g 33 e,-~. _ _ .

`W .` `~;~"{~,‘.¢_\:~rhn~,:} H¢.~ .§'-"t_: `~ l` ,v le r, `..`..~: J".):`n.¢. .\§\"_‘;_ ` :,¢;<`§`f"::,‘_‘. ..-J) '_;;',,ff_‘, l ;Y:q.\‘r;_,., ,`_.
‘,:,\“!;. "y" . _-_ w , \\\ U"_\,` ¢ \ v,,“"~,\. l :.¢-i “ 1 ,`!)\, 1 _‘_., mm \ .". b/\h\ s mun-gm l ltv H.,u _ $_`l_» '.`
ns \\’;'1{\§:\ 46 “""€"._‘: :.- l'»'r: J`I"l--'.¢/‘Y"~"'.':\;) \'»’ .‘r` S. \\.*-‘*‘"" :"`.¢.\"l‘*`“"..‘.-.;M\* "' "...\ m‘!" `1`,\~\- '.‘ "`* -!:. .\ 1 N"" '.:.` wv:'"
\¢ r." \,»\ % , ,', ,

\.\. -

\ €i‘-N ~‘¢,,\¢ \
gfw..»;,;.r:§ {30), de un valor mmlnal cada ma de $1,000..00 (MIL DéLARES) mn§, nominatian y al poctador. a :;,;.\ ;.,.;~;
¢i\'»‘l*.l ' _ .Mq.\\‘.'»
.¢ m\ ) ,
r~»:usl‘“ ‘ . _“¢ ,\~‘xr§
griggle Las umwa de |rlgmos, coates y gem de las Sodedade; Absorl:ldas y de la Soc;ledad Avsorbanl ,.¢ why
.¢gu\ l
, ¢,

.,,1,\."¢"'

amzellasobzsdlsposidonalegalsyreglamemnasqmsmnpemnantes, bdspumoen losArlimlosve ¢

dst'wla< we'\:as cal carr‘o aoa'¢.»zsz'\, segl`)n loe-a ¢.~’ cz.<o, en los lloch de 'aq So»:'=.v.‘adns At-=cl*y'das y de l
$c>'.leded Ab';o"¢ente, l.'~.tegré'=dosn n ammuléado;e |o<l same dc cue'“.z“.,~ ’»;~ua‘e.< aim mendez *.uv'¢z'e
deno'nlnedoncs dlsnnlzzs.~- C_uAgLQ: llee!;zada_la fusién, el nomb'e de la Sodcc'ad Ab.<o".)cnte continue .
szeqc'o sol.o: ELEchourcs. s.A., y sus alvarez y ¢'qna:anas consmndn same w .
dl’:imame'lte dealng sean cons’.a en el Regislro pdblloo los cul>l@.< son: AIMAN SAXD JOMA

KHARFAN, pasa¢>orte C.C- ocho <ualm punta zero sio*.e cincc aun*.o mm dme oero (C.C 8¢.07$.050)

 

wldenl)e; JALAL JOMHA KHARFAN, pasaporte QC~ nuch comm seis slate cinco corn d,

{=`.';?4675¢2}, S/.~':".'“e:lo: §S'~#Ael. VouSSES= ABDALLAF, 11'~:~'.~:"‘.2 C.C- \."‘o sie‘.rz mm‘~ nuevo

’ ce'*: ':'.'nto nuer slate t"e€ 'C.C ;7.900.973), `¢`¢.‘.'=cm'o. rcach ':'_~" '.'-;\'r=lclllo en calle vch (13) Av'.-
cemml, salem mm umle No. doée, um wm cms (~.2,133) snow No. adm (s) hale que

m mrs deb!damente elegidos.-» Q_Q;m'. Las parts de esle mmanlode Fus)én dedaran ~~ -
causarén dommentos que sean nece‘mlos o ampiados sean oportunamente se emblezw, a nn n
perfecdonar o oor\wmar fnmgramente m fuslén. lnduyendo en manko sea necesarlo y para may-
daddad peru sln que ella afecce lo sustenva de am fusl¢’m, el olorgamlenra del documento qu-
cuntenga el texto refund)do del Pac*lo Suclal de la Socledad kbsorbente, mflajando, la dlspuesl-
sobre el mismo en la Cléusula Cuarta de ute Convenlo de Fusl&n. Sa aulorlza al LIC
R!CARDD SéHF£RO, abognda en ejerclclo, con cédula da ldentldad personal No. tras- sesth
y tres~ cuatmclentos velnllocho {3'63-423), con dumlcllm en la Cl\.ldad de Colén, en calle tr a

(3.3) y Ave. Ce`ntral, Edlllclo Plaza Unlversal No. one des uno echo tres (12,!83), onclna l‘{o

 

 

 

 

echo (8), Segundo Alto, con teléfono cuatro cuotro uno‘ slate nueve seis §1€3§§_1;§920§
' ' "'~"~_'" ` '

 

" ~4‘-'¢'“ . -\.\<~~ 1 ,,,. 4 .,,..-» -.... T.:r.’.“" ~...- n - 51 ' § -~.-»-» _
b .'"‘\-'S¢,r:\u.!d?\m;'\;._¢,lr\P*“‘"’"_?\~w-¢\-"f‘"\`l,'.,¢ \;¢ l )`\ ` '*, ` _ .\.h:_;""'.,\ ~ “ l-" '1. .~ -“`? \ ~ l _ \
;;dagg;.:)ov,\'u"¢"';:.;-.¢:\":l)'l`»€»ig;`;‘;::“g: '»`\‘;n;",¥`" \':1. -\ ¢\:"_:"; t‘\»‘»:;"*`.` `( l‘:‘t \‘r': _. , -¢ . '
' : l ’ ‘»‘ v ' 4 ,l ‘ h 1
. mm ~.- ~;::sl“?i»»-»:::»»‘ . ~~\1=\.:‘.“ ~:.‘..~.» » .“». m
mgm ` ` N.U-¢\s\\?}‘”v .,n\,\.»lf`o~“ u;~)\!\l» 1`-“,,“m\‘ "“,`.,u.~ nw “1>8\ R"‘,, ,.» ' m . n\» ~‘
.-u~r\l“~"`....ur\\“ “...,. mvv ...r\-n\)\'>‘* ‘ ‘. ... l“"\.'..~ -¢~1\\|‘¢\ ..m '¢~\“\', ..,,,~ci" >‘f‘..\. \ \\»

955

.\z»w-"K;,j§? quedaran |nteqraclas entre si para pro#é:eltos de la presenzactdn de le daclaradén del Impuesc `
;,»;i§;".:“,i“¢'f£ soer la same corresponalence al egg_rdclo nmi denno de la cum recalga m mm Ere<¢§va. f) s`:`
': las seeledades Absorbldas y la Soclea`ad Absocbenl;e tlenen dlsclnlus sletemas da contablllcla<$ .~ :
mélodos para la consignacldn lnvenlanos,, v Sodedad Ahsmbenxe alleged los slstHnas o l =‘-~,\=v
mmapmmdasa bmdadmmmambo,§¢moap§qu§wv,mwjuw

(20) v sesenta y sels (65) del Decre¥o Ejecullvo No. cienl.o sqtf:nla (170) dc mll noveclento._

 

»ua“
.,,,\'r.\

, \~.
\\Sr"'
.' v .ll `

\
Ul

 
 

 

